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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          x
In re:                                                    :       Chapter 11
                                                          :
HEXION HOLDINGS LLC, et al., 1                            :       Case No. 19-10684 ( )
                                                          :
                          Debtors.                        :       Joint Administration Requested
                                                          x


         GEORGE F. KNIGHT’S DECLARATION IN SUPPORT OF THE DEBTORS’
               CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are
Hexion Holdings LLC (6842); Hexion LLC (8090); Hexion Inc. (1250); Lawter International Inc. (0818); Hexion CI
Holding Company (China) LLC (7441); Hexion Nimbus Inc. (4409); Hexion Nimbus Asset Holdings LLC (4409);
Hexion Deer Park LLC (8302); Hexion VAD LLC (6340); Hexion 2 U.S. Finance Corp. (2643); Hexion HSM
Holdings LLC (7131); Hexion Investments Inc. (0359); Hexion International Inc. (3048); North American Sugar
Industries Incorporated (9735); Cuban-American Mercantile Corporation (9734); The West India Company (2288);
NL Coop Holdings LLC (0696); and Hexion Nova Scotia Finance, ULC (N/A). The address of the Debtors’
corporate headquarters is 180 East Broad Street, Columbus, Ohio 43215.


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        I, George F. Knight, declare under penalty of perjury:

                 1.    I am the Executive Vice President and Chief Financial Officer of Hexion

Inc., which, together with the other above-captioned debtors (the “Debtors”) and their non-

debtor affiliates, (the “Non-Debtor Affiliates” and together with the Debtors, “Hexion”), is the

world’s leading producer of thermosetting resins, or thermosets, and a leading producer of

adhesive and structural resins and coatings. Thermosets are a critical ingredient in most paints,

coatings, glues and other adhesives produced for consumer or industrial uses.

                 2.    Hexion Inc. is incorporated in New Jersey; most of its co-Debtors are

Delaware limited liability companies or Delaware corporations. The Debtors are headquartered

in Columbus, Ohio.       Hexion employs approximately 4,000 employees around the world,

including approximately 1,300 in the United States across 27 production facilities.

                 3.    I have worked for the Debtors, or predecessors of the Debtors, for over 20

years. Prior to my current post, I served as Senior Vice President of Finance and Treasurer of

Hexion Inc. from 2010-2016.        Prior to that, I served in similar capacities at predecessor

companies Hexion Specialty Chemicals Inc. (2005-2010) and Borden Chemical (1997-2005). I

have also served in finance posts at Duracell International, Inc., and spent more than 11 years at

Deloitte & Touche, leaving as a senior audit manager in 1992.

                 4.    I am generally familiar with the Debtors’ businesses, day-to-day

operations, financial matters, operating results, business plans, actual and projected cash flows,

and underlying books and records. Except as otherwise indicated, all facts set forth in this

Declaration are based on my personal knowledge, my discussions with other members of the

Debtors’ management, employees, and advisors, my review of relevant documents, or my

opinion based on my experience, knowledge, and information concerning the Debtors’

operations and financial condition. If called to testify, I would testify competently to the facts set

forth in this Declaration. I am authorized to submit this Declaration on behalf of the Debtors.




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                 5.    On the date I am filing this Declaration (the “Petition Date”), the 18

Debtors commenced voluntary cases under chapter 11 of the Bankruptcy Code in the United

States Bankruptcy Court for the District of Delaware (the “Chapter 11 Cases”).

                 6.    I submit this Declaration to describe the Debtors’ background, the

circumstances that led to these Chapter 11 Cases, and the Debtors’ goals in these cases. I also

submit this Declaration in support of relief the Debtors have requested in certain of the “first

day” applications and motions filed with the Court (collectively, the “First Day Pleadings”).

All of the relief sought in the First Day Pleadings is necessary to ensure the Debtors’ continued

operations, minimize potential adverse effects of filing bankruptcy, and ease the administrative

burden of operating in chapter 11.

                 7.    In addition, Debtor Hexion Inc. is the parent company not only to all of

the Debtor operating companies but also to all of the Non-Debtor Affiliate operating companies

around the world.      The operations of these Non-Debtor Affiliates are integrated with the

Debtors’ operations on every level, and the relief sought in the First Day Pleadings is critical to

maintaining the stable global business operations of these Non-Debtor Affiliates.

                 8.    With the First Day Pleadings, the Debtors seek to, among other things:

                              establish administrative procedures to promote a seamless

                               transition into and through these Chapter 11 Cases;

                              allow for the continued payment of utility, wage, insurance, and

                               tax obligations;

                              ensure the continuation of the Debtors’ and the Non-Debtor

                               Affiliates’ operations and cash management system without

                               interruption and allow the continuation of funding between certain

                               Debtors and Non-Debtor Affiliates through the maintenance of

                               intercompany loans and other payment mechanisms;

                              pay critical vendors and other vendors that have asserted or are

                               capable of asserting liens against the Debtors’ property;

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                             as a foundation to all of the relief sought, obtain debtor-in-

                              possession financing and use cash collateral in the operation of the

                              Debtors’ businesses.

                 9.    I am familiar with each of the First Day Pleadings. In my opinion, the

Debtors—and their Non-Debtor Affiliates—would suffer immediate and irreparable harm absent

the ability to continue their business operations, which is what the relief requested in the First

Day Pleadings accomplishes. The relief sought in the First Day Pleadings is critical to the

Debtors’ efforts to transition into chapter 11 efficiently and with minimized disruptions to their

business operations, thereby permitting the Debtors to preserve and maximize value for the

benefit of all their stakeholders while the Debtors pursue the strategic and financial objectives

these Chapter 11 Cases were filed to achieve.

                 10.   This Declaration is divided into four parts. Part I describes the Debtors’

business, organizational structure, and prepetition indebtedness.         Part II describes the

circumstances leading to the commencement of these chapter 11 cases. Part III describes the

anticipated restructuring. Part IV summarizes the First Day Pleadings and explains why the

relief requested is appropriate and necessary.

                                PRELIMINARY STATEMENT
                 11.   Hexion is a global leader in the field of thermoset resins. These resins are

key ingredients in a wide variety of industrial and consumer goods, where they are often

employed as adhesives, as coatings and sealants, and as intermediates for other chemical

applications. Hexion adhesives help hold together all manner of industrial products, from wind

turbine blades to particle board; Hexion coatings prevent corrosion on critical infrastructure,

from bridges to buildings; Hexion intermediates help create products consumers rely on every

day.

                 12.   Hexion is a strong operating business with a positive outlook. Hexion

benefits from a global footprint of strategically located operations, a diversified product

portfolio, and a substantially integrated manufacturing process that helps avoid disruptions in

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supply. Hexion also has an outstanding employee base and a highly-experienced management

team. These attributes and others help Hexion deliver quality solutions for its customers—and to

do so reliably and efficiently. On a consolidated basis, the Debtors and their Non-Debtor

Affiliates generated $3.8 billion in revenue in 2018 and $440 million in segment EBITDA. This

represents the best operational performance since 2012, and an improvement of 21% over the

prior year.

                 13.   At the same time, the Debtors face financial difficulties. Prior to the

anticipated restructuring, the Debtors are over nine times levered relative to their 2018 adjusted

EBITDA and face annual debt service in excess of $300 million. In addition, over $2 billion of

the Debtors’ prepetition funded debt obligations mature in 2020. The resulting liquidity and

refinancing pressures have created an unsustainable drag on the Debtors and, by extension, their

Non-Debtor Affiliates, requiring a comprehensive solution.

                 14.   The Debtors explored a variety of options and initiatives, and retained

additional legal and financial advisors to provide additional guidance. The Debtors, in

consultation with their advisors, ultimately concluded that a chapter 11 process was in the best

interests of the Debtors and their creditors and other stakeholders. The Debtors, together with

their advisors, engaged in arm’s-length negotiations with creditor groups representing holders of

a substantial majority of the Debtors’ prepetition debt securities. As a result of those efforts, the

Debtors enter these Chapter 11 Cases with a proposed restructuring, memorialized in a detailed

restructuring support agreement, that enjoys the support of creditors holding a majority of the

debt to be restructured, including majorities within every tier of the capital structure.

                 15.   The proposed restructuring will restore the Debtors to a sound financial

footing and position them for success going forward. The proposed restructuring reduces total

funded debt by approximately $2 billion, reducing total leverage by over half, while also

providing substantial fresh equity capital from new money equity participation. Finally, the

proposed restructuring effects minimal changes to non-financial obligations and to operations,

employees, vendors, and customers.

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                 16.     To finance their restructuring, the Debtors have also secured commitments

for third-party debtor-in-possession financing through two postpetition credit facilities: the DIP

Term Loan and the DIP ABL (each as defined below) (the “DIP Facilities”). Borrowings under

the DIP Term Loan (which will initially be borrowed by non-Debtor subsidiary Hexion

International Holdings B.V. and guaranteed by the Debtors) will be used to repay the prepetition

ABL. The DIP ABL is an asset-based revolving loan facility with a maximum availability of

$350 million (subject to borrowing base limitations), which will be the primary vehicle through

which the Debtors finance their operations during, and the costs of, these Chapter 11 Cases. The

financing provided under the DIP Facilities will be essential to the Debtors’ efforts to

consummate the proposed restructuring described above.

                 17.     Through these Chapter 11 Cases, the Debtors seek to maintain all of the

many benefits of Hexion’s history, culture, and market position while effecting a financial

restructuring that positions the Debtors and their non-Debtor Affiliates for stability and success.

By garnering broad-based support for their proposed restructuring and securing sufficient

postpetition financing to pursue it, the Debtors have already taken an important first step toward

achieving those goals.

I.      DESCRIPTION OF THE DEBTORS

        A.       The Debtors’ Corporate Structure

                 18.     Hexion Holdings LLC is the sole member of Hexion LLC, which is the

sole owner of Hexion Inc. Hexion Inc. is the direct or indirect parent of all of the Debtors in

these cases as well as the Non-Debtor Affiliates.




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                 19.      A detailed organizational chart is attached hereto as Exhibit A.                    The

following is a simplified version:2




        B.       History of the Debtors

                 20.      Hexion was formed in 2005 through the combination of Borden Chemical,

Inc., Resolution Performance Products LLC and Resolution Specialty Materials LLC. Together,

these legacy companies had been leaders in the specialty chemicals industry for over a hundred

years. This heritage began in 1899 with the formation of Gail Borden Jr. and Company,

producers of milk—and also of the milk byproduct casein, which was an ingredient in early

plastics and remains an adhesive for wood products. Borden Chemical separated from the food-

focused business in 2001.

                 21.      This heritage also includes the development of Bakelite, which is to us a

thermosetting phenol formaldehyde resin, but is to the world the revolutionary “product of 1,000

uses”—an extraordinarily versatile, strong, and moldable synthetic plastic. Legacy companies

2
 The simplified chart set forth herein does not reflect that a single non-operating foreign subsidiary, Hexion Nova
Scotia Finance ULC, which is an issuer of the Debtors’ 2L Notes (as defined herein), is also a Debtor.

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further developed phenolic resins for the modern age, including for use on Space Shuttle engine

nozzles, due to their fire resistance.

                 22.    Legacy companies are also responsible for development of the first

patented epoxy resin. Epoxy resins, which remain a key Hexion product today, are used for a

wide array of coating and adhesive processes as well as for forming plastics and composites.

Hexion-legacy epoxy resins helped build the first modern wind turbines. Legacy companies also

helped develop the first waterborne (i.e., water-solvent) epoxy resins, improving versatility and

reducing emissions relative to solvent-based resins.

                 23.    The 2005 combination of these storied companies made Hexion a global

leader in these products, a category of essential specialty chemicals known as thermoset resins.

                 24.    In 2010, Hexion LLC (formerly known as Momentive Specialty

Chemicals Holdings LLC), and Momentive Performance Materials Holdings Inc. (“MPM

Holdings”), the parent company of Momentive Performance Materials Inc. (“MPM”), became

subsidiaries of a newly formed holding company, Hexion Holdings LLC (formerly known as

Momentive Performance Materials Holdings LLC, “Hexion Holdings”).               We refer to this

transaction as the “Momentive Combination.” As a result of the Momentive Combination,

Hexion Holdings became the ultimate parent of MPM and Hexion. Hexion Holdings is

controlled by investment funds managed by affiliates of Apollo Management Holdings, L.P.

(together with Apollo Global Management, LLC and its subsidiaries, “Apollo”).

                 25.    During the period between 2010 and 2014, MPM and Hexion maintained a

common parent but maintained separate capital structures. Also, a shared services agreement was

put in place to allow for MPM and Hexion to utilize a common management team to operate the

businesses and to share administrative costs between the two companies. As a result of the 2014

chapter 11 proceedings of MPM, Hexion and MPM no longer share a common parent. Hexion

has nevertheless maintained certain important contractual relationships with MPM including,

until recently, a shared services agreement.



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                 26.     In December 2014, the company resumed use of the Hexion name, noting

at the time the desire to align itself with the heritage described above. From its beginnings,

through its formation in 2005, and up to today, Hexion has continued to lead the market in its

products and in innovation. Recent key initiatives include environmentally-friendly resins (such

as EcoBind, an ultra-low emission resin technology), specialty epoxy resins for the wind energy

market, and composites for high-performance automobiles. The Debtors hope to carry this

history forward with the assistance of the bankruptcy process and their supportive creditors,

positioning itself to build on its legacy for years to come.

        C.       The Debtors’ Business Operations

                 27.     The Debtors, together with their Non-Debtor Affiliates, are leaders in the

field of thermoset resins. These resins are created through a variety of chemical processes, and

they serve an even broader array of industrial purposes. Hexion’s products are used in thousands

of applications and are sold into diverse markets, such as forest products, architectural and

industrial paints, packaging, consumer products, composites and automotive coatings. Hexion

serves many industry sectors, including industrial/marine, construction, consumer/durable goods,

automotive, wind energy, aviation, electronics, architectural, civil engineering, repair/remodeling

and oil and gas field support. The diversity of Hexion’s products limits its dependence on any

one market or end-use. Hexion has a history of product innovation and success in introducing

new products to new markets, as evidenced by over 750 granted patents, the majority of which

relate to the development of new products and manufacturing processes. Hexion is constantly

looking at new ways to introduce new products in its currently established markets.

                 a. Business Segments

                 28.     Hexion divides its business into two operating segments3 for reporting

purposes: the Epoxy, Phenolics and Coatings Resins Division (“EPCD”) and the Forest Products


3
  Hexion reports a third segment, Corporate and Other, which is primarily corporate, general and administrative
expenses that are not allocated to the other segments, such as shared service and administrative functions,
unallocated foreign exchange gains and losses and legacy company costs not allocated to continuing segments

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Division (“FPD”). As detailed below, the EPCD segment comprises a variety of epoxy and

phenolic specialty products, while FPD focuses on formaldehyde and formaldehyde-based resins

useful in wood-adhesion applications.

                          i. Epoxy, Phenolics and Coatings Resins Segment Division (EPCD)

                 29.      EPCD further divides into the five business units detailed below.

                 30.      Base Epoxy Resins & Intermediates. Hexion is one of the world’s largest

suppliers of base epoxy resins. Base epoxy resins are used primarily in coatings including

“electrocoat” applications for the automotive industry, powder coatings for automotive, oil and

gas, general industry and white goods (e.g., appliances), and heat-cured coatings for metal

packaging, coiled steel and general industry.

                 31.      Epoxy Specialty Resins. Hexion is a leading producer of epoxy specialty
resins including infusion resins and bonding pastes for the wind turbine industry, low-emission

waterborne coatings to combat corrosion, and blends and resins for lightweight materials and

composites critical to the automotive and aircraft industries.

                 32.      Versatics. Hexion is a leading producer of versatic acids and derivatives.

Versatic acids and derivatives are specialty monomers that provide performance advantages for

finished coatings, including superior adhesion, water resistance, appearance and ease of

application. Applications for these specialty monomers include decorative, automotive and

protective coatings.

                 33.      Phenolic Specialty Resins.    Hexion is a leading producer of phenolic

specialty resins, which are used in applications that require extreme heat resistance and strength,

such as after-market automotive and OEM truck brake pads, filtration, aircraft components and

foundry resins.        These products are sold under globally recognized brand names such as

BORDEN, BAKELITE, DURITE and CELLOBOND. Hexion’s phenolic specialty resins are

also known for their binding qualities and are used widely in the production of mineral wool and

glass wool used for commercial and domestic insulation applications.



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                 34.   Oilfield. Hexion is an innovator in oilfield specialty products, including

additives both for drilling and for cementing, and resin-coated proppants.

                       ii. Forest Products Segment Division (FPD)

                 35.   FPD further subdivides into the two business units detailed below.

                 36.   Formaldehyde. Hexion is a significant producer of formaldehyde, a key

raw material used to manufacture thousands of other chemicals and products.

                 37.   Forest Products Resins / Wood Adhesive. Hexion is the leading producer

of formaldehyde-based resins for the North American forest products industry, and also holds

significant positions in Latin America, Australia, New Zealand, and Europe. Formaldehyde-

based resins, also known as forest products resins, are a key adhesive and binding ingredient

used in the production of a wide variety of engineered lumber products, including medium-

density fiberboard, particleboard, oriented strand board and various types of plywood and

laminated veneer lumber. These products are used in a wide range of applications in the

construction, remodeling and furniture industries.

                 b. Production Facilities

                 38.   The Debtors and the Non-Debtor Affiliates have 47 total active production

sites around the world. Through their worldwide network of strategically located production

facilities, the Debtors and their Non-Debtor Affiliates serve more than 3,100 customers in

approximately 85 countries. The following map illustrates Hexion’s global operations:




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                 39.   Most of the Debtors’ facilities are used for the production of thermosetting

resins, and most of them manufacture more than one type of thermosetting resin, the nature of

which varies by site. These facilities typically use batch technology, and range in size from

small sites, with a limited number of reactors, to larger sites, with dozens of reactors. In

addition, the Debtors, and their Non-Debtor Affiliates, have the ability to internally produce key

intermediate materials such as formaldehyde, BPA, ECH, and versatic acid. This backward

integration provides cost advantages and facilitates adequacy of supply. These facilities are

usually co-located with downstream resin manufacturing facilities they serve.              As these

intermediate materials facilities are often much larger than a typical resins plant, the Debtors, and

their Non-Debtor Affiliates generally, capture the benefits of manufacturing efficiency and scale

by selling excess production to third parties.

                 40.   The Debtors own or lease 27 production facilities in the United States.

The following chart details the Debtors’ facilities:




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Count    Segment             Site                       St.        Owned/Leased         Employees+
1        FPD &               Louisville                 KY         Owned                120
         EPCD - PSR
2        EPCD – BERI         Deer Park                  TX         Owned*               130
3        EPCD – EPS          Argo                       IL         Owned*               40
4        FPD                 Hope                       AR         Owned                25
5        FPD                 Springfield                OR         Owned                50
6        FPD                 Fayetteville               NC         Owned                70
7        FPD                 Diboll                     TX         Owned                40
8        FPD                 Luling                     LA         Owned*               10
9        FPD                 Missoula                   MT         Leased               20
10       FPD                 Sheboygan                  WI         Owned                30
11       FPD                 Morganton                  NC         Leased               30
12       FPD                 Alexandria                 LA         Owned                25
13       FPD                 Geismar                    LA         Owned++              50
14       FPD                 Baytown                    TX         Owned*               10
15       EPCD - EPS          Lakeland                   FL         Owned                45
16       FPD                 Acme                       NC         Owned                30
17       FPD                 LaGrande (Island City)     OR         Owned                10
18       FPD                 Moreau                    NY         Owned                 10
19       FPD                 Columbus                  GA         Owned*                5
20       FPD                 Portland                  OR         Owned                 5
21       EPCD - Oilfield     Brady^                    TX         Owned
22       EPCD - Oilfield     Shreveport^               LA         Owned*
23       EPCD - Oilfield     Cleburne^                 TX         Owned
24       FPD                 Virginia^                 MN         Owned
25       FPD                 Mount Jewett^             PA         Owned
26       FPD                 Demopolis^                AL         Owned
27       EPCD - Oilfield     Batesville^               AR         Owned
         *
           Machinery and equipment owned; ground lease
         +
           Approximate; includes manufacturing employees, contractors, and regional/commercial staff
         ++
            G6 Formaldehyde Reactor leased
         ^ Idle

                 c. Research and Development

                 41.     Hexion’s research and development activities are geared towards

developing and enhancing products, processes and application technologies to maintain Hexion’s

position as the world's largest producer of thermosetting resins. Hexion has approximately 360

scientists and technicians worldwide. Hexion’s research and development facilities include a

broad range of synthesis, testing and formulating equipment and small-scale versions of

customer manufacturing processes for applications development and demonstration.

                 42.     More recently, efforts have focused on incorporation of green chemistry

principles into technology innovations to remain competitive and to address customer demands

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for more environmentally preferred solutions. Initiatives include developing resin technologies

that reduce emissions, maximize efficiency and increase the use of bio-based raw materials.

Some examples of meaningful results of this investment in the development of green products

include: EPIKOTE / EPIKURE epoxy systems for wind energy applications, which provide

superior mechanical and process properties, reducing air emissions when hours of energy are

created; EPIKOTE and Bakelite resin systems for automotive applications, which produce

lightweight automotive composite components and other automotive parts that allow customers

to build cars with better mileage, reducing air emissions without sacrificing performance;

EcoBind Resin Technology, an ultra-low-emitting binder resin used to produce engineered wood

products; and Epi-Rez Epoxy Waterborne Resins, which provide for lower volatile organic

compounds, reducing air emissions.

                 d. Intellectual Property

                 43.   As of December 31, 2018, Hexion owns, licenses or has rights to over 750

granted patents and over 1,100 registered trademarks, as well as various patent and trademark

applications and technology licenses around the world, which are used or held for use in

operations. A majority of these patents relate to developing new products and processes for

manufacturing and will expire between 2019 and 2036. Trademarks are renewed on a regular

basis. The Debtors own or have the rights over the substantial majority of this intellectual

property.

                 e. Employees

                 44.   As of the Petition Date, Hexion had approximately 4,000 employees

around the world.      Debtor Hexion Inc. employs approximately 1,300 of these employees,

including approximately 275 in Columbus, Ohio, providing executive management, oversight,

procurement and other globally shared services.      None of the other Debtors employs any

employees. Approximately 40% of Hexion employees are members of a labor union or are

represented by workers’ councils that have collective bargaining agreements, including 6% of

the Debtors’ employees.

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                 f. Marketing, Customers, and Seasonality

                 45.   The Debtors’ products are sold to industrial users around the world with a

special focus on the industries highlighted above in discussion of Hexion’s business segments.

Those customers include global leaders in the automotive, aircraft, consumer goods,

construction, oil and gas, and wind energy industries, as well as other chemical and intermediates

companies. Hexion’s products are sold to industrial users worldwide through a combination of a

direct sales force that services the larger customers and third-party distributors that more cost-

effectively serve Hexion’s smaller customers. Hexion’s customer service and support network is

made up of key regional customer service centers. Hexion also has global teams that serve the

needs of its global customers for technical support and supply and commercial term

requirements. Where operating and regulatory factors vary from country to country, these

functions are managed locally.

                 46.   Neither the Debtors’ overall business nor any of its reporting segments

depends on any single customer or a particular group of customers; therefore, the loss of any

single customer would not have a material adverse effect on either reporting segment (EPCD or

FPD) or the Debtors—or Hexion—as a whole. The Debtors and their Non-Debtor Affiliates’

primary customers are manufacturers, and the demand for our products is seasonal in certain

businesses, with the highest demand in the summer months and lowest in the winter months.

                 47.   Demand for the Debtors’ and their Non-Debtor Affiliates’ products can

also be cyclical, as general economic health and industrial and commercial production levels are

key drivers for the Debtors’ business.

                 g. Management Team

                 48.   The Debtors’ current senior leadership team comprises the following

individuals, each of whom has substantial industry experience, and who collectively represent

decades of familiarity with Hexion and its predecessor companies:




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                                Hexion Inc. Senior Management

Craig A. Rogerson         Chairman, President, and Chief Executive Officer

George F. Knight          Executive Vice President and Chief Financial Officer

Douglas A. Johns          Executive Vice President, General Counsel, and Corporate Secretary

John P. Auletto           Executive Vice President – Human Resources

Paul Barletta             Executive Vice President - Operations

Nathan E. Fisher          Executive Vice President – Procurement

Matt Sokol                Executive Vice President and Chief Administrative Officer

                 49.   The supervision of the management team and the general course of the

Debtors’ affairs and business operations is entrusted to the eight-member Board of Managers of

Hexion Inc.’s indirect parent, co-Debtor Hexion Holdings LLC. Each member of the Board has

knowledge, experience and expertise relevant to serving as a director, and many of the directors

have experience serving on boards of directors of other companies.               Four members are

independent of Apollo and are not executives of Hexion Inc.

                 h. Shared Services Agreement

                 50.   As noted, the Debtors and MPM were owned by a common parent from

2010 to 2014, until MPM’s chapter 11 reorganization. Historically, the Debtors and MPM have

derived efficiencies and cost savings through sharing services provided by a pool of employees

utilized by both companies. These services have included certain aspects of management,

administrative support, treasury services, audit and tax functions, financial services, legal affairs,

property management, accounting and records keeping, credit management and collections,

accounts payable, financial statement preparation, information technology and enterprise

resource planning, investor and public relations, environmental, health, and safety, engineering,

payroll management, risk management, insurance, human resources, procurement, and export

services (collectively, the “Shared Services”) over the term of the relationship.




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                 51.       To govern the relationship between the two sides as to the Shared

Services, Debtor Hexion Inc. and non-Debtor Momentive Performance Materials Inc. entered

into to that certain Second Amended and Restated Shared Services Agreement, dated as of

October 24, 2014 (the “Shared Services Agreement”).                  The Shared Services Agreement

established certain criteria upon which the costs of such services were allocated between the

Debtors and MPM and required that the steering committee formed under the agreement meet no

less than annually to evaluate and determine an equitable allocation percentage. The allocation

percentages for 2018 and 2017 were 57% and 56%, respectively, for the Debtors and 43% and

44%, respectively, for MPM.

                 52.       The Shared Services Agreement was renewed for one year starting in

October 2018 subject to termination by either the Company or MPM, without cause, on not less

than 30 days' written notice. On February 11, 2019, MPM provided notice to the Debtors that

they would be terminating the Shared Services Agreement effective March 14, 2019. The

termination triggers a period of up to 14 months during which the parties will work together to

facilitate an orderly transition of services provided under the agreement.

        D.       The Debtors’ Prepetition Capital Structure

                 53.       As of the Petition Date, the Debtors had funded debt outstanding of

approximately $3.8 billion.          The following table summarizes the Debtors’ prepetition

indebtedness and capital structure:


(USD in mm)                   Maturity      Outstanding       Rate              Interest Expense

ABL*                          5-Dec-21      $297              L+2.250%**        $7

10.375% First Lien Notes      1-Feb-22      $560              10.375%           $58

10.000% First Lien Notes      15-Apr-20     $315              10.000%           $32

6.625% First Lien Notes       15-Apr-20     $1,550            6.625%            $103

Total First Lien Debt                       $2,722                              $199

13.750% 1.5 Lien Notes        1-Feb-22      $225              13.750%           $31


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9.000% Second Lien Notes       15-Nov-20        $574                9.000%            $52

Lease Obligations              Various          $66                 Various           N/A

Foreign Local Debt             Various          $127                Various           $17

Total Secured Debt                              $3,714                                $299

9.200% Borden Debentures       15-Mar-21        $74                 9.200%            $7

7.875% Borden Debentures       15-Feb-23        $189                7.875%            $15

Total Unsecured Debt                            $263                                  $22

Total Debt                                      $3,977                                $320

Total Debt (Excluding                           $3,850
Foreign Local Debt)
Cash & Equivalents                              $76

Total Net Debt                                  $3,901

Total Net Debt (Excluding                       $3,774
Foreign Local Debt)
* The ABL amount does not include approximately $50 million in letters of credit
** Blended

                 54.      The collateral securing the ABL and the various Secured Notes (both as

defined below) is substantially the same, and is subject to largely matching exclusions. Among

other exclusions, the collateral for the ABL and the Secured Notes does not include any Principal

Property.     “Principal Property” is a term defined in the indenture governing the Borden
Debentures (defined below). With limited exceptions, a Principal Property may not be made

collateral for other financing unless the Borden Debentures are granted ratable security in such

Principal Property (which has not occurred).

                 55.      Subject to the enumerated exclusions, including the exclusion of any

Principal Property, collateral for the ABL and the Secured Notes includes substantially all of the




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Debtors’ other personal property. The following table summarizes the collateral for the secured

debt, and the priorities in respect of the same among the secured instruments:4


Priority         Instrument Collateral

                 ABL               Subject to enumerated exclusions, including exclusion of any Principal
First Lien                          Property, a first lien on substantially all of the Debtors’ other personal property
                                   Priority over the First Lien Notes in respect of the Debtors’ inventory and
                                    accounts
                 First Lien        Subject to enumerated exclusions, including exclusion of any Principal
                 Notes              Property, a first lien on substantially all of the Debtors’ other personal property
                                   Priority over the ABL in respect of the Debtors’ personal property other than
                                    inventory and accounts
1.5 Lien         1.5 Lien          Subject to enumerated exclusions, including exclusion of any Principal
                 Notes              Property, a lien junior to the ABL and the First Lien Notes on substantially all
                                    of the Debtors’ other personal property
Second Lien      Second            Subject to enumerated exclusions, including exclusion of any Principal
                 Lien Notes         Property, a lien junior to the ABL and the First Lien Notes and the 1.5 Lien
                                    Notes on substantially all of the Debtors’ other personal property

                  a. ABL

                  56.       Hexion Inc. is a borrower under the Amended and Restated Asset-Based

Revolving Credit Agreement dated as of December 21, 2016, by and among, inter alia, Debtor

Hexion Inc., as U.S. Borrower, certain foreign Non-Debtor Affiliates of Hexion Inc. as Foreign

Borrowers (together with Hexion Inc., the “Borrowers”), and JPMorgan Chase Bank, N.A., as

Administrative Agent (among other capacities) (the “ABL”).

                  57.       As amended, the ABL has a maturity date of December 5, 2021 subject to

certain springing maturities linked to outstanding amounts under various of the Debtors’ notes.

The ABL bears interest at a floating rate based on, at the Company's option, an adjusted LIBOR

rate plus an applicable margin or an alternate base rate plus an applicable margin. As of the

Petition Date, the applicable margin for LIBOR rate loans was 2.25% and for alternate base rate

loans was 1.25%


4
  I provided the description and table for convenience and illustrative purposes only; these are not a complete
description of the collateral, or the exclusions thereto, set forth in the collateral agreements governing the Debtors’
secured obligations.

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                 58.      Availability under the ABL is $350 million, subject to a borrowing base

for U.S. borrowings based on a specified percentage of U.S. eligible accounts receivable and

inventory. While Foreign Borrowers may generally rely on the global borrowing base, a “U.S.

Sublimit” prevents borrowings by Hexion Inc. when such borrowing would cause U.S.

borrowings to exceed the U.S. borrowing base—effectively limiting U.S. borrowings to the U.S.

borrowing base.5 As of the Petition Date, U.S. borrowings under the ABL totaled $93 million,

with remaining U.S. availability of $1.7 million. Foreign Borrowers were borrowers of $203.8

million.

                 59.      Under the ABL and related collateral documents, the Debtors guarantee all

obligations (both domestic and foreign), while the Foreign Borrowers and the foreign guarantors

guarantee only foreign obligations.

                 60.      The ABL is secured by senior liens on most of the inventory and accounts

of the Debtors (the “ABL Priority Collateral”) and certain inventory, accounts, and other assets

of certain of the foreign Non-Debtor Affiliates. The ABL is further secured by junior liens

(junior in priority only to the First-Lien Notes described below) on collateral that generally

includes most of the Debtors’ personal property other than the ABL Priority Collateral, subject to

certain exclusions—including the exclusion of any Principal Property—and permitted liens (the

“Notes Priority Collateral” and together with the ABL Priority Collateral, the “Notes

Collateral”). As noted, the liens in respect of the assets of the relevant Non-Debtor Affiliates, as

Foreign Borrowers and foreign guarantors, secure only the foreign obligations, while the liens in

respect of the assets of the Debtors secure all obligations under the ABL.

                 b. First Lien Notes

                 61.      In 2017, Hexion Inc. issued $560 million aggregate principal amount of

10.375% First Priority Senior Secured Notes due 2022 (the “10.375% First Lien Notes”), the

proceeds of which were used to discharge maturing notes indebtedness and for general corporate

5
 At such times, subject to availability to Foreign Borrowers, Foreign Borrowers may draw and transfer the funds to
Hexion Inc. via intercompany loan.

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purposes. In 2016, Hexion Inc. issued $315 million aggregate principal amount of 10.000% First

Priority Senior Secured Notes due 2020 (the “10.000% First Lien Notes”), proceeds of which

were used to discharge maturing debenture indebtedness and to repay all amounts then

outstanding under the then-existing ABL. In 2012, Hexion Inc. issued $450 aggregate principal

amount of First-Priority Senior Secured Notes due 2020 (the “6.625% First Lien Notes” and

together with the 10.000% First Lien Notes and the 10.375% First Lien Notes, the “First Lien

Notes”). Hexion Inc. issued an additional $1,100 million aggregate principal amount of 6.625%

First Lien Notes in January 2013. The aggregate outstanding principal amount of First Lien

Notes as of the Petition Date is $2,425 million. There are scheduled interest payments due on

April 15 in respect of the 6.625% First Lien Notes and the 10.000% First Lien Notes of $51.3

million and $15.8 million, respectively.

                 62.   The First Lien Notes are secured by senior liens on the Notes Priority

Collateral. The First Lien Notes are further secured by junior liens (junior in priority only to the

ABL described above) on the ABL Priority Collateral.

                 c. 1.5 Lien Notes

                 63.   In 2017, Hexion Inc. issued $225 million aggregate principal amount of

13.750% Senior Secured Notes due 2022 (the “1.5 Lien Notes”), proceeds of which were used to

discharge maturing notes indebtedness. The 1.5 Lien Notes are secured by liens on the Notes

Collateral that are junior to the liens in such collateral securing the First Lien Notes and the ABL

but senior to the liens in such collateral securing the Second Lien Notes (defined below).

                 d. Second Lien Notes

                 64.   In 2010, Debtors Hexion U.S. Finance Corp. and Hexion Nova Scotia

Finance ULC issued $574 million aggregate principal amount of 9.000% Second-Priority Senior

Secured Notes due 2020 (the “Second Lien Notes” and together with the First Lien Notes and

the 1.5 Lien Notes, the “Secured Notes”), proceeds of which were used to refinance existing

second-lien note indebtedness. The Second Lien Notes are secured by liens on the Notes



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Collateral that are junior to the liens in such collateral securing the First Lien Notes, the ABL,

and the 1.5 Lien Notes.

                 e. Borden Debentures

                 65.      In 1987 and 1991, Hexion Inc. predecessor Borden Inc. issued its 9.200%

debentures due 2021 (the “2021 Debentures”) and 7.875% debentures due 2023 (the “2023

Debentures” and together with the 2021 Debentures, the “Borden Debentures”).

                 66.      The Borden Debentures are unsecured obligations of Hexion Inc. The

Borden debentures indenture contains a negative pledge on the granting of liens on, or taking

certain other actions in respect of, any “Principal Property.” A Principal Property is defined

therein as any “manufacturing or processing plant or warehouse owned or leased by the Issuer or

any Subsidiary of the Issuer and located within the United States of America . . . other than any

such plant or warehouse or portion thereof which the Board of Directors reasonably determines

not to be a Principal Property after due consideration of the materiality of such property to the

business of the Issuer and its Subsidiaries as a whole.”

                 67.      Subject to certain exceptions enumerated in the indenture, if the Issuer

(now Hexion Inc.) desires to grant a lien on a Principal Property or a portion thereof, it must

grant equal and ratable security for the Borden Debentures. The Debtors’ security agreements in

respect of their secured obligations do not grant a lien on any Principal Property.6

II.     EVENTS LEADING TO COMMENCEMENT OF CHAPTER 11 CASES

                 68.      The Debtors, together with their Non-Debtor Affiliates, are a strong

business with a history of success and excellent long-term prospects. At the same time, the

Debtors, together with the Non-Debtor Affiliates, participate in a highly competitive industry

with constant pressure on revenue and margins, which in turn pressures EBITDA and liquidity.

The Debtors also face near-term maturities of the majority of their funded debt. These two

6
 The foregoing is not an exhaustive description of the provisions addressing Principal Properties in the Debtors’
debt documents but represents my understanding of particularly relevant provisions after discussions with the
Debtors’ advisors.



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factors—declining liquidity and impending maturities—created an inflection point that required

the Debtors to commence restructuring discussions with their key economic constituents in the

late fall of 2018.

        A.       Maturities and Liquidity

                 69.   The Debtors’ high leverage and burdensome debt-service have created the

current situation. The Debtors are over nine times levered relative to their 2018 segment

EBITDA and face annual debt service in excess of $300 million. As debt service has remained

high, liquidity has become a critical issue. The liquidity is further stressed in the first half of the

year as seasonality in the Debtors’ business has historically resulted in working capital builds of

more than $100 million during the first quarter.

                 70.   The Debtors’ business is global and diverse with 60% of the revenues

generated outside the U.S. and no end market making up more than 18% of its total revenue

base. This diversity has been both a benefit and a challenge for the Debtors’ growth, as global

and business cyclicality have resulted in flat to declining EBITDA profitability from 2012-2017.

                 71.   For example, in 2014, a large part of the Company’s profitability was

related to its Oilfield business unit (“OTG”). OTG represented 8% of the Debtors’ sales and

28% of its segment EBITDA in 2014. With the drop in oil prices and the producers’ shift away

from using resin coated sand, the Debtors’ OTG segment EBITDA had fallen by approximately

$150 million by 2016. Growth in other business units could not fully offset this loss. The

continued low price of oil has resulted in an apparent permanent shift away from the use of resin

coated sand by some parties, and the OTG business, despite cost reduction efforts, is still

operating below a breakeven EBITDA level.

                 72.   The Debtors have continued to look for ways to reduce costs to improve

profitability and cash flows across its businesses. In 2018, for example, the Company further

reduced its global headcount and reduced its cost base by approximately $50 million. In 2018,

SG&A represented 8% of the Company’s consolidated sales, which is very low for a chemical

company of comparable size.

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                 73.   These cost reduction efforts contributed to strong performance in 2018.

2018 segment EBITDA of $440 million represents the Debtors’ best operational performance

since 2012 and an improvement of 21% over the prior year. Despite this improvement, the

Debtors were cash flow negative for fiscal 2018.

                 74.   Even beyond the current liquidity issues, the Debtors’ leverage creates a

second pressure—impending maturities. Approximately $2.5 billion of the Debtors’ secured

debt matures in 2020. Repaying, in the absence of refinancing, these maturities is not a viable

option, and the Debtors have been advised that the current outlook in capital markets makes the

likelihood of a reasonable refinancing of maturities unlikely, given the Debtors’ leverage levels.

As a result, the Debtors face a going-concern qualification in Hexion’s 2018 audit, which would

create increased liquidity pressures from the Debtors’ vendors and would give rise to defaults

under our ABL and cause cross defaults in all of our debt instruments.

                 75.   In response to the Debtors’ liquidity and maturity issues, the Debtors

launched an asset sale process in the 4th quarter of 2017 to generate proceeds to pay down debt
and de-lever the company. The initial focus was centered around businesses within the EPCD

segment, but when the process did not yield offers that would de-lever the company, the process

was expanded to also explore the sale of our FPD businesses. These processes continued

through 2018 and the beginning of 2019 but did not result in offers for transactions that the

Debtors considered to be in their best interests or those of their creditors and other stakeholders.

        B.       Restructuring Efforts

                 76.    In response to these challenges, the Board actively pursued and examined

a number of potential strategic alternatives. These efforts included engaging advisors to assist

the Debtors in their efforts to restructure their debt for the purpose of de-leveraging the Debtors’

balance sheet and exploring a sale of assets. Specifically, in November 2018, the Debtors

retained Moelis & Company and Latham & Watkins LLP to assist the Debtors in analyzing their

financial position and exploring potential financing and restructuring alternatives. The Debtors

also retained AlixPartners in January 2019 to perform a variety of restructuring related services.

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In early March 2019, the Debtors, with the assistance of their advisors, initiated a process to

evaluate and consider various potential strategic and financial alternatives for the Debtors with a

view to maximizing enterprise value, including, among other alternatives, a debt or equity

financing, or a recapitalization, either in or out of court.

                 77.    The Debtors focused their restructuring efforts on discussions with certain

holders of the First Lien Notes (the “First Lien Group”), certain holders of the 1.5 Lien Notes

(the “1.5 Lien Group”), and a group with holdings across the capital structure (the “Crossover

Group” and together with the First Lien Group and the 1.5 Lien Group, the “Ad Hoc Groups”).

The primary goal of those discussions, and these Chapter 11 Cases, was and is to restructure the

Debtors’ balance sheet through a plan of reorganization that enjoys the maximum achievable

creditor support, is fair to all creditors and other stakeholders, and positions the Debtors and their

Non-Debtor Affiliates for success upon emergence.

                 78.    After the advisors to the Ad Hoc Groups commenced due diligence on the

Debtors through information provided in an online data room, the Debtors commenced good-

faith, arm’s-length negotiations regarding a potential restructuring that would materially de-lever

the Debtors’ balance sheet and allow the Debtors to retain sufficient liquidity to continue to

operate their businesses going forward. In the course of these negotiations, the Debtors and the

Ad Hoc Groups exchanged and considered, with the assistance of their respective advisors,

numerous restructuring proposals.        Throughout this process, the Board continued to seek

refinancing alternatives and out-of-court restructuring options.

                 79.    Ultimately, the Debtors reached a global agreement with all of the Ad Hoc

Groups and executed a restructuring support agreement on April 1, 2019. These negotiations

culminated in the restructuring support agreement attached hereto as Exhibit B the (“RSA”),

certain key terms of which are discussed below in Part III.

                 80.    Thus, faced with a lack of viable options available in the financial markets

and the upcoming interest payments in respect of the 6.625% and 10.000% First Lien Notes in an

aggregate amount of approximately $67 million, the Board, after engaging in months of good

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faith and arm’s-length negotiations with the Ad Hoc Groups as well as other stakeholders,

ultimately determined that entry into the RSA and, thereafter, commencement of these Chapter

11 Cases to consummate the transactions contemplated by the RSA, was necessary to preserve

the Debtors’ going concern value by de-levering their balance sheet.

III.     RESTRUCTURING SUPPORT AGREEMENT

                  81.      The RSA7 enjoys support at every level of the Debtors’ prepetition capital

structure, and, as of the Petition Date, includes holders of approximately 70% of the debt to be

restructured, including 62% of the First Lien Notes, 98% of 1.5 Lien Notes, 84% of the Second

Lien Notes, and 76% the Borden Debentures. The RSA contemplates a financial restructuring

that substantially reduces the Debtors’ leverage and treats all creditors fairly in accordance with

their claims.

                  82.      The RSA contemplates a substantial deleveraging. In accordance with the

RSA, the Debtors agree to propose a Plan predicated upon a total enterprise value of $3.1 billion,

including an exit facility of approximately $1.6 billion and a stipulated post-new money equity

value of approximately $1.4 billion. The new money in question results from a backstopped

rights offering of New Hexion Common Shares offered at a 35% discount to the stipulated equity

value and sized to yield $300 million in cash proceeds. The resulting total leverage at emergence

is anticipated to be less than half of the Debtors’ prepetition leverage, based on 2019 EBITDA

estimates.

                  83.      The RSA also contemplates a restructuring that treats all creditors fairly in

accordance with their respective claims and legal entitlements as they have been explained to

me. The Debtors agree to propose a Plan that will distribute (a) to the 1L Notes Claims, $1.45

billion in cash (less the sum of adequate protection payments reflecting interest on the 1L Notes)

and 72.5% of (X) the New Hexion Common Shares and (Y) the Rights in the Rights Offering,


7
 This description of the RSA is a summary based on my review of the documents in consultation with the Debtors’
advisors. Please refer to the RSA itself for a full recitation of its terms. Capitalized terms used in this part of the
Declaration and not defined herein shall have the meanings ascribed to them in the RSA.

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and (b) to the 1.5L Notes Claims, the 2L Notes Claims, and the Unsecured Notes Claims their

pro rata share of 27.5% of (X) the New Hexion Common Shares and (Y) the Rights in the Rights

Offering. General Unsecured Creditors will be paid in full.

                 84.      The RSA contains certain covenants on the part of the Debtors and the

Consenting Noteholders, including that such Consenting Noteholders will vote in favor of the

Plan and otherwise facilitate the restructuring transaction, in each case subject to certain terms

and conditions in the RSA.           The consummation of the Plan will be subject to customary

conditions and other requirements. The RSA also provides for termination by each party, or by

either party, upon the occurrence of certain events, including without limitation, termination by

the Consenting Noteholders upon the failure of the Debtors to achieve certain milestones set

forth in the Restructuring Support Agreement.

IV.     SUMMARY OF FIRST DAY PLEADINGS

                 85.      To enable the Debtors to operate effectively and to avoid the adverse

effects of the chapter 11 filings, the Debtors have filed, or will file upon scheduling of a further

hearing by this Court, the motions and applications described below.8
                 86.      Having reviewed each of the First Day Pleadings or had their contents

explained to me, I believe that the Debtors would suffer immediate and irreparable harm absent

the ability to continue their business operations as sought in the First Day Pleadings. In my

opinion, approval of the relief sought in the First Day Pleadings is critical to the Debtors’ efforts

to reorganize and conduct these cases efficiently, thus permitting the Debtors to preserve and

maximize value for the benefit of all stakeholders.

                 87.       Several of the First Day Pleadings request authority to pay prepetition

claims. I am told by the Debtors’ advisors that Federal Rule of Bankruptcy Procedure 6003

provides, in relevant part, that the Court may not consider motions to pay prepetition claims

during the first 21 days following the filing of a chapter 11 petition, “except to the extent relief is

8
  Capitalized terms used in this part of the Declaration and not defined herein shall have the meanings ascribed to
them in the relevant First Day Pleadings.

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necessary to avoid immediate and irreparable harm.” In light of this exception, the Debtors have

limited their requests for immediate authority to pay prepetition claims to those circumstances

where the failure to pay such claims would cause immediate and irreparable harm to the Debtors

and their estates. Consequently, certain aspects of the relief sought in the First Day Pleadings

will be deferred for consideration at a later hearing, as indicated therein.

        A.       Motions Related to Case Management

                 a. Debtors’ Motion for Entry of an Order Directing Joint Administration of
                    Chapter 11 Cases
                 88.   The Debtors seek entry of an order directing joint administration of the

chapter 11 cases for procedural purposes only pursuant to Bankruptcy Rule 1015(b) and Local

Rule 1015–1 and that the Court maintain one file and one docket for all of the chapter 11 cases

under the lead case, Hexion Holdings LLC.

                 89.   Given the highly integrated nature of the Debtors’ operations, I believe

that joint administration of these chapter 11 cases would provide significant administrative

convenience without harming the substantive rights of any parties in interest. Many of the

motions, hearings, and orders in these cases will affect each Debtor, and joint administration

would eliminate the need for duplicate pleadings, notices, and orders in each of the respective
dockets. This, in turn, would save the Court, the Debtors, and other parties in interest substantial
time and expense when preparing and filing such documents. Further, joint administration

would protect any parties in interest by ensuring that they will be apprised of the various motions

filed with the Court with respect to each of the Debtors’ cases.

                 90.   Because the Debtors seek only administrative, not substantive

consolidation of the estates, I do not believe joint administration would adversely affect the

Debtors’ respective constituencies. The relief requested in the Joint Administration Motion will

not only preserve individual creditors’ rights, but will also provide those creditors the benefit of

the cost reductions associated with joint administration.




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                 91.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 b. Debtors’ Motion for Order Extending Time to File Schedules of Assets
                    and Liabilities and Statements of Financial Affairs
                 92.   The Debtors seek entry of an order seeking a 92-day extension of time (for

a total of 120 days after the Petition Date) to file their Schedules of Assets and Liabilities (the

“Schedules”) and Statements of Financial Affairs (the “Statements”).

                 93.   Due to the complexity of the Debtors’ businesses, the number of Debtor

entities, the substantial burden already imposed on the Debtors’ management by the

commencement of these chapter 11 cases, the limited number of employees available to collect

the required information, and the fact that the Debtors have a substantial number of creditors, the

Debtors will be unable to complete their Schedules and Statements by the deadline set forth

pursuant to the Bankruptcy Code and Bankruptcy Rules. Therefore, I believe that good cause

exists for extending the deadline by which the Debtors must file their Schedules and Statements.

I understand that granting this motion is in the best interest of the Debtors’ estates as it will

enable the Debtors and their professionals to concentrate their resources towards an efficient and
timely reorganization process.
                 94.   The relief requested herein will not prejudice or adversely affect the rights

of the Debtors’ creditors or other parties-in-interest. Rather, the extension requested herein will

aid the Debtors’ efforts to ensure the accuracy and completeness of the Schedules and Statements

which, in turn, will promote efficient administration of these chapter 11 cases and ultimately

benefit the Debtors’ creditors and parties in interest.

                 95.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.




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        B.       Motions Related to Financing of Operations

                 a. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    Continued Use of the Debtors’ Existing Cash Management System and
                    Bank Accounts; (II) Waiving Certain United States Trustee
                    Requirements, (III) Authorizing Continued Performance of
                    Intercompany Transactions; and (IV) Granting Related Relief
                 96.   The Debtors seek entry of interim and final orders approving the Debtors’

continued use of their Cash Management System (as defined below).

                       i. Cash Management System

                 97.   In the ordinary course of their businesses prior to the Petition Date, and as

is typical with business organizations of similar size and scope, the Debtors maintain a

centralized cash management system to collect, transfer, and disburse funds generated through

their operations efficiently and to record such transactions accurately (the “Cash Management

System”).

                 98.   The Cash Management System has two main components: (a) cash

collection and concentration; and (b) cash disbursement.        Substantially all of the Debtors’

revenues are collected at receipt accounts in the name of Hexion Inc., maintained at Bank of

America Merrill Lynch (“BAML”). All cash collected in the receipt accounts is automatically

swept daily to a concentration account (the “Concentration Account”) also in the name of

Hexion Inc., and also maintained at BAML.

                 99.   The Debtors disburse funds directly from the Concentration Account, as

well as through several additional accounts for limited purposes. The Concentration Account

funds vendor payments through ACH and wire transfer, as well as by funding virtual credit card

accounts, issued by Comdata Network Inc., which accounts in turn fund payment of invoiced

amounts from our vendors. The Concentration Account also funds payment of the Debtors’

balances on BAML purchasing cards, or “p-cards,” which are used for ordinary-course business

expenses.




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                 100.   The Debtors also disburse funds from the Concentration Account to a

funding account located at PNC Bank, from which the funds are swept into either of two linked

sub-accounts also at PNC Bank. The first of these accounts funds payment of checks payable to

vendors. The second of these accounts funds direct debits to a limited number of vendors.

                 101.   The Debtors also disburse funds from the Concentration Account to

several disbursement accounts also maintained at BAML that generally make limited

disbursements for specific purposes.      These accounts include the Debtors’ payroll funding

account (the “Payroll Account”).       Funds are manually transferred from the Concentration

Account to the Payroll Account every two weeks, on Wednesday, to fund distributions made on

Friday of the same week. The Debtors’ payroll service provider, Automatic Data Processing,

Inc., then debits the Payroll Accounts and issues checks and direct deposits to the Debtors’

employees.

                 102.   I believe that the cost and expense of changing bank accounts and related

business forms and creating a new Cash Management System could cause confusion, disrupt

payroll, introduce inefficiency when efficiency is most essential, and strain the Debtors’

relationships with critical third parties, each of which could diminish the prospects for a

successful reorganization.

                        ii. Receivables Management

                 103.   In the ordinary course of business prior to the Petition Date, the Debtors

engaged in certain practices designed to accelerate realization on their receivables, and also to

accommodate custom in the Debtors’ industry.

                 104.   First, Debtor Hexion Nimbus Inc. (“Nimbus”), manages the Debtors’ and

Non-Debtor Affiliates’ factoring of accounts receivable (“Factoring”).        Under this system,

participating Debtors and Non-Debtor Affiliates transfer selected receivables to Nimbus.

Nimbus sells those receivables to investors through LiquidX, an electronic receivables financing

platform, for payment thereon at an agreed discount. Nimbus then transfers the proceeds back to

the participating Debtor or Non-Debtor Affiliate. The factoring system ensures prompt payment

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on receivables and transfers counterparty risk to the investors. Neither any Debtor nor any Non-

Debtor Affiliate is obligated to factor a minimum amount (or any) of its receivables under this

system.

                 105.   Second, the Debtors are party to several agreements pursuant to which the

Debtors receive accelerated payment on invoices, from their customers’ banking institutions, in

exchange for slight discounting of the invoiced amounts (“Supplier Financing”). This practice

has the benefit of accelerating realization on receivables and transferring counterparty risk. It is

also a standard request made by customers in the Debtors’ industry to provide those customers

with flexibility in their own cash management.

                 106.   The Factoring and Customer Financing practices are highly important to

the Debtors’ cash management—and in the latter case, also to their customers’ cash

management. If the Debtors were forced to discontinue these practices, it would negatively

impact liquidity, consistency of payment on receivables, and, in the case of Customer Financing,

the Debtors’ customer relations.

                        iii. Intercompany Transactions

                 107.   In the ordinary course of business prior to the Petition Date, the Debtors

have maintained Intercompany Transactions between and among the Debtors and certain of their

Non-Debtor Affiliates in the ordinary course of the Debtors’ businesses. The costs and revenues

associated with the Intercompany Transactions are accounted for among the legal entities

resulting in Intercompany Claims.          The Debtors track all Intercompany Transactions

electronically in their accounting system and can ascertain, trace and account for them as needed.

                 108.   Intercompany Accounts Receivable and Payable. In the ordinary course

of business, the Debtors sell and purchase goods and services from various Debtor and Non-

Debtor Affiliates. The Debtors also make corporate allocations and charges to the various

Debtors and Non-Debtor Affiliates in respect of their proportional shares of collective corporate

expenses including, most notably, insurance costs, procurement costs, headquarters costs, and

royalties for use of intellectual property. As noted above, the Debtors’ factoring program also

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creates short-term intercompany receivables and payables between Nimbus and those Debtors

and Non-Debtor Affiliates selling receivables at any given time.           The Debtors’ records of

Intercompany Transactions reflect the net position of both sales and purchases made between

their affiliates.

                    109.   Intercompany Loans. The Debtors also maintain a documented system of

intercompany loans (the “ Prepetition Intercompany Loans”) between and among the Debtors

and their Non-Debtor Affiliates, details of which are set forth in the motion and the exhibits

thereto. The intercompany loans serve critical long- and short-term corporate needs of the

Debtors and their Non-Debtor Affiliates, including supporting the Debtors’ debt financing,

promoting tax-efficient financing structures, and optimizing ABL utilization, among others.

Maintenance of the Intercompany Loans, including the ability to make certain payments to Non-

Debtor Affiliates in respect of the Intercompany Loans, is essential to avoiding disruptions in

Hexion’s global operations. Hexion Inc. is a substantial net creditor to the relevant foreign Non-

Debtor Affiliates under these arrangements.

                    110.   In addition, in connection with the proposed DIP financing facilities the

Debtors propose to make and receive certain additional intercompany loans (the “DIP

Intercompany Loans”), to the extent necessary to fully implement the proposed financing,

which, as fully set forth in the motion and declaration relating to the proposed DIP financing,

includes borrowings by foreign Non-Debtor Affiliates and will require DIP Intercompany Loans

in order to make some funding available to the Debtors.

                           iv. Guidelines and Bankruptcy Code Requirements

                    111.   It is my understanding that the U.S. Trustee Guidelines require chapter 11

debtors to, among other things, close all existing bank accounts and open new accounts which

must be designated debtor-in-possession bank accounts and obtain, establish and maintain

separate debtor-in-possession accounts.         The Debtors intend to request a waiver of such

requirements.



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                 112.   In addition, I understand that section 345(b) of the Bankruptcy Code

contains certain deposit, investment and reporting requirements. The Debtors believe their

current Cash Management System meets those requirements as all of their bank accounts are

maintained at banks that have been approved by the U.S. Trustee as an authorized bank

depository in accordance with the U.S. Trustee Guidelines.

                 113.   In sum, I believe that the Debtors’ existing cash management and

intercompany accounting and transacting procedures are essential to the orderly operation of the

Debtors’ businesses. Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 b. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to (A) Obtain Postpetition Financing, (B) Use Cash
                    Collateral, (C) Grant Adequate Protection to Prepetition Secured
                    Lenders, (II) Scheduling a Final Hearing, and (III) Granting Related
                    Relief.

                 114.   The Debtors seek entry of interim and final orders authorizing, but not
directing, the Debtors to enter into debtor-in-possession (“DIP”) financing facilities, grant
certain liens, grant certain claims with superpriority administrative expense status, use cash
collateral, and provide “adequate protection” to prepetition secured lenders, all as more fully
described in the motion. The factual support for the motion and the relief requested therein are
set forth in the Declaration of Randall S. Eisenberg in support the motion, filed simultaneously
therewith.
        C.       Motions to Pay Certain Prepetition Obligations and Maintain Certain
                 Business Practices and Programs

                 a. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to (A) Pay Certain Employee Compensation and Benefits, (B)
                    Maintain and Continue Such Benefits and Other Employee-Related
                    Programs, and (C) Pay Prepetition Claims of Contracted Labor and (II)
                    Granting Related Relief (“Employee Wages Motion”)
                 115.   The Debtors seek entry of interim and final orders authorizing, but not

directing, the Debtors to pay or honor certain prepetition claims and obligations, continue


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programs and maintain funding, in the exercise of their discretion, relating to, among other

things: (i) Employee Compensation Obligations, (ii) Payroll Taxes, Garnishments and other

Deductions, (iii) Prepetition Contracted Labor Obligations, (iv) Bonus and Incentive Plans, (v)

Health and Welfare Benefits, (vi) Employee retirement plans, (vii) Workers Compensation

Claims, and (viii) other benefits.
               116. The Debtors estimate that before the final hearing on this motion,

Prepetition Employee Obligations totaling approximately $16.15 million and Prepetition

Contracted Labor Obligations totaling approximately $3.750 million will be due and payable.

                 117.   As described more fully in the Employee Wages Motion, the Prepetition

Employee Obligations arise in connection with, without limitation plans, programs, policies, and

agreements providing for: (a) wages, salaries, holiday pay, paid time off, incentive plans, and

other accrued compensation; (b) reimbursement of business, travel, and other reimbursable

expenses; and (c) benefits in the form of (i) medical and dental coverage, basic term life

insurance, accidental death and dismemberment insurance, short-term disability coverage, long-

term disability coverage, workers’ compensation, and miscellaneous other benefits provided to

the Workforce in the ordinary course of business, and (ii) prepetition contributions to, and

benefits under 401(k) plans and pension plans.

                 118.   As of the Petition Date, the Debtors employed approximately 1,300

Employees primarily based in the United States, of whom 275 were located at the Debtors’

headquarters in Columbus, Ohio. Approximately 800 of the Debtors’ current Employees are

Salaried Employees and approximately 500 are Hourly Employees. As of the Petition Date,

1,293 of the Employees work full-time and seven Employees work part-time. Approximately 35

Senior Employees have the title of VP or above. The Debtors submit that not all of the Senior

Employees are “Insiders” as the term is defined in section 101(a)(31) of the Bankruptcy Code.


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Approximately 93 of the Employees are represented by local branches of the United Steel, Paper

and Forestry, Rubber Manufacturing, Energy, Allied Industrial and Service Workers

International Union: specifically, (a) Local 13-1401 in Diboll, Texas under the Collective

Bargaining Agreement dated as of August 1, 2015 and expiring on July 31, 2020; and (b) Local

13-1 in Deer Park, Texas under the Collective Bargaining Agreement dated as of January 27,

2018 and expiring on September 30, 2021. Each of these local branches is party with the

Debtors to that certain Collective Bargaining Agreement (each, a “CBA” and collectively, the

“CBAs”). The remaining approximately 1,207 Employees are not represented by any union.

                    119.     The Debtors also utilize the services of contract workers (the “Contracted

Labor” and, together with the Employees, the “Workforce”)9 from time to time to provide a

variety of services. The Debtors engage Contracted Labor in three different capacities: (i)

“temporary contract labor” (through which temporary contract workers are generally provided by

various staffing agencies and from which approximately 25 temporary contract workers are

currently engaged as of the Petition Date); (ii) outsourced services (which includes, among

others, contract workers to provide helpdesk and IT services and other logistical labor) for which

approximately 280 contract workers have been provided as of the Petition Date; and

(iii) independent contractors providing interim or specialty services (generally, temporary

contract services provided by specialists for certain specific transactions or projects on an as-

needed basis, which includes contract review services) for which approximately 55 contract

workers have been provided, as of the Petition Date.                      As of the Petition Date, there are

approximately 360 Contracted Labor employees currently engaged with the Debtors. Contracted




9
    All references to Contracted Labor herein are limited to U.S.-based contracted labor engaged with Hexion Inc.

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Labor fills immediate business needs of the Debtors and allow the Debtors to have a flexible

workforce to meet their operational needs in a cost-effective manner.

                        i. Wage and Salary Obligations
                 120.   The Employees are paid bi-weekly on Fridays, with an aggregate average

payroll each pay period of approximately $5,400,000. Generally, Salaried Employees are paid

current through the payroll date, and Hourly Employees are paid through either the Saturday or

Sunday before the payroll date.

                 121.   The Debtors estimate that, as of the Petition Date, the Prepetition

Employee Obligations and the Prepetition Contracted Labor Obligations, including accrued but

unpaid wages and other compensation, including the Deductions and Garnishments, total

approximately $19,900,000 (comprised of $3,900,000 owed to Employees, $3,750,000 owed to

Contracted Labor, $1,500,000 owed on behalf of statutory deductions, $28,000 attributable to

Garnishments, $2,270,000 attributable to Deductions, specifically Payroll Taxes and $9,938,000

attributable to prepetition Employee benefits), all of which will become due and owing before

the final hearing on this motion.

                        ii. Bonuses and Incentive Programs

                 122.   Historically, the Debtors have offered several bonus and incentive plans to

their eligible Employees, including the ICP, the 2019 Deer Park LIP, the 2019 Geismar/Luling

LIP, the KAR, the 2016 LTI, the 2019 LTI, the Recognition Program, the Service Award

Program and the Project Bonus and Incentive Awards (each as defined below and, collectively,

the “Bonus and Incentive Plans”).

                 123.   The Debtors offer an annual incentive compensation opportunity to certain

of their Employees to incentivize those Employees to perform at a high level throughout the

applicable calendar year and to profitably grow the Debtors’ business (the “ICP”). Awards


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under the ICP are tied to the Debtors’ annual performance, which is measured by annual metrics

from the Debtors’ audited financials, such as Segment EBITDA, environmental health and

safety, and cash flow generated by business operations. The ICP payout to be made to eligible

Employees in accordance with the plan is, on average, approximately $27,250. Approximately

735 Employees, including Insiders, are eligible for payouts as of the Debtors’ next annual payout

date in April 2020. The Debtors’ annual target bonuses under the ICP are expected to be

approximately $20,000,000 in 2020, in the aggregate, to Employees in the United States in

connection with the ICP. From time to time after payout, there are corrections to a small number

of payments to associates. In connection with the 2018 ICP payment, the Debtors estimate that,

as of the Petition Date, they owe associates approximately $150,000 in accrued but unpaid

amounts related to such corrections, all of which will become due and owing before the final

hearing on the Employee Wages Motion (the “2018 ICP Corrections”). For the avoidance of

doubt, none of the recipients of the approximately $150,000 in 2018 ICP Corrections pursuant to

the authority requested under the proposed Interim Order are Senior Employees. The Debtors

are seeking authority to make all ICP payments (other than the approximately $150,000 of 2018

ICP Corrections which will become due and owing before the final hearing on this motion)

pursuant to the proposed Final Order and not the proposed Interim Order.

                 124.   The Debtors offer an annual incentive compensation opportunity to certain

Employees at the Debtors’ Deer Park, Texas facility (the “2019 Deer Park LIP”). Awards

under the 2019 Deer Park LIP are based on the site achieving annual target goals of certain site

productivity, environmental and safety metrics. Approximately 80 Employees are eligible for

awards under the 2019 Deer Park LIP. The aggregate target amount expected to be paid under

the 2019 Deer Park LIP is approximately $395,000. For the avoidance of doubt, none of the



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recipients of payments to be made under the 2019 Deer Park LIP pursuant to the authority

requested under the proposed Final Order are Insiders.        Authority is sought to make any

payments earned under the 2019 Deer Park LIP pursuant to the proposed Final Order and not the

proposed Interim Order.

                 125.   The Debtors offer an annual incentive compensation opportunity to certain

Employees at the Debtors’ Geismar, Louisiana and Luling, Louisiana locations (the “2019

Geismar/Luling LIP”). Awards under the 2019 Geismar/Luling LIP are based on the sites

achieving annual target goals of certain site productivity, environmental and safety metrics.

Approximately 40 Employees are eligible for awards under the 2019 Geismar/Luling LIP. The

aggregate target amount expected to be paid under the 2019 Geismar/Luling LIP is

approximately $220,000. For the avoidance of doubt, none of the recipients of payments to be

made under the 2019 Geismar/Luling LIP pursuant to the authority requested under the proposed

Final Order are Insiders. Authority is sought to make any payments earned under the 2019

Geismar/Luling LIP pursuant to the proposed Final Order and not the proposed Interim Order.

                 126.   The Debtors provide a long-term incentive compensation opportunity to

approximately 95 of their non-Insider Employees to incentivize performance under the Key

Associate Reward program (the “KAR”). Awards under the KAR program are based fifty

percent (50%) on the associate’s continuing service with the Debtors and fifty percent (50%) on

the Debtors’ financial performance, measured based on Segment EBITDA, cash flow and

environmental health and safety targets. The currently outstanding awards range from two to

eleven percent (2%-11%) of the associate’s annual salary. Payouts under the KAR program are

due to be paid in July 2019, and the aggregate amount expected to be paid under the KAR

program at that time to non-Insider Employees in the United States is approximately $830,000.



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Authority is sought to make payments under the KAR program pursuant to the proposed Final

Order and not the proposed Interim Order.

                 127.   The Debtors offer a long-term incentive opportunity to approximately 55

of their Employees, with the aim of driving long-term business success (the “2016 LTI”).

Awards under the 2016 LTI program, which has been in place since 2016, are based both on the

Employee’s continuing service with the Debtors and the Debtors’ financial performance,

measured by achieving a target trailing twelve month Segment EBITDA and then maintaining

the target Segment EBITDA for one additional quarter, measured by reference to the Debtors’

financial statements. The currently outstanding 2016 LTI awards range from approximately

forty percent to three hundred percent (40%-300%) of the eligible Employee’s annual salary.

The aggregate amount that could be paid under the 2016 LTI program to all eligible Employees

totals approximately $15 million. Two 2016 LTI recipients are eligible to receive a payout in

July 2019, one Insider and one non-Insider. For the avoidance of doubt, no authority is sought to

pay the Insider eligible to receive a payout under the 2016 LTI until consummation of a

restructuring transaction. The Debtors are seeking authority to pay the non-Insider Employee his

2016 LTI payment due to be paid in July 2019 pursuant to the proposed Final Order. The

remainder of the 2016 LTI recipients are eligible to receive payouts in July 2020 or as earned

under the performance-based portion of the award (currently estimated to be paid out no sooner

than April 2020) and the Debtors are seeking authority to make such payments to non-Insider

Employees pursuant to the proposed Final Order.

                 128.   The Debtors offer a long-term incentive opportunity to approximately 200

of their Employees, focused on incentivizing participants to drive business success during a

challenging period (the “2019 LTI”). Awards under the 2019 LTI program are based on the



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Debtors’ financial and operating performance as measured by 2019 goals for Segment EBITDA,

cash flow and environmental health and safety metrics. Outstanding awards under the 2019 LTI

program range from fifteen to two hundred percent (15%-200%) of the eligible Employee’s

annual salary. Payouts under the 2019 LTI program are due to be paid in the third quarter of

2021 and the aggregate amount that could be earned under the 2019 LTI program by both Insider

and non-Insider Employees is approximately $9 million. The Debtors are seeking authority to

pay any amounts owed under the 2019 LTI pursuant to the proposed Final Order and not the

proposed Interim Order.

                 129.   The Debtors pay recognition awards to certain Non-Union Employees for

contributions to business success that are above and beyond the Employee’s normal job

responsibilities, or based on the completion of certain associate developmental programs (the

“Recognition Program”). Awards may be delivered in cash or a cash equivalent (i.e., gift card).

Generally, award amounts do not exceed $3,000. The Debtors estimate that, as of the Petition

Date, the total accrued but unpaid obligations in connection with the Recognition Program are

approximately $25,000, all of which will become due and owing before the final hearing on this

motion. For the avoidance of doubt, none of the Recognition Program recipients to be paid

pursuant to the authority requested under the proposed Interim Order are Senior Employees.

                 130.   The Debtors grant service awards to certain Non-Union Employees based

on attainment of certain levels of tenure of employment with the organization (the “Service

Award Program”). Awards are delivered in the form of specific gifts in varying amounts based

on tenure with the Debtors. The Debtors estimate that, as of the Petition Date, the total accrued

but unpaid obligations in connection with the Service Award Program are approximately $5,000,

all of which will become due and owing before the final hearing on this motion. For the



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avoidance of doubt, none of the Service Award Program recipients to be paid pursuant to the

authority requested under the proposed Interim Order are Senior Employees.

                 131.   The Debtors offer project bonus and incentive awards to eligible

Employees upon completion of a project or upon certain other criteria of achievement as

determined by the Debtor in the ordinary course of business (the “Project Bonus and Incentive

Awards”). The aggregate amount of Project Bonus and Incentive Awards expected to be paid to

approximately 30 eligible Employees in 2019 is approximately $410,000. For the avoidance of

doubt, none of the Project Bonus and Incentive Awards recipients to be paid pursuant to the

authority requested under the proposed Final Order are Insiders. No authority is sought to make

any payments under Project Bonus and Incentive Awards pursuant to the authority requested

under the proposed Interim Order.

                        iii. Leave Policies
                 132.   The Debtors offer their Employees other forms of compensation, including

vacation days, holidays, civic duties leave and bereavement days. The specifics of the Debtors’

Leave Policies vary based upon whether the Employee is a Salaried Employee, Non-Union

Employee, or a Union Employee. I believe these programs are typical and customary, and

continuing to offer them is necessary for the Debtors to retain Employees during the

reorganization process.

                        iv. Severance
                 133.   The Debtors do not adhere to a formal policy on extending severance

payments to Non-Union Employees upon termination of employment; however, the Debtors

have a history of entering into severance agreements with certain Non-Union Employees.

Generally, severance agreements conform to certain guidelines based on the individual Non-

Union Employee’s continuing service with the Debtors. Certain eligible Union Employees who



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have a minimum of one year of continuous full-time employment immediately prior to the date

of termination are eligible for a severance payment upon termination. As of the Petition Date,

the Debtors owe severance obligations to ten (10) former Employees in the total amount of

approximately $600,000, approximately $130,000 of which will become due and owing before

the final hearing on this motion. For the avoidance of doubt, none of the Employees to be paid

severance payments pursuant to the authority requested under the proposed Interim Order are

Senior Employees.       The Debtors believe it is important that they honor their severance

commitments. In doing so, the Debtors will show their current Employees that they fulfill the

promises they make to their Employees, on which the Employees have relied in contributing

their time and hard work to the Debtors’ enterprise. The Debtors feel such assurances are

invaluable not only to maintain and boost the morale of their current workforce, but also to

attract and retain new Employees.

                        v. Expense Reimbursements
                 134.   The Debtors, in the ordinary course of business, reimburse Employees and

candidates for open positions for a variety of ordinary, necessary and reasonable business-related

expenses that the Employees and candidates incur on behalf of the Debtors in the scope of their

candidacy and/or employment (the “Reimbursable Expenses”). Reimbursable Expenses may

include expenses for business travel (including lodging, automobile rentals, meals, and internet

charges), business-related transportation and mileage costs and other general business-related

expenses. Employees and candidates are expected to use sound judgment and good business

sense when incurring such expenses. As of the Petition Date, there is outstanding and payable

approximately $2,200,000 of Reimbursable Expenses.

                 135.   In certain instances, Employees may be issued corporate credit cards to

pay for Reimbursable Expenses. Such Employees are issued a company credit card through


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American Express to be utilized for travel and other business-related expenses. The Debtors

reconcile the expenses charged on each Employee’s issued credit card through the reporting

software Concur and make payments directly to American Express on behalf of the Employees.

As of the Petition Date, approximately 700 Employees have a company credit card, and the

average aggregate monthly reimbursable amount incurred on the company credit cards is

approximately $1,500,000.

                 136.   In certain instances, the Debtors provide company cars to certain

Employees. The company cars are provided by Merchants Automotive Group. Expenses related

to an Employee’s personal use of the company car are withheld via a standard bi-weekly

deduction from the Employee’s paycheck, with an annual accounting re-allocation true-up to

match any prior estimates with amounts actually withheld.            As of the Petition Date,

approximately 65 Employees have a company car. In addition, the Debtors reimburse certain

Employees for certain uses of the Employee’s personal vehicle in connection with the Debtors’

business, in accordance with IRS guidelines on business expense reimbursements. The average

monthly reimbursable amount incurred in connection with the use of personal vehicles for

business is approximately $600 for twenty (20) associates, paid to Motus, the third-party

administrator. The total accrued and unpaid obligation currently owed for these reimbursements

is approximately $15,000, substantially all of which will become due and owing before the final

hearing on this motion.

                        vi. Health and Welfare Benefits
                 137.   The Debtors offer their eligible Employees a large portfolio of benefits,

including medical and prescription drug coverage, dental coverage, vision coverage, health

savings accounts, COBRA coverage, flexible spending accounts, life insurance, disability

insurance and other benefit programs provided to Employees in the ordinary course of business


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(collectively, the “Health and Welfare Benefits”). All Employees who work more than twenty

hours per week are eligible to receive Health and Welfare Benefits.

                 138.   As further provided in the Employee Wages Motion, certain of the Health

and Welfare Benefits remained unpaid or unprovided as of the Petition Date because certain

obligations of the Debtors under the applicable plan, program, or policy accrued either in whole

or in part prior to the commencement of the chapter 11 cases, but will not be required to be paid

or provided in the ordinary course of the Debtors’ business until a later date. The Debtors

request authority to pay or provide as they become due all prepetition Health and Welfare

Benefits that have already accrued. The Debtors estimate that the aggregate accrued amount of

such prepetition Health and Welfare Benefits described in the Employee Wages Motion is

approximately $1,600,000.

                        vii. Other Benefit Programs
                 139.   The Debtors offer several other customary benefits to their eligible

Employees, which are funded by Employee contributions. These benefits include, but are not

limited to (i) group accident insurance coverage; critical illness insurance; home, auto and pet

insurance and a hospital indemnity plan, each administered by Metlife, and (ii) legal services

coverage and identity theft protection, each administered by Hyatt Legal (collectively, the

“Other Benefit Programs”).

                        viii. Retirement Plans
                 140.   The Debtors maintain the Hexion Inc. Retirement Savings Plan, a

qualified defined contribution plan (the “Qualified DC Plan”), a retirement savings plan for

eligible Employees pursuant to section 401 of the Internal Revenue Code. Approximately 1,250

Employees currently participate in the Qualified DC Plan, and 401(k) bi-weekly contributions

total approximately $850,000, which includes approximately $600,000 of withholdings from



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participating Employees’ paychecks and approximately $250,000 of 401(k) Matching

Contributions. The Qualified DC Plan is administered by Fidelity. As of the Petition Date, the

Debtors estimate that the aggregate amount of accrued but unpaid obligations on account of the

Qualified DC Plan is $9,150,000.

                 141.   The Debtors maintain a Supplemental Executive Retirement Plan (the

“SERP”), a nonqualified, unfunded deferred compensation plan for certain eligible Employees.

The Debtors make annual credits of 5% of eligible earnings above the maximum limitations set

by the IRS for contributions to a qualified defined contribution plan. The current total accrued

but unpaid obligations related to the SERP is approximately $1,100,000.

                 142.   The Debtors maintain the Hexion Inc. Pension Plan, a tax qualified

defined benefit pension plan (the “Pension Plan”) for certain eligible Employees. Benefit

accruals under the Pension Plan have been frozen and no Employees are continuing to accrue

any benefits. As of the Petition Date, approximately 7,450 Employees have benefits accrued

under the Pension Plan, of whom 545 are active Employees, 1,275 are former Employees with

rights to deferred benefits and 5,630 are retired Employees receiving benefits. For the plan year

2019, the Debtors have not made any contributions to the Pension Plan and no contributions are

expected to be made under the Pension Plan until 2020.

                 143.   The Debtors maintain the Executives’ Supplemental Pension Plan

(“ESPP”), a non-qualified retirement plan that provides “make up” benefits for Employees who

were unable to fully participate in a legacy qualified defined contribution plan or the Borden

Chemical, Inc. Employee Retirement Income Plan, which was merged into the Pension Plan in

2009, because of limitations imposed by the IRS. The ESPP was frozen as to future benefit

accruals effective as of December 31, 2008; accordingly, no Employees are continuing to accrue



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any benefits under the ESPP and no Employees can defer compensation under the ESPP.

However, the ESPP was amended in October of 2010 to allow Debtors to make discretionary

contributions on behalf of participants, at such times and in such amounts as the Debtors may

determine to make up for any negative adjustments that may be required to be made to a

participant’s account under the Pension Plan in order to comply with the applicable requirements

of the Internal Revenue Code. As of the Petition Date, approximately 40 current and former

Employees have lump sum benefits accrued under the ESPP. Additionally, approximately 40

beneficiaries are in pay of the ESPP and receive monthly benefits totaling approximately

$50,000. For the plan year 2019, the Debtors do not have scheduled, and do not plan to make,

any discretionary contributions to the ESPP. The total accrued but unpaid obligations, based on

actuarial calculations, related to the ESPP are approximately $3,750,000.

                 144.   The Debtors maintain the Benefit Restoration Plan (“BRP”), which

provides supplemental deferred compensation benefits to Employees which would have been

available under the Pension Plan but for the limitations imposed by the Internal Revenue Code.

The BRP is a non-qualified defined benefit plan that generally provides for payments to

participants in the same form as participants may receive under the Pension Plan. As of the

Petition Date, approximately 4 Employees have benefits accrued under the BRP, of whom 3 are

active Employees and 1 is a retired Employee receiving benefits. For the plan year 2019, the

Debtors have not made any contributions to the BRP. The total accrued but unpaid obligations

related to the BRP are approximately $160,000.

                        ix. Other Retirement Benefit Obligations
                 145.   Legacy Retiree Life Insurance. The Debtors provide legacy life insurance

benefits to certain retired Employees. The average benefit across the 1,401 Hexion Inc. retirees

is approximately $4,000 and the total aggregate benefit is approximately $5,100,000. A fixed


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payment of approximately $300,000 is scheduled to be made on each of April 14, 2019, June 26,

2019 and September 17, 2019. The quarterly payment amounts change each year and the total

aggregate payments to MetLife over the buyout term is approximately $5,000,000. The

outstanding balance as of March 31, 2018 is approximately $4,400,000. As of the Petition Date,

the Debtors are current on their payments to MetLife for these legacy life insurance policies,

with no arrearage.

                 146.   Legacy Retiree Medical Plan. The Debtors offer legacy retiree medical

insurance benefits to certain retired Employees through the American Association of Retired

Persons (“AARP”). These plans are provided by and administered by AARP, with the Debtors

paying AARP approximately $5,000 per month in premiums and administrative service fees. As

of the Petition Date, the Debtors are current on their payments to AARP for these medical plans,

with no arrearage.

                 147.   Other Contingent Claims.      Over their long history as an operating

business, the Debtors have historically made available certain retirement benefits to Employees.

Due in part to multiple corporate reorganizations and in part to the large base of Employees and

applicable benefits, along with the practical challenges with accounting for all such Employees

and benefits, Debtors, in some circumstances, are presented with legitimate benefit claims from

retired Employees for which the Debtors have not accounted for (“Contingent Claims”). Over

the past 12 months, the Debtors have paid out approximately $10,000 in Contingent Claims, and

the Debtors seek authority to honor Contingent Claims as they are presented in the ordinary

course of business postpetition.

                 148.   Workers’ Compensation. The Debtors maintain workers’ compensation

insurance that provides coverage for employee-related injuries, disability, or death, as prescribed



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by state and federal workers’ compensation laws and other statutes. In connection with these

requirements, the Debtors maintain both self-insured workers’ compensation programs (the

“Self-Insured Programs”) and workers’ compensation insurance policies (collectively, the

“Workers’ Compensation Policies”), depending upon the state in which the covered Employees

work. As described in further detail below, the Debtors’ third party administrator, Zurich

American Insurance Company (“Zurich”), manages all workers’ compensation claims asserted

by the Debtors’ Employees. Under the deductible for the Workers’ Compensation Policies, the

Debtors paid approximately $1,200,000 in fiscal year 2018 on account of covered claims

(collectively, the “Workers’ Compensation Claims”). As of the Petition Date, there are 28

current Workers’ Compensation Claims open against the Debtors. The Debtors estimate that, as

of the Petition Date, the total accrued but unpaid obligations in connection with the Workers’

Compensation Claims are approximately $3,400,000, all of which will become due and owing

before the final hearing on this motion.

                         x. Other Benefits
                 149.    The Debtors also maintain several other benefits including the Home

Office    Program,      the   Adoption   Assistance   Program,   Relocation   Benefit,   Education

Reimbursement Program, Associate Referral Program, contributions to United Way, and Union

dues withholdings, each as more fully described in the Employee Wages Motion.

                 150.    The Debtors expend approximately $3,000 per month, in the aggregate on

account of the Home Office Program. The Debtors estimate that, as of the Petition Date, the

total accrued but unpaid obligations in connection with the Home Office Program are

approximately $6,000, all of which will become due and owing before the final hearing on this

motion. The Debtors estimate that, as of the Petition Date, there are no accrued but unpaid

obligations in connection with the Adoption Assistance Program. The Debtors estimate that, as


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of the Petition Date, there are no accrued but unpaid obligations in connection with the Renter

Assistance Program. The Debtors estimate that, as of the Petition Date, the total accrued but

unpaid obligations in connection with the Homeowner Buyout/Marketing Assistance Program

are approximately $275,000, substantially all of which will become due and owing before the

final hearing on this motion. The Debtors estimate that, as of the Petition Date, the total accrued

but unpaid obligations in connection with the Education Reimbursement Program are

approximately $25,000, all of which will become due and owing before the final hearing on this

motion.     The Debtors estimate that, as of the Petition Date, the total accrued but unpaid

obligations in connection with the Associate Referral Program are approximately $4,000, all of

which will become due and owing before the final hearing on this motion. The Debtors estimate

that, as of the Petition Date, the total accrued but unpaid obligations in connection with

contributions to United Way are approximately $40,000, all of which will become due and owing

before the final hearing on this motion. The Debtors estimate that, as of the Petition Date, the

total accrued but unpaid obligations in connection with Union dues withholdings are

approximately $65,000, all of which will become due and owing before the final hearing on this

motion. The Debtors support the United Way and allow for Employees to make contributions

via payroll deductions to the organization. The monthly amount is approximately $7,000. The

Debtors estimate that, as of the Petition Date, they owe United Way approximately $40,000 in

accrued but unpaid fees related to such services, all of which will become due and owing before

the final hearing on this motion. As part of the CBAs, union dues are withheld from participating

Employees’ paychecks. The monthly amount is approximately $5,500. The Debtors estimate

that, as of the Petition Date, they owe approximately $65,000 in accrued but unpaid union dues,

all of which will become due and owing before the final hearing on this motion.



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                 151.   In addition to relocation expenses, expatriate Employees are offered tax

services through Deloitte. The Debtors spend approximately $50,000 per month in aggregate on

account of these services. The Debtors estimate that, as of the Petition Date, the total accrued but

unpaid obligations in connection with these tax services are approximately $100,000,

substantially all of which will become due and owing before the final hearing on this motion.

                 152.   Board of Managers Compensation. Debtor Hexion Holdings LLC is the

ultimate parent entity of all of the Debtors. Its board of managers includes six (6) managers who

are each compensated approximately $75,000 annually, paid in quarterly installments, in addition

to up to $2,000 in expense reimbursements, paid in arrears, for each meeting attended in the

performance of their duties as managers (the “Manager Compensation”). As of the Petition

Date, there are no accrued but unpaid obligations outstanding with respect to Manager

Compensation. The Debtors request the authority, solely pursuant to the proposed Final Order,

to pay Manager Compensation as it comes due in the ordinary course of business.

                 153.   Failure to satisfy certain prepetition obligations will likely lead to

significant attrition and jeopardize Workforce morale and loyalty at a time when the support of

the Workforce is critical to the Debtors’ businesses. The majority of the Debtors’ Workforce

rely exclusively on their compensation, benefits and reimbursement of expenses to satisfy their

daily living expenses. These members of the Workforce will be exposed to significant financial

difficulties and other distractions if the Debtors are not permitted to honor their obligations for

unpaid compensation, benefits and reimbursable expenses. Authorizing the Debtors to pay

prepetition wages, employee benefits, and similar items will benefit the Debtors’ estates and

their creditors by allowing the Debtors’ business operations to continue without interruption.

Without the relief requested in the Employee Wages Motion, the Debtors’ Workforce may seek

alternative opportunities, which would cause the Debtors to incur additional expenses to find

appropriate and experienced replacements. The Debtors’ very ability to run their businesses

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safely and productively depends entirely on the expertise and continued motivation and service

of their Workforce. Due to the disruption and uncertainty that typically accompanies a chapter

11 filing, the Debtors believe that the continuity and competence of their Workforce would be

jeopardized if the relief requested herein is not granted.

                 154.     Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 b. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to Pay Certain Prepetition Taxes and Fees and (II) Granting
                    Related Relief
                 155.     The Debtors seek entry of interim and final orders (i) authorizing, but not

directing, the Debtors to pay prepetition amounts owing in respect of all taxes, including, but not

limited to sales, use, property, income, franchise (the “Prepetition Taxes”) to various federal,

state and local authority (collectively, the “Taxing Authorities”), and prepetition amounts

owing in respect to certain custom duties, licensing, permitting and regulatory fees (the “Fees” or

“Regulatory Fees” and together with the Prepetition Taxes, the “Prepetition Taxes and Fees”)

to certain federal state and local government agencies (collectively the “Regulatory

Authorities” and together with the Taxing Authorities, the “Authorities”), and (ii) granting

certain related relief.

                 156.     As corporate entities, the Debtors incur various tax liabilities and fees and

in the past have generally paid such tax liabilities and fees to the relevant Authorities when due

in the ordinary course of business. The Debtors are subject to Sales and Use Taxes, Real and

Personal Property Taxes, Income and Franchise Taxes, Customs Duties, and License, Reporting,

and Regulatory Taxes and Fees.            Although, as of the Petition Date, the Debtors were

substantially current in the payment of assessed and undisputed Prepetition Taxes and Fees,

certain Prepetition Taxes and Fees may not yet have become due. Certain Prepetition Taxes and

Fees will not be due until the applicable monthly, quarterly, or annual payment dates – in some


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cases immediately and in others not until next year. I have been informed that, as of the Petition

Date, the Debtors estimate that they have accrued liabilities, which are not yet due, in the

approximate amount of $2,600,000 on account of Prepetition Taxes and Fees.

                 157.   Payment of the Prepetition Taxes and Fees is critical to the Debtors’

continued, uninterrupted operations. The Debtors’ failure to pay these obligations may cause the

Authorities to take precipitous action, including, but not limited to, seeking to lift the automatic

stay, and imposing personal liability on the Debtors’ officers and directors, which would disrupt

the Debtors’ day-to-day operations and could potentially impose significant costs on the Debtors’

estates. Failure to pay the Prepetition Taxes and Fees could also have a negative impact on the

Debtors’ existing permits and licenses.       In addition, the Debtors believe that most of the

prepetition Taxes are entitled to priority, and thus permitting the Debtors to pay prepetition

Taxes would affect only the timing of the payments, and not the amount of the ultimate recovery.

                 158.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 c. Debtors’ Motion for Entry of Interim and Final Orders (I) Prohibiting
                    Utilities from Altering, Refusing, or Discontinuing Service; (II)
                    Approving the Debtors’ Proposed Form of Adequate Assurance of
                    Payment to Utilities; and (III) Establishing Procedures for Resolving
                    Objections to the Debtors’ Proposed Form of Adequate Assurance
                 159.   The Debtors seek entry of interim and final orders (i) prohibiting utilities,

as that term is used in section 366 of the Bankruptcy Code (“Utility Companies”), from altering,

refusing, or discontinuing services to, or discriminating against, the Debtors solely on the basis

of the commencement of the Debtors’ chapter 11 cases, a debt owed by the Debtors for services

rendered before the Petition Date, or any perceived inadequacy of the Debtors’ proposed

adequate assurance of payment to Utility Companies for postpetition services; (ii) approving the

Debtors’ proposed adequate assurance of payment to Utility Companies for postpetition services;

and (iii) approving procedures for resolving objections to the Debtors’ proposed adequate


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assurance of payment to Utility Companies for postpetition services (the “Adequate Assurance

Procedures”).

                 160.   The Debtors obtain electricity, gas, water, sewer, waste, telephone and

internet services, and other similar services (collectively, the “Utility Services”) from Utility

Companies to operate their business. A select number of accounts, including electric, gas, water,

and waste/sewer, are managed through Cass Information Systems, Inc. (the “Third Party

Payor”). The Third Party Payor manages approximately 80 percent of the Debtors’ Utility

Services. For all accounts managed by the Third Party Payor, the Utility Companies send

invoices to the Third Party Payor, which then notifies the Debtors of the amounts due. The

Debtors then transfer the invoiced amounts to the Third Party Payor, typically three days prior to

the applicable due date, and the Third Party Payor makes payment to the Utility Company.

Generally, payments for Utility Services are made in arrears after receiving a period bill from the

applicable Utility Company. Over the past 12 months, the Debtors have paid an average of

approximately $2,500,000 per month for Utility Services.

                 161.   The Debtors intend to pay postpetition obligations owed to the Utilities in

the ordinary course of business. The Debtors expect that cash flows from operations and the use

of the Debtors’ proposed DIP Financing will be sufficient to pay postpetition obligations related

to their utility services in the ordinary course of business. Nevertheless, I have reviewed the

Proposed Adequate Assurance Procedures and I believe that the procedures provide Utility

Companies with adequate assurance of payment, and I do not believe that other or further

assurances of payment to Utility Companies for postpetition Utilities Services are necessary.

However, I understand that the Debtors have also proposed procedures to resolve requests for

additional or alternative assurance of payment in an orderly and fair manner.

                 162.   Preserving Utility Services on an uninterrupted basis is essential to the

Debtors’ ongoing operations and to the success of these cases. Indeed, any interruption in Utility

Services, even for a brief period, would disrupt the Debtors’ ability to continue operations.

Given the Debtors’ need to receive uninterrupted Utility Services, the relief requested fairly

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balances Utility Companies’ rights and the Debtors’ rights under the Bankruptcy Code. I do not

believe that Utility Companies will be prejudiced by either the proposed adequate assurance or

the requirement to provide the Debtors with uninterrupted service.

                 163.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 d. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to (A) Maintain and Renew Their Prepetition Insurance
                    Programs and Pay All Obligations in Respect Thereof and (B) Maintain
                    Their Premium Financing Program and Pay All Obligations in Respect
                    Thereof and (II) Granting Related Relief
                 164.   The Debtors seek entry of interim and final orders authorizing the Debtors,

in their discretion, to (i) maintain, supplement, amend, extend, renew, or replace their existing

insurance policies, letters of credit, and surety bonds (collectively, the “Insurance Programs”),

(ii) maintain their existing program (the “Premium Financing Program”) of financing annual

premiums under certain insurance policies and enter into new premium financing arrangements,

and (iii) pay any obligations in respect of the foregoing, including amounts arising under the

Insurance Programs, Premium Financing Programs, deductibles, assessments, self-insured

retention amounts in connection with Self-Insured Claims, true-up amounts, broker fees,

actuarial fees, administrative fees, bond fees and other fees and costs relating thereto (the

“Insurance Obligations”), whether arising before or after the Petition Date.

                 165.   The Debtors currently maintain approximately forty-eight (48) insurance

policies, which protect against operational risk inherent in the Debtors’ business and provide

coverage in compliance with various state and local laws. Hexion Holdings LLC or Hexion Inc.

is the first named insured on each current Insurance Policy, with each of the other Debtors

named as an additional insured where appropriate and applicable.              Hexion Inc. pays the

Insurance Obligations on behalf of all the Debtors.


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                 166.   The Insurance Policies help to protect the Debtors against, among other

things, property loss, environmental liability, umbrella and excess liability, automobile liability,

aviation products and non-owned aircraft liability, acts of terrorism, marine cargo and marine

liability, aboveground storage tank damage, workers compensation, cyber and technology

attacks, and foreign liability.   In addition, the Debtors maintain several Insurance Policies

protecting against directors’ and officers’ liability and other management liability, including

among other things, crime, employment practices liability, and fiduciary liability.

                 167.   Letters of Credit. The Debtors have outstanding fifteen (16) letters of

credit (the “Letters of Credit”), totaling approximately $18,235,000, fourteen (14) of which

secure their obligations under various workers’ compensation insurance policies or to applicable

workers’ compensation funds in certain states, while the final two Letters of Credit support the

Debtors’ U.S. Customs bond.

                 168.   The Surety Bond Program. From time to time, the Debtors post surety

bonds (the “Surety Bonds” and together with the Insurance Policies and the Letters of Credit,

the “Insurance Programs”) as collateral to secure certain obligations, including (a) workers’

compensation obligations, (b) obligations to U.S. Customs Service and other federal agencies,

and (c) one utility payment. The Surety Bonds are continuous and remain in full force and effect

until cancelled. As of the Petition Date, the Debtors have outstanding twenty-three (23) Surety

Bonds totaling approximately $11,715,000, the premiums for which were paid in full prepetition.

                 169.   Premium Financing Obligations. On average, the annual premiums due

under the Insurance Policies total approximately $9,900,000, including $2,100,000 of premiums

paid by the Debtors for insurance policies covering foreign operations. The Debtors believe that,

in some instances, it is economically beneficial to finance the premiums rather than pay them in

a lump-sum. Accordingly, the Debtors have financed substantially all of their insurance policies


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under six (6) premium financing agreements                       (collectively, the “Premium Financing

Program”) with First Insurance Funding (“First”).                    The Debtors have paid approximately

$7,900,000 under the Premium Financing Program since July 2018 and the Debtors’ remaining

obligations under the Premium Financing Program are approximately $1,800,000. A portion of

the payments are made by the Debtors, but some of these payments include those by non-

Debtors, which the Debtor recoups through intercompany transfers.10 The Debtors expect to

renew the Premium Financing Program in July, October and November 2019.

                    170.    Third Party Administrators. The Debtors’ third-party administrators—

ESIS, Liberty Mutual and Gallagher Bassett—administer workers’ compensation, auto liability

and general liability claims under the relevant Insurance Programs. They pay claims on behalf of

the Debtors and then invoice the Debtors either weekly or monthly for reimbursement. The

Debtors’ services agreement with ESIS expires on June 30, 2019. Under the terms of this

agreement, the Debtors pay an annual fee of $6,585 per year, which was paid in full prepetition.

The Debtors estimate that they spend, on average, approximately $43,000 per month for payment

amounts by third-party administrators.

                    171.    The nature of the Debtors’ business makes it essential for the Debtors to

maintain the Insurance Programs, including the Premium Financing Program, on an ongoing and

uninterrupted basis. The nonpayment of any Insurance Obligations could result in insurance

carriers terminating or declining to renew the Debtors’ insurance policies, or refusing to enter

into new insurance agreements with the Debtors in the future. As a result, the Debtors may be

unable to find a carrier willing to provide them similar insurance coverage or a company willing

to finance insurance premiums without charging significantly higher premiums and fees. I



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     The amount that the Debtors recoup through intercompany transfer is estimated to be no more than $500,000.

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believe that any lapse in insurance coverage would leave the Debtors exposed to substantial

liability, and it is therefore essential that the Debtors maintain their Insurance Programs and

honor their Insurance Obligations throughout these cases.

                 172.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 e. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to Pay Prepetition Claims of Critical Vendors and (II)
                    Granting Related Relief
                 173.   The Debtors seek entry of interim and final orders, (i) authorizing the

Debtors, in their discretion, to pay prepetition obligations of certain vendors, suppliers, service

providers, and similar entities that provide goods or services critical to the ongoing operation of

the Debtors’ business (the “Critical Vendors”) in the ordinary course, and (ii) granting certain

related relief. On an interim basis, the Debtors request to pay Critical Vendor Claims in the

ordinary course of business in an aggregate amount not to exceed $27.1 million.

                 174.   As detailed above, the Debtors operate a complex, highly competitive,

international business in the resins, wood adhesives, and epoxy industries. The successful

operation of these businesses requires the Debtors to rely on certain critical trade vendors

without which the Debtors would be unable to maintain an uninterrupted supply of quality

products and services to their customers.

                 175.    As of March 8, 2019, the last date for which the Debtors have certain

accounts payable data due to a recent network security incident that prevented access to certain

systems and data within their network, the Debtors estimated that the Critical Vendor Claims

totaled approximately $23.3 million. As a result of the network security incident and data and

systems limitations that resulted therefrom, the Debtors and their advisors conducted a pro forma

analysis to better estimate the Critical Vendor Claims amount as of the Petition Date. Based on

this analysis, which considered a by-vendor estimate of incremental accounts payable accrued


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and amounts that are known to have been paid to vendors since the network security incident, the

Debtors estimate that the Critical Vendor Claims total approximately $39.5 million as of the

Petition Date.

                 176.   I believe that the Critical Vendors may refuse to continue providing

services to the Debtors if their prepetition claims were not paid. I believe that it would be

extremely difficult to find replacement vendors to provide the materials of the same quality as

those provided by the Critical Vendors. Therefore, if Debtors are not granted the authority to

pay the prepetition claims of the Critical Vendors, their access to quality materials may be

severely limited. Without such quality materials and services, the Debtors’ own products will

suffer and the resulting loss of customers and erosion of goodwill would decrease the value of

the Debtors’ estates.

                 177.   Accordingly, this motion is in the best interests of the Debtors, their

estates, and all parties in interest and should be granted in all respects.

                 f. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to Pay Prepetition Claims of Foreign Vendors and (II)
                    Granting Related Relief
                 178.   The Debtors seek entry of interim and final orders authorizing Debtors, in

their discretion, to pay (a) prepetition obligations (the “Foreign Vendor Claims”) of certain

foreign vendors (the “Foreign Vendors” ) in the ordinary course; and (ii) granting certain related

relief.

                 179.   As detailed above, the Debtors operate a complex, highly competitive,

international business in the resins, wood adhesives, and epoxy industries. The successful

operation of these businesses requires the Debtors to rely on foreign third-party vendors and

suppliers, in addition to their domestic vendors, that provide the Debtors with numerous

materials and services. Given the size and global nature of their enterprise, the Debtors, in the

ordinary course of their business, regularly transact with vendors outside of the United States

that are critical to the Debtors’ supply chain. As of March 8, 2019, the last date for which the


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Debtors have certain accounts payable data due to a recent network security incident that

prevented access to certain systems and data within their network, the Debtors estimated that the

Foreign Vendor Claims totaled approximately $1.3 million. As a result of the network security

incident and data and systems limitations that resulted therefrom, the Debtors and their advisors

conducted a pro forma analysis to better estimate the Foreign Vendor Claims amount as of the

Petition Date. Based on this analysis, which considered a by-vendor estimate of incremental

accounts payable accrued and amounts that are known to have been paid to vendors since the

network security incident, the Debtors estimate that the Foreign Vendor Claims total

approximately $2.3 million as of the Petition Date.

                 180.   The majority of the Foreign Vendor Claims are held by various sole or

limited source providers that supply the Debtors with specialized materials, which are essential

to the Debtors’ end products.       Accordingly, I believe that Foreign Vendors are critical to

maintaining and maximizing the value of the Debtors’ operations. I also believe that the Foreign

Vendors may refuse to continue providing services to the Debtors if their prepetition claims were

not paid. It would be extremely difficult to find replacement vendors to provide the materials of

the same quality as those provided by the Foreign Vendors. Therefore, if the Debtors are not

granted the authority to pay the prepetition claims of the Foreign Vendors, their access to quality

materials may be severely limited.

                 181.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 g. Debtors’ Motion for Entry of an Interim and Final Order (I) Authorizing
                    Payment of Prepetition Claims of Common Carriers, Warehouses, Toll
                    Processors, Mechanics, Freight Forwarders, (II) Authorizing Payment of
                    Section 503(b)(9) Claims, and (III) Granting Related Relief
                 182.   The Debtors seek entry of interim and final orders (i) authorizing the

Debtors to pay prepetition obligations of certain Lienholders in their discretion; (ii) authorizing



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the Debtors to pay claims of certain 503(b)(9) Vendors entitled to administrative expense status

under section 503(b)(9) of the Bankruptcy Code; and (iii) granting certain related relief.

                 183.   In the ordinary course of operations, the Debtors’ supply and delivery

system depends upon the use of common carriers operated by third parties, including vessels,

trucking services, air transport, pipeline services providers, and rail carriers (the “Common

Carriers”) to receive shipments of raw materials from their vendors and to transport materials,

goods and products throughout the manufacturing process. As a result, the Common Carriers

regularly possess certain of the Debtors’ raw materials, goods and equipment in the ordinary

course of the Debtors’ operations.

                 184.   The Debtors also supplement their own storage and distribution facilities

with third-party warehouse facilities (the “Warehouses”) to store goods and inventory. The

Warehouse Providers regularly possess products and materials owned by the Debtors. The

Debtors also utilize, in the ordinary course of business, the services of certain third-party toll

processors and manufacturers (the “Toll Processors”) with respect to the Debtors’ finished

products.

                 185.   Additionally, the Debtors require significant maintenance and repair work

with respect to their equipment. Although the Debtors utilize their own employees to perform

some of this work, in the ordinary course of business the Debtors heavily rely on outside

mechanics and repairmen (collectively, the “Mechanics”) to perform maintenance and repair

work. Many of the Mechanics are currently in possession of equipment that is vital to the

Debtors’ operations, and these Mechanics may be able to assert mechanics’, possessory or

similar liens on such equipment. Further, the Debtors utilize the services of certain freight

forwarders and customs processors (the “Freight Forwarders” and together with the Common

Carriers, Warehouses, Toll Processors, and Mechanics, the “Lienholders”).              The Freight

Forwarders provide vital services that enable the Debtors to comply with the complex customs

laws and regulations of the United States when importing products and materials from outside

the United States.

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                 186.   It is essential for the Debtors’ continuing business viability and for the

success of their restructuring efforts that they maintain the reliable and efficient flow of

materials, goods and products through their distribution system. The Debtors estimate that at any

given time, a material amount of the Debtors’ property is in the hands of the third-party

Lienholders.

                 187.   The Debtors’ manufacturing and customer service capabilities are

dependent upon the storage and transportation of such goods by the Lienholders. Even a short

delay in the Debtors’ supply pipeline could undermine the Debtors’ ability to fulfill their

customers’ needs and adversely impact relationships with their customers. As a result, the

Debtors’ ability to affect a successful restructuring may be jeopardized. This risk is only

heightened by the fact that the Debtors’ customers may be tempted to source their business needs

elsewhere due to the Debtors’ commencement of these chapter 11 cases. Thus, I believe that the

prompt payment to the Lienholders of their claims in the ordinary course and satisfaction of any

purported asserted liens is an exercise of the Debtors’ sound business judgment and crucial for

the orderly and efficient operation of the Debtors’ business.

                 188.   As of March 8, 2019, the last date for which the Debtors have certain

accounts payable data due to a recent network security incident that prevented access to certain

systems and data within their network, the Debtors estimated that there were approximately

$16.5 million in Lienholder Claims and approximately $38.7 million in 503(b)(9) Claims, which

the Debtors had not yet paid to the Logistics Administrators or to other Lienholders or 503(b)(9)

Claims that are paid directly by the Debtors. As a result of the network security incident and

data and systems limitations that resulted therefrom, the Debtors and their advisors conducted a

pro forma analysis to better estimate the 503(b)(9) Claims amount as of the Petition Date. Based

on this analysis, which considered a by-vendor estimate of incremental goods received and of the

amounts paid for those goods since the network security incident, the Debtors estimate that there

are approximately $20.3 million in Lienholder Claims and approximately $37.5 million in

503(b)(9) Claims as of the Petition Date.

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                 189.   I believe that the Debtors should have the ability to pay the claims of

503(b)(9) Vendors as they come due in the ordinary course, instead of satisfying these claims

upon confirmation of a chapter 11 plan.          By altering the timing of payments that certain

503(b)(9) Vendors are entitled to receive as a matter of statute, such payments can induce the

individual 503(b)(9) Vendors to adhere to favorable trade terms and do business with the Debtors

on a go-forward basis. I believe that this relief is in the best interests of the Debtors’ estates

because favorable trade terms will prevent the contraction of the Debtors’ liquidity; and this

Court’s time and resources will not be burdened with motions from individual 503(b)(9) Vendors

requesting payment on account of their 503(b)(9) Claims or seeking reclamation of goods

received by the Debtors in the twenty days prior to the Petition Date.

                 190.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

                 h. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to Maintain Customer Programs and Honor Related
                    Prepetition Obligations and (II) Granting Related Relief
                 191.   The Debtors seek interim and final orders (i) authorizing the Debtors, in

their discretion, to (a) maintain and administer customer-related programs, practices, and policies

(collectively, the “Customer Programs”) and honor prepetition obligations to customers arising

under the Customer Programs in the ordinary course of business and in a manner consistent with

past practice (collectively, the “Prepetition Customer Obligations”) and (b) renew, replace,

implement, modify, or terminate any of the Customer Programs, in each case, as the Debtors

deem appropriate in their business judgment and in the ordinary course of business, without

further application to the Court, and (ii) granting certain related relief.

                 192.   In the ordinary course of business, the Debtors maintain several Customer

Programs designed to drive sales, meet competitive pressures, build key relationships, and

develop and sustain customer loyalty, including Rebate Programs, Offset Programs, and Product


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Claims (each as defined below). The viability and success of the Debtors’ business depends on

the patronage and loyalty of their customers, including nearly 1,300 unique customers in the last

eighteen (18) months. In the ordinary course of business, the Debtors offer rebate programs

(the “Rebate Programs”) in an effort to, among other things, attract new customers, incentivize

customers to purchase more products, and support the development, promotion, and marketing of

their products. Some customers’ contracts include express offset agreements by which the

Debtors and their customers agree that to the extent one party fails to pay for products, the non-

defaulting party is entitled to offset any and all outstanding payment obligations or other

indebtedness owed to it by the defaulting party against any payment obligations or other

indebtedness that the non-defaulting party may owe to the defaulting party (the “Offset

Agreements”). The Debtors incur costs each year replacing products or providing credits to

customers when it ships products that do not meet the customers’ specifications (the “Product

Claims”). The Debtors’ costs for the Product Claims were $23,000 in 2017 and $1.9 million in

2018.

                 193.   Continuing the Customer Programs without interruption and timely paying

Prepetition Customer Obligations are vital to the Debtors’ business and will facilitate a smooth

transition into chapter 11, enhancing the prospect of success of these cases. On the other hand,

failing to honor the Customer Programs likely would erode the Debtors’ reputation and harm the

Debtors’ customer relations, in turn, decreasing the Debtors’ chance for a successful

reorganization. I believe that the requested relief will advance the restructuring of the Debtors’

businesses, both in terms of profitability and the engendering of goodwill with essential

customers, especially at this critical time early in these cases. I also believe that the cost of

maintaining the Customer Programs and honoring the Prepetition Customer Obligations will be

more than offset by the revenue generated by virtue that the Customer Programs remain in place.

                 194.   Accordingly, I believe that the relief requested in this motion is in the best

interests of the Debtors, their estates, and all parties in interest and should be granted in all

respects.

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        D.       Certain Other Motions

                 a. Debtors’ Motion for Entry of an Order (I) Enforcing Protections of
                    Sections 362 and 525 of the Bankruptcy Code and (ii) Approving Notice
                    to Customers, Suppliers, and Other Stakeholders of Debtors’ Non-Debtor
                    Global Affiliates
                 195.   The Debtors seek entry of an order (i) enforcing the protections of sections

362 and 525 of the Bankruptcy Code and (ii) approving notice to customers, suppliers, and other

stakeholders of the Debtors’ non-Debtor global subsidiaries and affiliates.

                 196.   I am advised that Sections 362 and 525 of the Bankruptcy Code embody

injunctions against adverse actions targeting the debtors or their property, whether from

creditors, other parties in interest, or governmental bodies, upon the commencement of a chapter

11 case. I am further advised that, although these injunctions are self-executing, they are often

unfamiliar to non-U.S. creditors and parties in interest. I am further advised that it is often

necessary to advise such third parties of the existence and effect of sections 362 and 525 of the

Bankruptcy Code through a separate order.

                 197.   The Debtors, together with their Non-Debtor Affiliates, operate production

facilities, employ workers, interact with regulators, and serve customers worldwide. As a result,

the Debtors and their Non-Debtor Affiliates have many non-U.S. creditors, who may not be

aware of the above-referenced protections. Moreover, many of the Debtors’ assets are located

around the world, which may further confuse a non-U.S. creditor. As customers and other third

parties become aware of the Debtors cases, some may lose confidence and become hesitant or,

worse yet, refuse to deal with Non-Debtor Affiliates under the mistaken assumption that such

affiliates are part of these bankruptcy cases. Further, I am advised that the “automatic” and self--

executing nature of these protections may not be recognized by foreign creditors or tribunals

unless embodied in an order of this Court.

                 198.   Accordingly, I believe an order from this Court, which the Debtors will be

able to transmit to affected parties through court-approved notice, will maximize the protections

afforded by sections 362 and 525 of the Bankruptcy Code.

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                                        Exhibit A

                                   Organizational Chart

                                      [see attached]




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                 Debtor
                                                                                   Hexion Holdings LLC (DE)
                 Notes Issuer/Guarantor
                                                                                        Hexion LLC (DE)
                 ABL Borrower

                 Indirect holding
                                                                                       Hexion Inc. (NJ)**



                                          Nor. Am. Sugar                                                                                        Hexion                Hexion 
Hexion 2 U.S.      Hexion Nimbus                             Hexion HSM                                 Lawter         Hexion Deer                                                        NL Coop 
                                              Indus.                          Hexion VAD LLC                                                 Investments           International 
Finance Corp            Inc.                                 Holdings LLC                           International       Park LLC                                                         Holdings LLC
                                           Incorporated                            (DE)                                                          Inc.                   Inc. 
    (DE)                (DE)                                     (DE)                                  Inc. (DE)          (DE)                                                               (DE)
                                               (DE)                                                                                              (DE)                   (DE)


                   Hexion Nimbus                                                                                                                                                            Hexion 
                   Asset Holdings                                                                  Hexion CI Hldg.                                                                       International 
                         LLC                                                                       Co. (China) LLC                                                                      Cooperatif U.A. 
                        (DE)                                                                             (DE)                                                                           (Netherlands)*



                                          Cuban Amer.                                                                                      Hexion 
                   The West India                                                                                                       International 
                                           Mercantile 
                     Company                                                                                                            Holdings B.V. 
                                             Corp.
                        (NJ)                                                                                                            (Netherlands)
                                             (DE)



                                                                                         Hexion Holding 
                                                                                              B.V. 
                                                                                         (Netherlands)




                                                             Hexion Canada 
                                                                                                                       Other Foreign          Hexion B.V.           Hexion GmBH 
                                                                  Inc. 
                                                                                                                        Subsidiaries         (Netherlands)           (Germany)
                                                               (Canada)




                                            Hexion Nova         Borden                                                Notes
                                                                                 Hexion UK                            *Hexion International Coopoeratif U.A.. is 65% owned by NL Coop 
                      Other Foreign        Scotia Finance     Chemical UK 
                                                                                  Limited                             Holdings LLC and 35% owned by Hexion Inc.
                       Subsidiaries             ULC             Limited
                                                                                    (UK)                              **Hexion Inc. is issuer of all outstanding Notes; Hexion Nova Scotia 
                                            (Canada)**            (UK)
                                                                                                                      Finance ULC is co‐issuer of the 2L Notes
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                                      Exhibit B

                                           RSA

                                     [see attached]




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                                                                      EXECUTION VERSION


                      RESTRUCTURING SUPPORT AGREEMENT

       This RESTRUCTURING SUPPORT AGREEMENT (as amended, supplemented, or
otherwise modified from time to time in accordance with the terms hereof, this “RSA” and,
together with the Term Sheet (as defined below), this “Agreement”), dated as of April 1, 2019, is
entered into by and among the following parties:

        (i) Hexion Holdings LLC (“Hexion”), Hexion LLC, Hexion Inc., Lawter International Inc.,
Hexion CI Holding Company (China) LLC, Hexion Nimbus Inc., Hexion Nimbus Asset Holdings
LLC, Hexion Deer Park LLC, Hexion VAD LLC, Hexion 2 U.S. Finance Corp., Hexion HSM
Holdings LLC, Hexion Investments Inc., Hexion International Inc., North American Sugar
Industries Incorporated, Cuban-American Mercantile Corporation, The West India Company, NL
Coop Holdings LLC, and Hexion Nova Scotia Finance, ULC (each, together with Hexion, a
“Company Entity,” and collectively, and together with Hexion, the “Company”);

        (ii) the undersigned beneficial holders, or investment managers, advisors, or subadvisors
to beneficial holders (together with their respective successors and permitted assigns, the
“Consenting Creditors”), of those certain: (a) 6.625% first lien notes due 2020 issued by Hexion
Inc. (the “6.625% Notes”); (b) 10.00% first lien notes due 2020 issued by Hexion Inc. (the “10%
Notes”); (c) 10.375% first lien notes due 2022 issued by Hexion Inc. (the “10.375% Notes” and,
collectively with the 6.625% Notes and 10% Notes, the “1L Notes”); (d) 13.750% 1.5 lien notes
due 2022 issued by Hexion Inc. (the “1.5L Notes”), (e) 9.00% second lien notes due 2020 issued
by Hexion Inc. (the “2L Notes”), (f) 9.20% Debentures due 2021 and/or 7.875% Debentures due
2023 issued by Borden, Inc. (the “Unsecured Notes”); and

       (iii) AIF Hexion Holdings, LP, AP Momentive Holdings, LLC, Apollo Investment Fund
VI, L.P., and AIF Hexion Holdings II, L.P., each in its capacity as holder of outstanding common
equity of Hexion (collectively the “Consenting Sponsors,” and collectively with the Consenting
Creditors, the “Consenting Parties”).

       Each of the Company Entities and the Consenting Parties are referred to as the “Parties”
and individually as a “Party.”

        WHEREAS, the Parties have in good faith and at arm’s length negotiated and agreed to
the terms of a “pre-arranged” chapter 11 plan of reorganization as set forth on the term sheet
attached hereto as Exhibit A (the “Term Sheet” and, the chapter 11 plan based thereon, together
with all exhibits, annexes, and schedules thereto, as each may be amended, restated, amended and
restated, supplemented, or otherwise modified in accordance with its terms and this Agreement,
the “Plan”) intended to be consummated through voluntary reorganization cases (the “Chapter 11
Cases”) under chapter 11 of title 11 of the Bankruptcy Code (defined below) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) on the terms set forth in
this Agreement;

       WHEREAS, as of the date hereof, the Consenting Creditors hold, in the aggregate, more
than 50.1 percent of the aggregate outstanding principal amount of each of the 1L Notes, 1.5L
Notes, 2L Notes, and Unsecured Notes;
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       WHEREAS, as of the date hereof, the Consenting Sponsors hold, in the aggregate,
approximately 90 percent of the outstanding common equity of Hexion; and

      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed in this Agreement.

        NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

               1.      Certain Definitions.

       Capitalized terms used but not defined in this Agreement have the meanings ascribed to
them in the Term Sheet. As used in this Agreement, the following terms have the following
meanings:

       a.      “1.5 Lien Ad Hoc Group” means the ad hoc group of holders of 1.5L Notes
represented by Jones Day (“Jones Day”) and Perella Weinberg Partners.

       b.       “1.5 Lien Noteholders” means those beneficial holders, or investment managers,
advisors, or subadvisors to beneficial holders of 1.5L Notes.

       c.     “Ad Hoc Groups” means the First Lien Ad Hoc Group, the 1.5 Lien Ad Hoc Group
and the Crossholder Ad Hoc Group.

        d.     “Agreement Effective Date” means the date on which counterpart signature pages
to this Agreement shall have been executed and delivered by (i) each Company Entity,
(ii) Consenting Creditors holding at least 50.1% in aggregate principal amount outstanding of the
1L Notes, 1.5L Notes, 2L Notes and Unsecured Notes, and (iii) the Consenting Sponsors.

        e.      “Alternative Transaction” means any dissolution, winding up, liquidation,
reorganization, assignment for the benefit of creditors, merger, transaction, consolidation, business
combination, joint venture, partnership, sale of assets, financing (debt or equity), restructuring or
similar transaction of or by any of the Company Entities, other than the transactions contemplated
by and in accordance with this Agreement.

       f.      “Bankruptcy Code” means title 11 of the United States Code.

      g.     “Claim” has the meaning ascribed to such term under section 101(5) of the
Bankruptcy Code.

        h.       “Consenting 1.5L Noteholders” means certain holders, permitted successors, and
assigns of the 1.5L Notes (constituting at least two thirds in amount of the outstanding 1.5L Notes)
listed on the signature pages attached to this Agreement that, in each case, are members of the First
Lien Ad Hoc Group or the 1.5 Lien Ad Hoc Group.


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       i.      “Consenting Crossholder Noteholders” means certain holders, permitted
successors, and assigns of the 1L Notes, 1.5L Notes, 2L Notes and Unsecured Notes listed on the
signatures pages attached to this Agreement that, in each case, are members of the Crossholder Ad
Hoc Group.

        j.       “Consenting First Lien Noteholders” means certain holders, permitted successors,
and assigns of the 1L Notes (constituting at least two thirds in amount of the outstanding 1L Notes)
listed on the signature pages attached to this Agreement that, in each case, are members of the First
Lien Ad Hoc Group or the 1.5 Lien Ad Hoc Group.

       k.     “Crossholder Ad Hoc Group” means the ad hoc group of holders of the 1L Notes,
1.5L Notes, 2L Notes and Unsecured Notes represented by Milbank LLP and Houlihan Lokey
Capital, Inc.

        l.      “Effective Date” means the date on which the Plan becomes effective in accordance
with its terms.

       m.      “Exit Facilities” means, collectively, the Exit Facility and the Exit ABL Facility.

       n.      “First Lien Ad Hoc Group” means the ad hoc group of holders of 1L Notes
represented by Akin Gump Strauss Hauer & Feld LLP and Evercore LLC.

       o.      “First Lien Noteholders” means those beneficial holders, or investment managers,
advisors, or subadvisors to beneficial holders of 1L Notes.

       p.      “Interest” means an equity interest.

       q.      “Joinder Agreement” means the form of joinder agreement attached hereto as
Exhibit B.

        r.     “Person” means an individual, firm, corporation (including any non-profit
corporation), partnership, limited partnership, limited liability company, joint venture, association,
trust, governmental entity, or other entity or organization.

       s.      “Representatives” means, with respect to any Person, such Person’s affiliates and
its and their directors, officers, members, partners, managers, employees, agents, investment
bankers, attorneys, accountants, advisors, and other representatives.

      t.      “Required Consenting 1.5L Noteholders” means those Consenting 1.5 Lien
Noteholders holding at least a majority in principal amount of the 1.5L Notes held by 1.5 Lien
Noteholders party to this Agreement that are members of the 1.5 Lien Ad Hoc Group.

        u.       “Required Consenting Crossholder Noteholders” means those Consenting
Crossholder Noteholders holding at least 60% in aggregate principal amount of the 1L Notes, 1.5L
Notes, 2L Notes and Unsecured Notes held by members of the Crossholder Ad Hoc Group that
are Parties to this Agreement.


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       v.     “Required Consenting First Lien Noteholders” means Consenting First Lien
Noteholders that are members of the First Lien Ad Hoc Group holding at least a majority in
principal amount of the 1L Notes held by the First Lien Noteholders party to this Agreement that
are members of the First Lien Ad Hoc Group.

      w.       “Required Consenting Parties” means the Required Consenting First Lien
Noteholders, the Required Consenting 1.5L Noteholders, the Required Consenting Crossholder
Noteholders, the Consenting Sponsors and the Company.

        x.     “Support Period” means, with respect to any Party, the period commencing on the
Agreement Effective Date and ending on the earlier of (i) the date on which this Agreement is
terminated by or with respect to such Party in accordance with Section 7 hereof and (ii) the
Effective Date.

         The following terms are defined in the sections of this Agreement indicated in the table
below:

                                Defined Term                      Section
                   Agreement                                     Preamble
                   Bankruptcy Court                               Recitals
                   beneficial ownership                             4(b)
                   Chapter 11 Cases                               Recitals
                   Company                                       Preamble
                   Company Entity                                Preamble
                   Company Termination Event                        7(b)
                   Confidentiality Agreement                      3(b)(iii)
                   Confirmation Order                                2
                   Consenting Creditors                          Preamble
                   Consenting Creditor Termination Event            7(a)
                   Consenting Parties                            Preamble
                   Consenting Sponsors                           Preamble
                   Consenting Sponsor Termination Event             7(c)
                   Definitive Documents                              2
                   DIP Credit Agreement                              2
                   DIP Motion                                        2
                   Disclosure Statement Motion                       2
                   Disclosure Statement Order                        2
                   Exit Facilities Documents                         2
                   Final DIP Order                                   2
                   Hexion                                        Preamble
                   Interim DIP Order                                 2
                   Mutual Termination Event                         7(d)
                   Party(ies)                                    Preamble
                   Permitted Transfer                               4(b)
                   Permitted Transferee                             4(b)
                   Plan                                           Recitals
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                                 Defined Term                               Section
                     Plan Supplement                                           2
                     Qualified Marketmaker                                   4(b)
                     Repo Agreement                                          9(b)
                     Repo Securities                                         9(b)
                     Term Sheet                                             Recitals
                     Termination Events                                       7(f)
                     Transfer                                                4(b)

                2.       Definitive Documents.

        The definitive documents (the “Definitive Documents”) with respect to the Restructuring
shall include all documents (including1 any related orders, agreements, instruments, schedules, or
exhibits) that are contemplated by this Agreement and that are otherwise necessary or desirable to
implement, or otherwise relate to the Restructuring, including (as applicable): (a) the Plan; (b) the
related disclosure statement (such disclosure statement, together with any exhibits, schedules,
attachments or appendices thereto, in each case as may be amended, supplemented or otherwise
modified from time to time in accordance with the terms herein and therein, the “Disclosure
Statement”); (c) any other documents and/or agreements relating to the Plan and/or the Disclosure
Statement, including a motion seeking approval of the Disclosure Statement, the procedures for
the solicitation of votes in connection with the Plan pursuant to sections 1125 and 1126 of the
Bankruptcy Code (the “Solicitation”) and the forms of ballots and notices and related relief (such
motion, together with all exhibits, appendices, supplements, and related documents, the
“Disclosure Statement Motion”), (d) the documents to be filed in the supplement to the Plan
(collectively, the “Plan Supplement”); (e) the order approving the Disclosure Statement (the
“Disclosure Statement Order”); (f) the order confirming the Plan (the “Confirmation Order”); (g)
the motion seeking approval of the Company’s incurrence of postpetition debt financing (the “DIP
Motion”) and the credit agreement with respect thereto (the “DIP Credit Agreement”); (h) the
interim and final orders granting the DIP Motion (the “Interim DIP Order” and “Final DIP
Order”, respectively, and collectively, the “DIP Orders”); (i) a motion seeking the assumption of
this Agreement pursuant to section 365 of the Bankruptcy Code authorizing, among other things,
the payment of certain fees, expenses and other amounts hereunder, and granting related relief (the
“RSA Assumption Motion”), and an order approving the RSA Assumption Motion (the “RSA
Order”); (j) the Plan Supplement documentation with respect to a management incentive plan of
the Company (the “MIP”) and any documentation with respect to any key employee retention
plan, key employee incentive plan or other similar plan or program; (k) the agreement with respect
to the Exit Facilities, and any agreements, commitment letters, documents, or instruments related
thereto (the “Exit Facilities Documents”); (l) the Equity Backstop Commitment Agreement, the
BCA Approval Order, the documentation memorializing the Debt Backstop Commitments (the
“Debt Backstop Documents”), and any order approving the Debt Backstop Documents (the “Debt
Backstop Order”); (m) any organizational documents, operating agreements, management
services agreements, shareholder and member-related agreements, registration rights agreements
or other governance documents for the reorganized Company Entities (collectively, the

1
    For the avoidance of doubt, the terms “includes” and “including” as used herein shall not be construed to be
    limiting.
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“Governance Documents”); and (m) such other documents, pleadings, agreements, or
supplements as may be reasonably necessary or advisable to implement the Restructuring. Each
Definitive Document shall be consistent with this Agreement and otherwise reasonably acceptable
to the Company, the Required Consenting First Lien Noteholders, the Required Consenting 1.5L
Noteholders and the Required Consenting Crossholder Noteholders, provided, however, that
notwithstanding the foregoing, the Governance Documents shall be acceptable only to the
Company and the Board Committee; provided further that the Governance Documents shall
contain customary minority protections reasonably acceptable to the Required Consenting First
Lien Noteholders, the Required Consenting 1.5L Noteholders and the Required Consenting
Crossholder Noteholders and there shall be a single class of stock, and, as to any inconsistencies
between the Definitive Documents and this Agreement, (1) the economic treatment provided under
the Definitive Documents (including, without limitation, any term or condition affecting or relating
to any economic rights or obligations of any Consenting Creditors in connection with the
Restructuring) shall be acceptable to the Company, on the one hand, and the Required Consenting
First Lien Noteholders, the Required Consenting 1.5L Noteholders, the Required Consenting
Crossholder Noteholders and/or the Consenting Sponsors (solely as to the respective treatment
provided to each of the foregoing), as applicable; and (2) any release, exculpation and injunction
provisions under the Plan shall be acceptable to the Required Consenting Parties. In addition to
the foregoing, any Definitive Document (and any amendments, modifications, supplements or
waivers to such Definitive Document) that (X) affects the release, exculpation, injunction,
indemnification or insurance provisions related to the Consenting Sponsors, (Y) adversely affects
the rights or obligations of the Consenting Sponsors pursuant to or identified in this Agreement
and to be implemented pursuant to the Plan, or (Z) relate to the Settlement Note, in each case shall
be reasonably acceptable to the Consenting Sponsors.

                 3.       Milestones.

       During the Support Period, the Company shall use commercially reasonable efforts to
implement the Restructuring in accordance with the following milestones (the “Milestones”), as
applicable, unless extended or waived in writing (with email from counsel being sufficient) by the
Required Consenting First Lien Noteholders, the Required Consenting 1.5L Noteholders and the
Required Consenting Crossholder Noteholders:2

               a.      no later than 11:59 p.m. (prevailing Eastern Time) on April 1, 2019, the
Company Entities shall have commenced the Chapter 11 Cases in the Bankruptcy Court
(the “Petition Date”);

                b.     as soon as reasonably practicable, but in no event later than the date that is
three (3) calendar days after the Petition Date, the Bankruptcy Court shall have entered the Interim
DIP Order;




2
    The date of each Milestone provided for in this Section 3 shall be calculated in accordance with Rule 9006 of the
    Federal Rules of Bankruptcy Procedure.
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                c.     as soon as reasonably practicable, but in no event later than the date that is
forty-five (45) calendar days after the Petition Date, the Bankruptcy Court shall have entered the
Final DIP Order;

                d.     as soon as reasonably practicable, but in no event later than the date that is
sixty (60) calendar days after the Petition Date, the Bankruptcy Court shall have entered the RSA
Order, the BCA Approval Order and the Debt Backstop Order;

               e.     as soon as reasonably practicable, but in no event later than the date that is
ninety (90) calendar days after the Petition Date, the Bankruptcy Court shall have entered the
Disclosure Statement Order;

              f.      as soon as reasonably practicable, but in no event later than the date that is
one hundred and twenty-five (125) calendar days after the Petition Date, the hearing to consider
confirmation of the Plan shall have begun; and

              g.      as soon as reasonably practicable, but in no event later than the date that is
one hundred and fifty (150) calendar days after the Petition Date, the Effective Date shall occur;

provided that, the Milestones set forth in Sections (3)(e), (3)(f) and (3)(g) shall be extended by the
number of days (not to exceed thirty-five (35) days for purposes of this clause) by which the
deadline to file schedules of assets and liabilities and statements of financial affairs is extended
beyond forty-five (45) calendar days, in the event the Company receives such an extension.

               4.      Agreements of the Consenting Parties.

              a.     Restructuring Support. During the Support Period, subject to the terms and
conditions hereof, each Consenting Party agrees, severally and not jointly, that it shall use
commercially reasonable efforts to:

                        (i)     negotiate in good faith, execute, perform its obligations under, and
consummate the transactions contemplated by, the Definitive Documents to which it is (or will be)
a party, at such times as are contemplated herein;

                       (ii)  support the Plan and the transactions contemplated by this
Agreement, the Term Sheet and the Definitive Documents and take all reasonable actions
necessary or reasonably requested by the Company to effectuate the Plan and the transactions
contemplated by this Agreement, the Term Sheet and the Definitive Documents, in a manner
consistent with this Agreement, including the timelines set forth herein;

                        (iii) not, directly or indirectly, seek, solicit, support, encourage, propose,
assist, consent to, vote for, or enter or participate in any discussions or any agreement with any
non-Party regarding, any Alternative Transaction;

                     (iv)    support and take all reasonable actions reasonably requested by the
Company to facilitate entry of the DIP Orders (including adequate protection terms contained
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therein), the Disclosure Statement Order, and the Confirmation Order, including consenting to the
Company’s use of cash collateral, incurrence of obligations and granting of liens as set forth in the
DIP Orders (which consent is deemed to have been given by such Consenting Party’s signature to
this Agreement);

                        (v)     not, directly or indirectly, or encourage any other Person to, directly
or indirectly, (A) object to, delay, postpone, challenge, oppose, impede, or take any other action
or any inaction to interfere with or delay the acceptance, implementation, or consummation of the
Plan on the terms set forth in this Agreement, the Term Sheet and any applicable Definitive
Document, including, without limitation, commencing or joining with any Person in commencing
any litigation or involuntary case for relief under the Bankruptcy Code against any Company
Entity or any subsidiary thereof; (B) solicit, negotiate, propose, file, support, enter into,
consummate, file with the Bankruptcy Court, vote for, or otherwise knowingly take any other
action in furtherance of any restructuring, workout, plan of arrangement, or plan of reorganization
for the Company that is inconsistent with this Agreement; (C) exercise any right or remedy for the
enforcement, collection, or recovery of any claim against the Company or any direct or indirect
subsidiaries of the Company that do not file for chapter 11 relief under the Bankruptcy Code,
except in a manner consistent with this Agreement; or (D) object to or oppose, or support any other
Person’s efforts to object to or oppose, any motions filed by the Company that are consistent with
this Agreement;

                         (vi)    subject to the receipt of the Disclosure Statement and related
materials, it shall (A) timely vote or cause to be voted any Claims it holds to accept the Plan (to
the extent permitted to vote) by delivering its duly executed and completed ballot or ballots, as
applicable, accepting the Plan on a timely basis following commencement of the solicitation of
acceptances of the Plan in accordance with sections 1125(g) and 1126 of the Bankruptcy Code,
provided, that, with respect to any Repo Securities (as defined below), the Consenting Party agrees
to use its commercially reasonable efforts to cause such Repo Securities to be voted in accordance
with the terms of this Section 4(a)(vi); (B) not change or withdraw such vote or the elections
described below (or cause or direct such vote or elections to be changed or withdrawn) during the
Support Period; provided, however, that nothing in this Agreement shall prevent any Party from
changing, withholding, amending, or revoking (or causing the same) its timely election or vote
with respect to the Plan if this Agreement has been duly-terminated with respect to such Party; and
(C) to the extent it is permitted to elect whether to opt into or opt out of the releases set forth in the
Plan, elect to opt into or not elect to opt out of the releases, as applicable, set forth in the Plan by
timely delivering its duly executed and completed ballot or ballots indicating such election;

                      (vii) support and take all commercially reasonable actions reasonably
requested by the Company to facilitate the implementation and, if applicable, approval of the
Disclosure Statement and confirmation and consummation of the Plan;

                        (viii) not direct any administrative agent, collateral agent or indenture
trustee (as applicable) to take any action inconsistent with such Consenting Creditor’s obligations
under this Agreement, and, if any applicable administrative agent, collateral agent or indenture
trustee (as applicable) takes any action inconsistent with such Consenting Creditor’s obligations
under this Agreement, such Consenting Creditor shall use its commercially reasonable efforts

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(which shall exclude the provision of any indemnity) to direct such administrative agent, collateral
agent or indenture trustee (as applicable) to cease and refrain from taking any such action; and

                       (ix)   to the extent any legal or structural impediment arises that would
prevent, hinder or delay the consummation of the Plan, negotiate with the Consenting Parties in
good faith appropriate additional or alternative provisions to address any such impediment;
provided that the economic outcome for the Consenting Creditors and other materials terms of this
Agreement must be substantially preserved in such alternate provisions.

Notwithstanding the foregoing, nothing in this Agreement shall prohibit any Consenting Party
from (1) appearing as a party-in-interest in any matter arising in the Chapter 11 Cases or
(2) enforcing any right, remedy, condition, consent, or approval requirement under this Agreement
or any Definitive Documents, provided that, in each case, any such action is not inconsistent with
such Consenting Party’s obligations hereunder.

The Parties agree that this Agreement does not constitute a commitment to, nor shall it obligate
any of the Parties to, provide any new financing or credit support except as contemplated by the
Term Sheet.

                 b.      Transfers. During the Support Period, each Consenting Party agrees, solely
with respect to itself, that it shall not sell, pledge, assign, transfer, permit the participation in, or
otherwise dispose of (each, a “Transfer,” provided, however, that any pledge, lien, security
interest, or other encumbrance in favor of a bank or broker dealer at which a Consenting Party
maintains an account, where such bank or broker dealer holds a security interest in or other
encumbrances over property in the account generally shall not be deemed a “Transfer” for any
purposes hereunder) any ownership (including any beneficial ownership)3 in its Claims against or
Interests in any Company Entity, or any option thereon or any right or interest therein (including
by granting any proxies or depositing any interests in such Claims or Interests into a voting trust
or by entering into a voting agreement with respect to such Claims or Interests), unless the intended
transferee (1) is another Consenting Party, (2) as of the date of such Transfer, the Consenting Party
controls, is controlled by, or is under common control with such transferee or is an affiliate,
affiliated fund, or affiliated entity with a common investment advisor or (3) executes and delivers
to counsel to the Company an executed Joinder Agreement before such Transfer is effective (it
being understood that any Transfer shall not be effective as against the Company until notification
of such Transfer and a copy of the executed Joinder Agreement (if applicable) is received by
counsel to the Company, in each case, on the terms set forth herein) (such transfer, a “Permitted
Transfer” and such party to such Permitted Transfer, a “Permitted Transferee”). Upon
satisfaction of the foregoing requirements in this Section 4(b), (i) the Permitted Transferee shall
be deemed to be a Consenting Party hereunder and shall be deemed to be a Consenting Creditor
or Consenting Sponsor, or both, as applicable, and, for the avoidance of doubt, a Permitted
Transferee is bound as a Consenting Party under this Agreement with respect to any and all Claims
against, or Interests in, any of the Company Entities, whether held at the time such Permitted
Transferee becomes a Party or later acquired by such Permitted Transferee and is deemed to make

3
    As used herein, the term “beneficial ownership” means the direct or indirect economic ownership of, and/or the
    power, whether by contract or otherwise, to direct the exercise of the voting rights and the disposition of, the
    applicable Claims or Interests or the right to acquire such Claims or Interests.
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all of the representations and warranties of a Consenting Party set forth in this Agreement and be
entitled to the applicable rights of a Consenting Party hereunder, and (ii) the transferor shall be
deemed to relinquish its rights (and be released from its obligations) under this Agreement to the
extent of such transferred rights and obligations.

                        (i)     This Agreement shall in no way be construed to preclude the
Consenting Parties from acquiring additional Claims against or Interests in any Company Entity;
provided, that (A) if any Consenting Party acquires additional Claims against or Interests in any
Company Entity during the Support Period, such Consenting Party shall report its updated holdings
to the legal advisors to the Ad Hoc Groups (on a professional eyes only basis) and the Company
within five (5) business days of such acquisition, which notice may be deemed to be provided by
the filing of a statement with the Bankruptcy Court as required by Rule 2019 of the Federal Rules
of Bankruptcy Procedures, including revised holdings information for such Consenting Party, and
(B) any acquired Claims or Interests shall automatically and immediately upon acquisition by a
Consenting Party be deemed subject to the terms of this Agreement (regardless of when or whether
notice of such acquisition is given); provided further that the acquisition of additional Claims by a
Consenting Creditor shall in no way affect or dilute (A) the recoveries of other Consenting
Creditors contemplated under the Plan or (B) any rights and/or premiums contemplated by this
Agreement or the Term Sheet.

                      (ii)   This Section 4(b) shall not impose any obligation on the Company
to issue any “cleansing letter” or otherwise publicly disclose information for the purpose of
enabling a Consenting Party to Transfer any Claims or Interests. Notwithstanding anything to the
contrary herein, to the extent the Company and another Party have entered into a separate
agreement with respect to the issuance of a “cleansing letter” or other public disclosure of
information (each such executed agreement, a “Confidentiality Agreement”), the terms of such
Confidentiality Agreement shall continue to apply and remain in full force and effect according to
its terms.

                       (iii)   Any Transfer made in violation of this Section 4(b) shall be void ab
initio.

               c.      Marketmaking.

                           (i) Notwithstanding anything to the contrary herein, a Consenting Party
          may Transfer any ownership in its Claims against or Interests in any Company Entity,
          or any option thereon or any right or interest therein, to a Qualified Marketmaker (as
          defined below) that acquires Claims against or Interests in any Company Entity with the
          purpose and intent of acting as a Qualified Marketmaker for such Claims or Interests,
          and such Qualified Marketmaker shall not be required to execute and deliver to counsel
          to any Party a Joinder Agreement in respect of such Claims or Interests if (A) such
          Qualified Marketmaker subsequently Transfers such Claims or Interests within ten (10)
          business days of its acquisition to an entity that is not an affiliate, affiliated fund, or
          affiliated entity with a common investment advisor of such Qualified Marketmaker, (B)
          the transferee otherwise is a Permitted Transferee (including any requirement hereunder
          that such transferee execute a Joinder Agreement), and (C) the Transfer otherwise is a
          Permitted Transfer. To the extent that a Consenting Party is acting in its capacity as a
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         Qualified Marketmaker, it may Transfer any right, title, or interest in any Claims against
         or Interests in any Company Entity that such Consenting Party acquires in its capacity
         as a Qualified Marketmaker from a holder of such Claims or Interests who is not a
         Consenting Party without regard to the requirements set forth in Section 4(b) hereof. As
         used herein, the term “Qualified Marketmaker” means an entity that (a) holds itself out
         to the public or the applicable private markets as standing ready in the ordinary course
         of business to purchase from customers and sell to customers claims against the
         Company Entities (or enter with customers into long and short positions in claims
         against the Company Entities), in its capacity as a dealer or market maker in claims
         against the Company and (b) is, in fact, regularly in the business of making a market in
         claims against issuers or borrowers (including debt securities or other debt).

                         (ii) The Company understands that the Consenting Creditors are
         engaged in a wide range of financial services and businesses. In furtherance of the
         foregoing, the Company acknowledges and agrees that, to the extent a Consenting
         Creditor expressly indicates on its signature page hereto that it is executing this
         Agreement on behalf of specific trading desk(s) and/or business group(s) of the
         Consenting Creditor that principally manage and/or supervise the Consenting Creditor’s
         investment in the Company, the obligations set forth in this Agreement shall only apply
         to such trading desk(s) and/or business group(s) and shall not apply to any other trading
         desk or business group of the Consenting Creditor so long as they are not acting at the
         direction or for the benefit of such Consenting Creditor or such Consenting Creditor’s
         investment in the Company; provided that the foregoing shall not diminish or otherwise
         affect the obligations and liability therefor of any legal entity that executes this
         Agreement.

                         (iii) Further, notwithstanding anything in this Agreement to the contrary,
         the Parties agree that, in connection with the delivery of signature pages to this
         Agreement by a Consenting Creditor that is a Qualified Marketmaker before the
         occurrence of conditions giving rise to the effective date for the obligations and the
         support hereunder, such Consenting Creditor shall be a Consenting Creditor hereunder
         solely with respect to the Claims listed on such signature pages and shall not be required
         to comply with this Agreement for any other Claims it may hold from time to time in its
         role as a Qualified Marketmaker.

               d.     Ad Hoc Group Composition. On or before the 1st day of each month of the
Support Period, counsel to each Ad Hoc Group shall provide counsel to the Company, on a
professionals’ eyes only basis, with a list of each member of such counsel’s respective ad hoc
group and such member’s holdings of 1L Notes, 1.5L Notes, 2L Notes, and Unsecured Notes.

              e.      Tax Matters. During the Support Period, the Consenting Sponsors will not
Transfer any equity of Hexion Holdings LLC if it would be reasonably expected to result in an
“ownership change” of Hexion Holdings LLC for purposes of Section 382 of the Internal Revenue
Code of 1986, as amended.



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               5.      Additional Provisions Regarding Consenting Party Commitments.

       Notwithstanding anything to the contrary herein, nothing in this Agreement shall:

               a.      affect the ability of any Consenting Party to consult with any other
Consenting Party, the Company Entities, or any other party in interest in the Chapter 11 Cases
(including any official committee or the United States Trustee);

              b.      impair or waive the rights of any Consenting Party to assert or raise any
objection permitted under this Agreement in connection with the Restructuring;

               c.      prevent any Consenting Party from enforcing this Agreement or any other
Definitive Document, or from contesting whether any matter, fact, or thing is a breach of, or is
inconsistent with, such documents; or

                d.     prevent any Consenting Party from taking any customary perfection step or
other action as is necessary to preserve or defend the validity or existence of its Company Claims
and Interests (including, without limitation, the filing of proofs of claim).

               6.      Agreements of the Company.

                a.       Restructuring Support. During the Support Period, subject to the terms and
conditions hereof (including, without limitation, Section 10), and except as expressly waived by
the Required Consenting Parties in writing from time to time, the Company agrees that it shall use
commercially reasonable efforts, and shall use commercially reasonable efforts to cause each of
its subsidiaries to, without limitation:

                       (i)     implement the Restructuring in accordance with the terms and
conditions set forth herein;

                     (ii)   implement and consummate the Plan in a timely manner and take
any and all commercially reasonable and appropriate actions in furtherance of the Plan, as
contemplated under this Agreement;

                       (iii) upon reasonable request, inform the legal and financial advisors to
the Ad Hoc Groups as to: (A) the material business and financial (including liquidity) performance
of the Company Entities; (B) the status and progress of the negotiations of the Definitive
Documents; and (C) the status of obtaining any necessary or desirable authorizations (including
consents) from any competent judicial body, governmental authority, banking, taxation,
supervisory, or regulatory body or any stock exchange;

                         (iv)    (A) support and take all commercially reasonable actions necessary
to facilitate the solicitation, confirmation, and consummation of the Plan, as applicable, and the
transactions contemplated thereby, (B) not take any action directly or indirectly that is materially
inconsistent with, or that would reasonably be expected to prevent, interfere with, delay, or impede
the confirmation and consummation of the Plan, and (C) not, nor encourage any other person to,
take any action which would, or would reasonably be expected to, breach or be inconsistent with

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this Agreement or delay, impede, appeal, or take any other negative action, directly or indirectly,
to interfere with the acceptance or implementation of the Plan;

                     (v)    maintain good standing under the laws of the state in which each
Company Entity is incorporated or organized;

                      (vi)    if the Company knows of a material breach by any Consenting Party
of such Consenting Party’s representations or warranties set forth in this Agreement or of a breach
by any Consenting Party of such Consenting Party’s obligations or covenants set forth in this
Agreement, furnish prompt written notice (and in any event within three business days of such
actual knowledge) to counsel to the Ad Hoc Groups;

                       (vii) to the extent any legal or structural impediment arises that would
prevent, hinder, or delay the consummation of the Restructuring contemplated herein, support and
take all steps reasonably necessary and desirable to address any such impediment;

                       (viii) prepare or cause to be prepared the Definitive Documents
(including, without limitation, all relevant motions, applications, orders, agreements and other
documents), each of which, for the avoidance of doubt, shall contain terms and conditions
consistent with this Agreement, and use good faith efforts to provide draft copies of all Definitive
Documents at least two (2) business days prior to the date when the Company intends to file or
execute such document and shall consult in good faith with such parties regarding the form and
substance of such Definitive Document or any such proposed filing with the Bankruptcy Court.
The Company will provide draft copies of all other material pleadings the Company intends to file
with the Bankruptcy Court to counsel to the Ad Hoc Groups, no later than two (2) business days
prior to filing such pleading to the extent reasonably practicable and shall consult in good faith
with such counsel regarding the form and substance of any such proposed pleading;

                      (ix)   file such “first day” motions and pleadings determined by the
Company to be necessary, in form and substance reasonably acceptable to the Required
Consenting First Lien Noteholders, the Required Consenting 1.5L Noteholders and the Required
Consenting Crossholder Noteholders, and to seek interim and final (to the extent necessary) orders,
in form and substance reasonably acceptable to the Required Consenting First Lien Noteholders,
the Required Consenting 1.5L Noteholders and the Required Consenting Crossholder Noteholders,
from the Bankruptcy Court approving the relief requested in such “first day” motions;

                      (x)    timely file a formal objection, in form and substance reasonably
acceptable to the Required Consenting First Lien Noteholders, the Required Consenting 1.5L
Noteholders and the Required Consenting Crossholder Noteholders, to any motion filed with the
Bankruptcy Court by a third party seeking the entry of an order (A) directing the appointment of a
trustee or examiner (with expanded powers beyond those set forth in sections 1106(a)(3) and (4)
of the Bankruptcy Code), (B) converting the Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code, or (C) dismissing the Chapter 11 Cases;

                       (xi)   not seek or solicit any Alternative Transaction;


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                       (xii) support and complete the Restructuring and all other actions
contemplated in connection therewith and under the Definitive Documents, including support and
take all actions as are reasonably necessary and appropriate to obtain any and all required
regulatory and/or third-party approvals to consummate the Restructuring;

                     (xiii) timely file a formal objection, in form and substance reasonably
acceptable to the Required Consenting First Lien Noteholders, the Required Consenting 1.5L
Noteholders and the Required Consenting Crossholder Noteholders, to any motion filed with the
Bankruptcy Court by a third party seeking the entry of an order modifying or terminating the
Company’s exclusive right to file and/or solicit acceptances of a plan reorganization, as applicable;
and

                       (xiv) (A) operate the business of the Company and its direct and indirect
subsidiaries in the ordinary course in a manner that is consistent with this Agreement, past
practices, and to preserve intact the Company’s business organization and relationships with third
parties (including lessors, licensors, suppliers, distributors and customers) and employees, (B)
subject to applicable non-disclosure agreements and the terms thereof, keep advisors to the Ad
Hoc Groups reasonably informed about the operations of the Company and its direct and indirect
subsidiaries, and (C) promptly notify advisors to the Ad Hoc Groups of any material governmental
or third party complaints, litigations, investigations or hearings; and

                       (xv) provide prompt written notice to counsel to the Ad Hoc Groups
between the date hereof and the Effective Date of (A) the occurrence of a Termination Event;
(B) any matter or circumstance which the Company knows, or suspects is likely, to be a material
impediment to the implementation or consummation of the Restructuring; or (C) if any Person has
challenged the validity or priority of, or has sought to avoid, any lien securing the 1L Notes, the
1.5L Notes or the 2L Notes pursuant to a pleading filed with the Bankruptcy Court.

              b.      Negative Covenants. The Company agrees that, for the duration of the
Support Period, the Company shall not take any action materially inconsistent with, or omit to take
any action required by, this Agreement, the Plan (if applicable), or any of the other Definitive
Documents.

               7.      Termination of Agreement.

               a.      Consenting Creditor Termination Events. This Agreement may be
terminated by the Required Consenting First Lien Noteholders, the Required Consenting 1.5L
Noteholders, or the Required Consenting Crossholder Noteholders, by the delivery to the
Company and the other Consenting Parties of a written notice in accordance with Section 22
hereof, solely as to the Consenting Creditors delivering such notice, upon the occurrence and
continuation of any of the following events (each, a “Consenting Creditor Termination Event”):

                      (i)     the breach by any Company Entity or any Consenting Party of (A)
any affirmative or negative covenant contained in this Agreement or (B) any other obligations of
such breaching Party set forth in this Agreement, in each case, in any material respect and which
breach remains uncured (to the extent curable) for a period of ten (10) business days following the

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Company’s or the Consenting Party’s (as applicable) receipt of notice pursuant to Section 22
hereof.

                      (ii)    any representation or warranty in this Agreement made by any
Company Entity or any Consenting Party shall have been untrue in any material respect when
made or shall have become untrue in any material respect, and such breach remains uncured (to
the extent curable) for a period of ten (10) business days following the Company’s or the
Consenting Party’s (as applicable) receipt of notice pursuant to Section 22 hereof;

                       (iii) any Company Entity or any Consenting Party files any motion,
pleading, or related document with the Bankruptcy Court that is materially inconsistent with this
Agreement, the Term Sheet, or the Definitive Documents, and such motion, pleading, or related
document has not been withdrawn ten (10) business days of the Company or such Consenting
Party receiving written notice in accordance with Section 22 that such motion, pleading, or related
document is materially inconsistent with this Agreement;

                       (iv)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining
the consummation of any material portion of the Restructuring or rendering illegal the Plan or any
material portion thereof, and either (A) such ruling, judgment, or order has been issued at the
request of or with the acquiescence of any Company Entity or any Consenting Party, or (B) in all
other circumstances, such ruling, judgment, or order has not been reversed or vacated within thirty
(30) calendar days after such issuance;

                       (v)     the Bankruptcy Court (or other court of competent jurisdiction)
enters an order (A) directing the appointment of an examiner with expanded powers or a trustee in
any of the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to cases under chapter 7
of the Bankruptcy Code, (C) dismissing any of the Chapter 11 Cases, or (D) the effect of which
would render the Plan incapable of consummation on the terms set forth in this Agreement;

                         (vi)   any Company Entity or any Consenting Party files or supports (or
fails to timely object to) another party in filing (A) a motion or pleading challenging the amount,
validity, or priority of any Claims held by any Consenting Creditor against the Company (or any
liens securing such Claims), (B) any plan of reorganization, liquidation, or sale of all or
substantially all of the Company’s assets other than the Plan, or (C) a motion or pleading asserting
(or seeking standing to assert) any purported claims or causes of action against any of the
Consenting Creditors, which event remains uncured for a period of ten (10) business days
following the Company’s or Consenting Party’s (as applicable) receipt of notice pursuant to
Section 22 hereof;

                       (vii) the Bankruptcy Court enters an order providing relief against any
Consenting Creditor with respect to any of the causes of action or proceedings specified in
Section 7(a)(vi)(A) or (C);

                       (viii) (A) any Definitive Document filed by the Company or any
Consenting Party, or any related order entered by the Bankruptcy Court, in the Chapter 11 Cases,
is inconsistent with the terms and conditions set forth in this Agreement or is otherwise not in
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accordance with this Agreement, or (B) any of the terms or conditions of any of the Definitive
Documents is waived, amended, supplemented, or otherwise modified in any material respect
without the prior written consent of the Required Consenting First Lien Noteholders, the Required
Consenting 1.5L Noteholders and the Required Consenting Crossholder Noteholders (or such
parties as may be required by the terms of such Definitive Document, if then effective), in each
case, which remains uncured for ten (10) Business Days after the receipt by the Company of
written notice delivered in accordance herewith;

                       (ix)   any of the Milestones have not been achieved, extended, or waived
within three (3) business days after such Milestone;

                       (x)     any termination or acceleration of the DIP Facility;

                       (xi)   any termination event in favor of the Required Consenting First Lien
Noteholders, the Required Consenting 1.5L Noteholders, or the Required Consenting Crossholder
Noteholders, or event of default by the Company under the RSA Order, the Equity Backstop
Commitment Agreement, the BCA Approval Order, the Debt Backstop Documents, or the Debt
Backstop Order, as applicable, that has not been waived or cured (to the extent curable) prior to
the expiration of any applicable grace periods thereunder;

                      (xii) if any Company Entity (A) withdraws the Plan, (B) publicly
announces its intention not to support the Plan, (C) files a motion with the Bankruptcy Court
seeking the approval of an Alternative Transaction, or (D) agrees to pursue (including, for the
avoidance of doubt, as may be evidenced by a term sheet, letter of intent, or similar document
executed by a Company Entity) or publicly announces its intent to pursue an Alternative
Transaction;

                      (xiii) the Company files or announces that it will file any motion or
application seeking authority to sell any material assets without the prior written consent of the
Required Consenting First Lien Noteholders, the Required Consenting 1.5L Noteholders and the
Required Consenting Crossholder Noteholders;

                     (xiv) the Company terminates any of its obligations under and in
accordance with Sections 7(b) or (d), as applicable, of this Agreement;

                        (xv) the Required Consenting First Lien Noteholders, the Required
Consenting 1.5L Noteholders or the Required Consenting Crossholder Noteholders terminate any
of their respective obligations under and in accordance with this Section 7(a) or (d), as applicable;

                       (xvi) the Bankruptcy Court enters an order, or the Company files a motion
seeking an order (without the prior written consent of the Required Consenting First Lien
Noteholders, the Required Consenting 1.5L Noteholders and the Required Consenting Crossholder
Noteholders), (i) converting one or more of the Chapter 11 Cases to a case under chapter 7 of the
Bankruptcy Code, (ii) appointing an examiner with expanded powers beyond those set forth in
sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in one or more of the Chapter 11
Cases, (iii) denying the entry of the RSA Order, the BCA Approval Order, or the Debt Backstop

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Order, or (iv) making a finding of fraud, dishonesty or misconduct by any executive, officer or
director of the Company, regarding or relating to the Company;

                      (xvii) the issuance by any governmental authority, including the
Bankruptcy Court, any regulatory authority or any other court of competent jurisdiction, of any
ruling or order enjoining the consummation of the Plan; provided, however, that the Company
shall have five (5) business days after the issuance of such ruling or order to obtain relief that
would allow consummation of the Plan in a manner that (A) does not prevent or diminish in a
material way compliance with the terms of this Agreement, and (B) is reasonably acceptable to the
Required Consenting First Lien Noteholders, the Required Consenting 1.5L Noteholders and the
Required Consenting Crossholder Noteholders;

                         (xviii) without the prior consent of the Required Consenting First Lien
Noteholders, the Required Consenting 1.5L Noteholders, and the Required Consenting
Crossholder Noteholders, the Company or any of the Company’s foreign subsidiaries or affiliates
(A) voluntarily commences any case or files any petition seeking bankruptcy, winding up,
dissolution, liquidation, administration, moratorium, reorganization or other relief under any
federal, state, or foreign bankruptcy, insolvency, administrative receivership or similar law now or
hereafter in effect except as provided in this Agreement, (B) consents to the institution of, or fails
to contest in a timely and appropriate manner, any involuntary proceeding or petition described
above, (C) files an answer admitting the material allegations of a petition filed against it in any
such proceeding, (D) applies for or consents to the appointment of a receiver, administrator,
administrative receiver, trustee, custodian, sequestrator, conservator or similar official, (E) makes
a general assignment or arrangement for the benefit of creditors or (F) takes any corporate action
for the purpose of authorizing any of the foregoing;

                       (xix) the Bankruptcy Court enters an order terminating any Company
Entity’s exclusive right to file and/or solicit acceptances of a plan of reorganization (including the
Plan);

                       (xx)    the Company exercises its fiduciary out in accordance with
Section 7(b) hereof;

                       (xxi)   the Bankruptcy Court enters an order denying confirmation of the
Plan;

                       (xxii) an order confirming the Plan is reversed or vacated;

                     (xxiii) any court of competent jurisdiction has entered a final, non-
appealable judgment or order declaring this Agreement to be unenforceable;

                        (xxiv) an order is entered by the Bankruptcy Court granting relief from the
automatic stay to the holder or holders of any security interest to permit foreclosure (or the granting
of a deed in lieu of foreclosure on the same) on any of the Company’s assets (other than in respect
of insurance proceeds or with respect to assets having a fair market value of less than $15,000,000
in the aggregate); or

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                       (xxv) the failure of the Consenting Creditors to hold, in the aggregate, at
least: (A) 66 2/3% of the aggregate principal amount outstanding of the 1L Notes; (B) 66 2/3% of
the aggregate principal amount outstanding of the 1.5L Notes; and (C) 66 2/3% of the aggregate
principal amount outstanding of the 2L Notes and the Unsecured Notes, in each case, at any time
after April 5, 2019.

Notwithstanding the foregoing, if any Consenting Creditor Termination Event is caused by any
Consenting Party, this Agreement shall be terminable solely with respect to that Consenting Party.

               b.     Company Termination Events. This Agreement may be terminated by the
Company by the delivery to counsel to the Consenting Parties of a written notice in accordance
with Section 22 hereof, upon the occurrence and continuation of any of the following events (each,
a “Company Termination Event”):

                        (i)    the breach in any material respect by Consenting Creditors holding
(A) an amount of 1L Notes that would result in non-breaching Consenting Creditors holding less
than 66 2/3% in aggregate principal amount outstanding of the 1L Notes, (B) an amount of 1.5L
Notes that would result in non-breaching Consenting Creditors holding less than 66 2/3% in
aggregate principal amount outstanding of the 1.5L Notes, or (C) an amount of 2L Notes and
Unsecured Notes that would result in non-breaching Consenting Creditors holding less than 66
2/3% in aggregate principal amount outstanding of 2L Notes and Unsecured Notes, in each case
with respect to any of the representations, warranties, or covenants of such Consenting Creditors
set forth in this Agreement and which breach remains uncured for a period of ten (10) business
days after the receipt by the applicable Consenting Creditor from the Company of written notice
of such breach, which written notice will set forth in detail the alleged breach;

                       (ii)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining
the consummation of or rendering illegal the Plan or any material portion thereof, and either
(A) such ruling, judgment, or order has been issued at the request of (or agreement by) the
Consenting Parties, or (B) in all other circumstances, such ruling, judgment, or order has not been
reversed or vacated within thirty (30) calendar days after such issuance;

                       (iii) the failure of the Consenting Creditors to hold, in the aggregate, at
least: (A) 66 2/3% of the aggregate principal amount outstanding of the 1L Notes; (B) 66 2/3% of
the aggregate principal amount outstanding of the 1.5L Notes; (C) 66 2/3% of the aggregate
principal amount outstanding of the 2L Notes and the Unsecured Notes, in each case, at any time
after April 5, 2019;

                       (iv)  the failure of the Consenting Creditors (as a group, which is not
required to include each Consenting Creditor) to execute commitment agreements in respect of the
entire amount of the Rights Offering and the Exit Facility (each as defined in the Term Sheet) on
or before April 15, 2019;

                     (v)    any termination event in favor of the Company or event of default
by a party other than the Company under the RSA Order, the Equity Backstop Commitment
Agreement, the BCA Approval Order, the Debt Backstop Documents, or the Debt Backstop Order,
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as applicable, that has not been waived or cured (to the extent curable) prior to the expiration of
any applicable grace periods thereunder;

                       (vi)    the Bankruptcy Court (or other court of competent jurisdiction)
enters an order (A) directing the appointment of an examiner with expanded powers or a trustee in
any of the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to cases under chapter 7
of the Bankruptcy Code, (C) dismissing any of the Chapter 11 Cases, or (D) the effect of which
would render the Plan incapable of consummation on the terms set forth in this Agreement;

                        (vii)   the board of directors or managers or similar governing body, as
applicable, of any Company Entity determines that continued performance under this Agreement
(including taking any action or refraining from taking any action) would be inconsistent with the
exercise of its fiduciary duties under applicable law (as reasonably determined by such board or
body in good faith after consultation with legal counsel);

                       (viii) the Bankruptcy Court enters an order denying confirmation of the
Plan;

                       (ix)   an order confirming the Plan is reversed or vacated; or

                     (x)     any court of competent jurisdiction has entered a final, non-
appealable judgment or order declaring this Agreement to be unenforceable.

               c.     Consenting Sponsor Termination Events. This Agreement may be
terminated by the Consenting Sponsors, solely as to the Consenting Sponsors, by the delivery to
counsel to the Company and the Consenting Parties of a written notice in accordance with
Section 22 hereof, upon the occurrence and continuation of any of the following events (each, a
“Consenting Sponsor Termination Event”):

                       (i)     the breach in any material respect by Consenting Creditors holding
(A) an amount of 1L Notes that would result in non-breaching Consenting Creditors holding less
than 66 2/3% in aggregate principal amount outstanding of the 1L Notes, (B) an amount of 1.5L
Notes that would result in non-breaching Consenting Creditors holding less than 66 2/3% in
aggregate principal amount outstanding of the 1.5L Notes, or (C) an amount of 2L Notes and
Unsecured Notes that would result in non-breaching Consenting Creditors holding less than
66 2/3% in aggregate principal amount outstanding of 2L Notes and Unsecured Notes, in each case
with respect to any of the representations, warranties, or covenants of such Consenting Creditors
set forth in this Agreement and which breach remains uncured for a period of ten (10) business
days after the receipt by the applicable Consenting Creditor from the Consenting Sponsors of
written notice of such breach, which written notice will set forth in detail the alleged breach;

                       (ii)    the issuance by any governmental authority, including any
regulatory authority or court of competent jurisdiction, of any ruling, judgment, or order enjoining
the consummation of or rendering illegal the Plan or any material portion thereof, and either
(A) such ruling, judgment, or order has been issued at the request of (or agreement by) the
Consenting Creditors, or (B) in all other circumstances, such ruling, judgment, or order has not
been reversed or vacated within thirty (30) calendar days after such issuance;
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                       (iii) the failure of the Consenting Creditors to hold, in the aggregate, at
least: (A) 66 2/3% of the aggregate principal amount outstanding of the 1L Notes; (B) 66 2/3% of
the aggregate principal amount outstanding of the 1.5L Notes; and (C) 66 2/3% of the aggregate
principal amount outstanding of the 2L Notes and the Unsecured Notes, in each case, at any time
after April 5, 2019;

                       (iv)    the Bankruptcy Court (or other court of competent jurisdiction)
enters an order (A) directing the appointment of an examiner with expanded powers or a trustee in
any of the Chapter 11 Cases, (B) converting any of the Chapter 11 Cases to cases under chapter 7
of the Bankruptcy Code, (C) dismissing any of the Chapter 11 Cases, or (D) the effect of which
would render the Plan incapable of consummation on the terms set forth in this Agreement;

                       (v)    (A) any Definitive Document filed by the Company or any
Consenting Party, or any related order entered by the Bankruptcy Court, in the Chapter 11 Cases,
is inconsistent with the terms and conditions set forth in this Agreement or is otherwise not in
accordance with this Agreement, or (B) any of the terms or conditions of any of the Definitive
Documents is waived, amended, supplemented, or otherwise modified in any material respect
without the prior written consent of the Consenting Sponsors (or such parties as may be required
by the terms of such Definitive Document, if then effective), in each case, which remains uncured
for five (5) Business Days after the receipt by the Company of written notice delivered in
accordance herewith;

                     (vi)    the Company terminates any of its obligations under and in
accordance with Sections 7(b) or (d), as applicable, of this Agreement;

                        (vii) the Required Consenting First Lien Noteholders, the Required
Consenting 1.5L Noteholders or the Required Consenting Crossholder Noteholders terminate any
of their respective obligations under and in accordance with this Section 7(a) or (d), as applicable;

                       (viii) the Bankruptcy Court enters an order denying confirmation of the
Plan;

                       (ix)    an order confirming the Plan is reversed or vacated; or

                     (x)     any court of competent jurisdiction has entered a final, non-
appealable judgment or order declaring this Agreement to be unenforceable.

              d.     Mutual Termination. This Agreement may be terminated in writing by
mutual agreement of the Company Entities, the Required Consenting First Lien Noteholders, the
Required Consenting 1.5L Noteholders, the Required Consenting Crossholder Noteholders and
the Consenting Sponsors (a “Mutual Termination Event”).

                e.      Individual Termination. Any individual Consenting Party may terminate
this Agreement, as to itself only, by the delivery to counsel to the Company and the Consenting
Parties of a written notice in accordance with Section 22, upon the occurrence and continuation of
any of the following events (each, an “Individual Termination Event”):


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                           (i) this Agreement is amended without its consent in such a way as to
           alter any of the economic terms thereof in a manner that is disproportionately adverse
           to such Consenting Party as compared to similarly situated Consenting Parties; or

                          (ii) the Effective Date shall not have occurred by the date that is 270
           calendar days after the Petition Date.

               f.       Automatic Termination. This Agreement shall terminate automatically
without any further required action or notice upon the occurrence of the Effective Date
(collectively with the Consenting Creditor Termination Events, the Company Termination Events,
the Consenting Sponsor Termination Events, the Mutual Termination Event, and the Individual
Termination Event, the “Termination Events”).

                 g.      Effect of Termination. Upon any termination of this Agreement that is not
limited in its effectiveness to an individual Party or Parties in accordance with Section 7, this
Agreement shall forthwith become null and void and of no further force or effect as to any Party,
and each Party shall, except as provided otherwise in this Agreement, be immediately released
from its liabilities, obligations, commitments, undertakings, and agreements under or related to
this Agreement and shall have all the rights and remedies that it would have had and shall be
entitled to take all actions, whether with respect to the Plan or otherwise, that it would have been
entitled to take had it not entered into this Agreement; provided that in no event shall any such
termination relieve a Party from liability for its breach or non-performance of its obligations
hereunder that arose prior to the date of such termination or any obligations hereunder that
expressly survive termination of this Agreement under Section 16 hereof, provided further,
however, that notwithstanding anything to the contrary herein, the right to terminate this
Agreement under this Section 7 shall not be available to any Party whose failure to fulfill any
material obligation under this Agreement has been the cause of, or resulted in, the occurrence of
the applicable Termination Event. Upon the occurrence of a validly-exercised Termination Event
prior to entry of the Confirmation Order by the Bankruptcy Court, any and all consents or ballots
tendered by the terminated Party shall be deemed, for all purposes, to be null and void ab initio
and shall not be considered or otherwise used in any manner by any Party in connection with the
Restructuring, this Agreement, or otherwise. Upon the termination of this Agreement that is
limited in its effectiveness as to an individual Party or Parties in accordance with Section 7: (i) this
Agreement shall become null and void and of no further force or effect with respect to the
terminated Party or Parties, who shall be immediately released from its or their liabilities,
obligations, commitments, undertakings, and agreements under or related to this Agreement and
shall have all the rights and remedies that it or they would have had and such Party or Parties shall
be entitled to take all actions, whether with respect to the Plan or otherwise, that it or they would
have been entitled to take had it or they not entered into this Agreement; provided, the terminated
Party or Parties shall not be relieved of any liability for breach or non-performance of its or their
obligations hereunder that arose prior to the date of such termination or any obligations hereunder
that expressly survive termination of this Agreement under Section 16 hereof; and (ii) this
Agreement shall remain in full force and effect with respect to all Parties other than the terminated
Party or Parties.

           h.       Automatic Stay. The Company Entities acknowledge that, after the
commencement of the Chapter 11 Cases, the giving of notice of default or termination by any other
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Party pursuant to this Agreement shall not be a violation of the automatic stay under section 362
of the Bankruptcy Code, and the Company Entities hereby waive, to the fullest extent permitted
by law, the applicability of the automatic stay as it relates to any such notice being provided;
provided that nothing herein shall prejudice any Party’s rights to argue that the giving of notice of
default or termination was not proper under the terms of this Agreement.

               8.      Definitive Documents; Good Faith Cooperation; Further Assurances.

               a.       Subject to the terms and conditions described herein, during the Support
Period, each Party, severally and not jointly, hereby covenants and agrees to reasonably cooperate
with each other in good faith in connection with the negotiation, drafting, execution (to the extent
such Party is a party thereto), and delivery of the Definitive Documents. Furthermore, subject to
the terms and conditions hereof, each of the Parties shall take such action as may be reasonably
necessary or reasonably requested by the other Parties to carry out the purposes and intent of this
Agreement, including making and filing any required regulatory filings (provided that no
Consenting Party shall be required to incur any cost, expense, or liability in connection therewith
unless such Consenting Party shall have received an assurance of reimbursement satisfactory to
it).

               b.      Each Consenting Creditor that is a Backstop Party entitled to receive a
Structuring Premium and the Company hereby agree to work in good faith to negotiate and execute
the Equity Backstop Agreement and the Debt Backstop Agreement as promptly as practicable after
the date of this Agreement, with each such agreement to be in customary form for agreements of
such type. The Consenting Creditors and the Company hereby acknowledge and agree that the
economic terms regarding the Equity Backstop Agreement and the Debt Backstop Agreement,
including the associated fees and structuring premiums, shall be as described in the Term Sheet.
In the event that any Backstop Party does not execute and deliver the Equity Backstop Agreement
and/or the Debt Backstop Agreement after such agreements have been negotiated pursuant to the
terms of this Agreement and the Term Sheet, any such non-executing Backstop Party shall not be
entitled to receive any fees or structuring premiums pursuant to such agreements and (i) all
commitments (along with all associated fees and premiums) allocable to any such non-executing
Backstop Party under the Equity Backstop Agreement and/or the Debt Backstop Agreement, as
applicable, will be offered on a pro rata basis (based on the pro forma equity splits among the
Backstop Parties as described in the Term Sheet), to the other Equity Backstop Parties and/or Debt
Backstop Parties, as applicable, and, if not fully subscribed after being offered to the other Equity
Backstop Parties and/or Debt Backstop Parties, will be offered to on a pro rata basis to all
Consenting Creditors (based on the pro forma equity splits among the Consenting Creditors as
described in the Term Sheet) (ii) all structuring premiums allocable to any such non-executing
Backstop Party under the Equity Backstop Agreement and/or the Debt Backstop Agreement, as
applicable, will be allocated on a pro rata basis (based upon the percentages of the applicable
structuring premium to be received by the Backstop Parties other than any non-executing Backstop
Party) to the other Backstop Parties entitled to receive Equity Backstop Premium and/or Debt
Backstop Obligation Premium, as applicable, as provided in the Term Sheet. The Company and
each Consenting Creditor shall be entitled to all of their rights and remedies hereunder in the event
that any Backstop Party breaches its obligations under this Section 8(b).


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                9.      Representations and Warranties.

                a.      Each Party, severally and not jointly, represents and warrants to the other
Parties that the following statements are true, correct, and complete as of the date hereof (or as of
the date a Consenting Party becomes a party hereto):

                         (i)    such Party is validly existing and in good standing under the laws of
its jurisdiction of incorporation or organization, and has all requisite corporate, partnership, limited
liability company, or similar authority to enter into this Agreement and carry out the transactions
contemplated hereby and perform its obligations contemplated hereunder; and the execution and
delivery of this Agreement and the performance of such Party’s obligations hereunder have been
duly authorized by all necessary corporate, limited liability company, partnership, or other similar
action on its part;

                         (ii)   the execution, delivery, and performance by such Party of this
Agreement does not and will not (A) violate any provision of law, rule, or regulation applicable to
it, its charter, or bylaws (or other similar governing documents), or (B) conflict with, result in a
breach of, or constitute a default under any material contractual obligation to which it is a party
(provided, however, that with respect to the Company, it is understood that commencing the
Chapter 11 Cases may result in a breach of or constitute a default under such obligations);

                        (iii) the execution, delivery, and performance by such Party of this
Agreement does not and will not require any registration or filing with, consent, or approval of, or
notice to, or other action, with or by, any federal, state, or governmental authority or regulatory
body, except such filings as may be necessary and/or required by the Bankruptcy Court; and

                       (iv)    this Agreement is the legally valid and binding obligation of such
Party, enforceable against it in accordance with its terms, except as enforcement may be limited
by bankruptcy, insolvency, reorganization, moratorium, or other similar laws relating to or limiting
creditors’ rights generally or by equitable principles relating to enforceability or a ruling of the
Bankruptcy Court.

                 b.      Each Consenting Party severally (and not jointly), represents and warrants
to the Company that, as of the date hereof (or as of the date such Consenting Party becomes a party
hereto), such Consenting Party (i) is the beneficial owner of (or investment manager, advisor, or
subadvisor to one or more beneficial owners of) the aggregate principal amount of Claims and/or
Interests set forth below its name on the signature page hereto (or below its name on the signature
page of a Joinder Agreement for any Consenting Party that becomes a Party hereto after the date
hereof), (ii) has, except in the case of Consenting Parties with Repo Securities, with respect to the
beneficial owners of such Claims or Interests (as may be set forth on a schedule to such Consenting
Party’s signature page hereto), (A) sole investment or voting discretion with respect to such Claims
or Interests, (B) full power and authority to vote on and consent to matters concerning such Claims
or Interests, or to exchange, assign, and transfer such Claims or Interests, and (C) full power and
authority to bind or act on the behalf of, such beneficial owners, (iii) other than pursuant to this
Agreement or with respect to Repo Securities, such Claims or Interests are free and clear of any
pledge, lien, security interest, charge, claim, equity, option, proxy, voting restriction, right of first
refusal, or other limitation on disposition or encumbrance of any kind, that would prevent in any
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way such Consenting Party’s performance of its obligations contained in this Agreement at the
time such obligations are required to be performed, and (iv) such Consenting Party is not the
beneficial owner of (or investment manager, advisor, or subadvisor to one or more beneficial
owners of) any other Claims against and/or Interests in any Company Entity. “Repo Securities”
means, with respect to a Consenting Creditor, Claims or Interests that are, on the date hereof,
subject to the terms and conditions of a repurchase agreement, sell/buyback agreement or similar
arrangement (each, a “Repo Agreement”) entered into between, on the one hand, such Consenting
Creditor (or one or more funds which the Consenting Creditor is the discretionary investment
manager, advisor or sub-advisor of) and, on the other hand, a third-party. For the avoidance of
doubt, it is acknowledged and agreed that Repo Securities shall constitute Claims for all purposes
under this Agreement.

                10.     Additional Provisions Regarding Company Entities’ Commitments.

                a.      Nothing in this Agreement shall require any director or officer of any
Company Entity to violate their fiduciary duties to such Company Entity. No action or inaction
on the part of any director or officer of any Company Entity that such directors or officers
reasonably believe is required by their fiduciary duties to such Company Entity shall be limited or
precluded by this Agreement; provided, however, that no such action or inaction shall be deemed
to prevent any of the Consenting Parties from taking actions that they are permitted to take as a
result of such actions or inactions, including terminating their obligations hereunder.

                b.       Notwithstanding anything to the contrary in this Agreement, the Company
Entities shall not, and shall instruct and direct their respective Representatives not to, seek or solicit
any discussions or negotiations with respect to, any Alternative Transaction; provided, however,
that nothing in this Section 10(b) shall limit the Parties’ ability to engage in marketing efforts,
discussions, and/or negotiations with any party regarding refinancing of the Exit Facilities to be
consummated following the Effective Date; provided, further, that (a) if any of the Company
Entities receive a proposal or expression of interest regarding any Alternative Transaction, the
Company Entities shall be permitted to discuss or negotiate the terms of such proposal or
expression of interest and shall promptly notify counsel to the Ad Hoc Group, orally and in writing,
of any such proposal or expression of interest, with such notice to include the material terms
thereof, including (unless prohibited by a separate agreement) the identity of the person or group
of persons involved, and (b) the Company Entities shall promptly furnish counsel to the Ad Hoc
Group with copies of any written offer, oral offer, or any other information that they receive
relating to the foregoing and shall promptly inform counsel to the Ad Hoc Group of any material
changes to such proposals.

                c.     Notwithstanding anything to the contrary herein, nothing in this Agreement
shall create any additional fiduciary obligations on the part of the Company, or the Consenting
Creditors, or any members, partners, managers, managing members, officers, directors,
employees, advisors, principals, attorneys, professionals, accountants, investment bankers,
consultants, agents or other representatives of the same or their respective affiliated entities, in
such person’s capacity as a member, partner, manager, managing member, officer, director,
employee, advisor, principal, attorney, professional, accountant, investment banker, consultant,
agent or other representative of such Party or its affiliated entities, that such entities did not have
prior to the execution of this Agreement.
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              d.      Nothing in this Agreement shall: (i) impair or waive the rights of any
Company Entity to assert or raise any objection permitted under this Agreement in connection
with the Restructuring, or (ii) prevent any Company Entity from enforcing this Agreement or
contesting whether any matter, fact, or thing is a breach of, or is inconsistent with, this Agreement.

               11.     Filings and Public Statements.

                a.      The Company shall submit drafts to counsel to the Consenting Parties of
any press releases, public documents, and any and all filings with the SEC, the Bankruptcy Court,
or otherwise that constitute disclosure of the existence or terms of this Agreement or any
amendment to the terms of this Agreement at least forty-eight hours prior to making any such
disclosure, and shall afford them a reasonable opportunity under the circumstances to comment on
such documents and disclosures and shall consider any such comments in good faith. Except as
required by law or otherwise permitted under the terms of any other agreement between the
Company on the one hand, and any Consenting Party, on the other hand, no Party or its advisors
(including counsel to any Party) shall disclose to any person (including other Consenting Parties),
other than the Company’s advisors, the principal amount or percentage of any Claims or Interests
or any other securities of the Company held by any other Party, in each case, without such Party’s
prior written consent; provided that (i) if such disclosure is required by law, subpoena, or other
legal process or regulation, the disclosing Party shall afford the relevant Party a reasonable
opportunity to review and comment in advance of such disclosure and shall take all reasonable
measures to limit such disclosure (including by way of a protective order) (the expense of which,
if any, shall be borne by the relevant disclosing Party) and (ii) the foregoing shall not prohibit the
disclosure of the aggregate percentage or aggregate principal amount of Claims or Interests held
by all the Consenting Parties collectively. Any public filing of this Agreement, with the
Bankruptcy Court, the SEC or otherwise, shall not include the executed signature pages to this
Agreement. Nothing contained herein shall be deemed to waive, amend or modify the terms of
any confidentiality or non-disclosure agreement between the Company and any Consenting
Creditor.

               12.     Amendments and Waivers.

       During the Support Period, this Agreement, including any exhibits or schedules hereto,
may not be waived, modified, amended, or supplemented except in a writing signed by the
Company Entities, the Required Consenting First Lien Noteholders, the Required Consenting 1.5L
Noteholders, the Required Consenting Crossholder Noteholders and the Consenting Sponsors (as
applicable and to the extent required herein); provided that: (i) any waiver, modification,
amendment, or supplement to Section 7(e) or this Section 12 shall require the prior written consent
of each Party; (ii) any waiver, modification, amendment, or supplement to the definition of
Required Consenting First Lien Noteholders, Required Consenting 1.5L Noteholders or Required
Consenting Crossholder Noteholders shall require the prior written consent of each applicable
Consenting Creditor that is a member of the Ad Hoc Groups; (iii) any waiver, modification,
amendment or supplement to Section 4(c)(ii) of this Agreement or the last paragraph in the section
of the Term Sheet entitled “Equity Backstop Commitment” shall require the consent of each
Consenting Creditor and (iv) any waiver, modification, amendment, or supplement that
disproportionately and adversely affects the economic recoveries or treatment of any Consenting
Party compared to the economic recoveries or treatment set forth in the Term Sheet hereto may
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not be made without the prior written consent of such Consenting Party. Amendments to any
Definitive Document shall be governed as set forth in such Definitive Document. Any consent
required to be provided pursuant to this Section 12 may be delivered by email from counsel.

                13.     Effectiveness.

        This Agreement shall become effective and binding on the Parties on the Agreement
Effective Date, and not before such date; provided that signature pages executed by Consenting
Parties shall be delivered to (a) the Company, other Consenting Parties, and counsel to other
Consenting Parties (if applicable) in a redacted form that removes such Consenting Parties’
holdings of Claims and any schedules to such Consenting Parties’ holdings (if applicable) and
(b) the legal and financial advisors to the Company and the Ad Hoc Groups, respectively, in an
unredacted form.

                14.     Governing Law; Jurisdiction; Waiver of Jury Trial.

                a.       This Agreement shall be construed and enforced in accordance with, and
the rights of the parties shall be governed by, the law of the State of New York, without giving
effect to the conflicts of law principles thereof.

                b.        Each of the Parties irrevocably agrees that any legal action, suit, or
proceeding arising out of or relating to this Agreement brought by any party or its successors or
assigns shall be brought and determined in (a) the Bankruptcy Court, for so long as the Chapter 11
Cases are pending, and (b) otherwise, any federal or state court in the Borough of Manhattan, the
City of New York, and each of the Parties hereby irrevocably submits to the exclusive jurisdiction
of the aforesaid courts for itself and with respect to its property, generally and unconditionally,
with regard to any such proceeding arising out of or relating to this Agreement. Each of the Parties
agrees not to commence any proceeding relating hereto or thereto except in the courts described
above, other than proceedings in any court of competent jurisdiction to enforce any judgment,
decree, or award rendered by any such court as described herein. Each of the Parties further agrees
that notice as provided herein shall constitute sufficient service of process and the Parties further
waive any argument that such service is insufficient. Subject to the foregoing, each of the Parties
hereby irrevocably and unconditionally waives, and agrees not to assert, by way of motion or as a
defense, counterclaim, or otherwise, in any proceeding arising out of or relating to this Agreement,
(i) any claim that it is not personally subject to the jurisdiction of the courts as described herein for
any reason, (ii) that it or its property is exempt or immune from jurisdiction of any such court or
from any legal process commenced in such courts (whether through service of notice, attachment
prior to judgment, attachment in aid of execution of judgment, execution of judgment, or
otherwise) and (iii) that (A) the proceeding in any such court is brought in an inconvenient forum,
(B) the venue of such proceeding is improper, or (C) this Agreement, or the subject matter hereof,
may not be enforced in or by such courts.

          c.   EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY (WHETHER BASED ON CONTRACT, TORT, OR ANY OTHER THEORY). EACH
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PARTY (I) CERTIFIES THAT NO REPRESENTATIVE, AGENT, OR ATTORNEY OF ANY
OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
FOREGOING WAIVER AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES
HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

               15.     Specific Performance/Remedies.

               a.      The Parties agree that irreparable damage would occur if any provision of
this Agreement were not performed in accordance with the terms hereof and that the Parties shall
be entitled to an injunction or injunctions without the necessity of posting a bond to prevent
breaches of this Agreement or to enforce specifically the performance of the terms and provisions
hereof, in addition to any other remedy to which they are entitled at law or in equity. Unless
otherwise expressly stated in this Agreement, no right or remedy described or provided in this
Agreement is intended to be exclusive or to preclude a Party from pursuing other rights and
remedies to the extent available under this Agreement, at law, or in equity.

                b.      Notwithstanding anything to the contrary in this Agreement, none of the
Parties will be liable for, and none of the Parties shall claim or seek to recover, any punitive,
special, indirect or consequential damages or damages for lost profits.

               16.     Survival.

        Notwithstanding the termination of this Agreement pursuant to Section 7 hereof, the
agreements and obligations of the Parties set forth in the following Sections: 7(g), 14, 15, 16, 17,
18, 19, 20, 21, 22, 23, 24, 25, and 27 hereof (and any defined terms used in any such Sections)
shall survive such termination and shall continue in full force and effect for the benefit of the
Parties in accordance with the terms hereof; provided that any liability of a Party for failure to
comply with the terms of this Agreement shall survive such termination.

               17.     Headings.

        The headings of the sections, paragraphs, and subsections of this Agreement are inserted
for convenience only and shall not affect the interpretation hereof or, for any purpose, be deemed
a part of this Agreement.

               18.     Successors and Assigns; Severability; Several Obligations.

        This Agreement is intended to bind and inure to the benefit of the Parties and their
respective successors, permitted assigns, heirs, executors, administrators, and representatives;
provided that nothing contained in this Section 18 shall be deemed to permit Transfers of interests
in any Claims against or Interests in any Company Entity, other than in accordance with the express
terms of this Agreement. If any provision of this Agreement, or the application of any such
provision to any person or entity or circumstance, shall be held invalid or unenforceable in whole
or in part, such invalidity or unenforceability shall attach only to such provision or part thereof and
the remaining part of such provision hereof and this Agreement shall continue in full force and

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effect so long as the economic or legal substance of the transactions contemplated hereby is not
affected in any manner materially adverse to any Party. Upon any such determination of invalidity,
the Parties shall negotiate in good faith to modify this Agreement so as to effect the original intent
of the Parties as closely as possible in a reasonably acceptable manner in order that the transactions
contemplated hereby are consummated as originally contemplated to the greatest extent possible.
The agreements, representations, and obligations of the Parties are, in all respects, several and
neither joint nor joint and several. For the avoidance of doubt, the obligations arising out of this
Agreement are several and not joint with respect to each Consenting Party, in accordance with its
proportionate interest hereunder, and the Parties agree not to proceed against any Consenting Party
for the obligations of another.

               19.     No Third-Party Beneficiaries.

       Unless expressly stated herein, this Agreement shall be solely for the benefit of the Parties
and no other person or entity shall be a third-party beneficiary hereof.

               20.     Prior Negotiations; Entire Agreement.

        This Agreement, including the exhibits and schedules hereto (including the Term Sheet),
constitutes the entire agreement of the Parties, and supersedes all other prior negotiations, with
respect to the subject matter hereof and thereof, except that the Parties acknowledge that any
confidentiality agreements (if any) heretofore executed between the Company and each
Consenting Party shall continue in full force and effect in accordance with its terms.

               21.     Counterparts.

       This Agreement may be executed in several counterparts, each of which shall be deemed
to be an original, and all of which together shall be deemed to be one and the same agreement.
Execution copies of this Agreement may be delivered by facsimile, electronic mail, or otherwise,
which shall be deemed to be an original for the purposes of this paragraph.

               22.     Notices.

        All notices hereunder shall be deemed given if in writing and delivered, if
contemporaneously sent by electronic mail, facsimile, courier or by registered or certified mail
(return receipt requested) to the following addresses and facsimile numbers:

(1)     If to the Company, to:

Hexion Inc.
180 East Broad Street
Columbus, Ohio 43215
Attention:    Douglas Johns




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with a copy to:

Latham & Watkins LLP
885 Third Avenue
New York, New York 10022
Attention:   George Davis (george.davis@lw.com)
             Andrew Parlen (andrew.parlen@lw.com)

- and -

Latham & Watkins LLP
330 North Wabash, Suite 2800
Chicago, IL 60611
Attention:    Caroline Reckler (caroline.reckler@lw.com)
              Jason Gott (jason.gott@lw.com)

(2) If to a Consenting Creditor, to the addresses or facsimile numbers set forth below following
such Consenting Creditor’s signature to this Agreement or on the applicable Joinder Agreement
(if any), as the case may be,

with a copy to (solely in the case of Consenting Creditors that are members of the First Lien Ad
Hoc Group):

Akin Gump Strauss Hauer & Feld LLP
One Bryant Park
New York, New York 10036
Email: idizengoff@akingump.com; pdublin@akingump.com; dfisher@akingump.com and
nmoss@akingump.com
Attention: Ira S. Dizengoff, Esq., Philip C. Dublin, Esq., Daniel Fisher, Esq. and Naomi Moss,
Esq.

with a copy to (solely in the case of Consenting Creditors that are members of the 1.5 Lien Ad
Hoc Group):

Jones Day
250 Vesey Street
New York, NY 10281
Attention:    Sidney P. Levinson (slevinson@jonesday.com)
              Jeremy D. Evans (jdevans@jonesday.com)

with a copy to (solely in the case of Consenting Creditors that are members of the Crossholder
Ad Hoc Group):

Milbank LLP
55 Hudson Yards
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New York, New York 10001
Attention:    Samuel A. Khalil (skhalil@milbank.com)
              Matthew L. Brod (mbrod@milbank.com)

(3) If to a Consenting Sponsor, to the addresses or facsimile numbers set forth below following
such Consenting Sponsor’s signature to this Agreement or on the applicable Joinder Agreement
(if any), as the case may be.

      Any notice given by electronic mail, facsimile, delivery, mail, or courier shall be effective
when received.

               23.    Reservation of Rights; No Admission.

              a.     Nothing contained herein shall (i) limit (A) the ability of any Party to
consult with other Parties, or (B) the rights of any Party under any applicable bankruptcy,
insolvency, foreclosure, or similar proceeding, including the right to appear as a party in interest
in any matter to be adjudicated in order to be heard concerning any matter arising in the
Chapter 11 Cases, in each case, so long as such consultation or appearance is consistent with such
Party’s obligations hereunder; (ii) limit the ability of any Consenting Party to sell or enter into
any transactions in connection with the Claims, or any other claims against or interests in the
Company, subject to the terms of Section 4(b) hereof; or (iii) constitute a waiver or amendment
of any provision of any applicable credit agreement or indenture or any agreements executed in
connection with such credit agreement or indenture.

                b.     Except as expressly provided in this Agreement, nothing herein is intended
to, or does, in any manner waive, limit, impair, or restrict the ability of each of the Parties to
protect and preserve its rights, remedies, and interests, including its claims against any of the
other Parties (or their respective affiliates or subsidiaries) or its full participation in any
bankruptcy case filed by the Company or any of its affiliates and subsidiaries. This Agreement
is part of a proposed settlement of matters that could otherwise be the subject of litigation among
the Parties. Pursuant to Rule 408 of the Federal Rule of Evidence, any applicable state rules of
evidence, and any other applicable law, foreign or domestic, this Agreement and all negotiations
relating thereto shall not be admissible into evidence in any proceeding other than a proceeding
to enforce its terms. This Agreement shall in no event be construed as or be deemed to be
evidence of an admission or concession on the part of any Party of any claim or fault or liability
or damages whatsoever. Each of the Parties denies any and all wrongdoing or liability of any
kind and does not concede any infirmity in the claims or defenses which it has asserted or could
assert.

               24.    Relationship Among Consenting Parties.

        Notwithstanding anything to the contrary herein, the duties and obligations of the
Consenting Creditors under this Agreement shall be several, not joint. It is understood and agreed
that no Consenting Creditor has any fiduciary duty, duty of trust or confidence in any kind or form
with any other Consenting Creditor, the Company or any other stakeholder of the Company and,
except as expressly provided in this Agreement, there are no commitments among or between
them. In this regard, it is understood and agreed that any Consenting Party may trade in the debt
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of the Company without the consent of the Company or any other Consenting Party, subject to
applicable securities laws, the terms of this Agreement, and any Confidentiality Agreement entered
into with the Company; provided that no Consenting Party shall have any responsibility for any
such trading by any other Person by virtue of this Agreement. No prior history, pattern, or practice
of sharing confidences among or between the Consenting Parties shall in any way affect or negate
this understanding and agreement.

               25.     No Solicitation; Representation by Counsel; Adequate Information.

               a.     This Agreement is not and shall not be deemed to be a solicitation for votes
in favor of the Plan in the Chapter 11 Cases. The acceptances of the Consenting Parties with
respect to the Plan will not be solicited until such Consenting Parties has received the Disclosure
Statement and related ballots and solicitation materials.

               b.     Each Party acknowledges that it has had an opportunity to receive
information from the Company and that it has been represented by counsel in connection with
this Agreement and the transactions contemplated hereby. Accordingly, any rule of law or any
legal decision that would provide any Party with a defense to the enforcement of the terms of this
Agreement against such Party based upon lack of legal counsel shall have no application and is
expressly waived.

               c.       Although none of the Parties intends that this Agreement should constitute,
and they each believe it does not constitute, a solicitation or acceptance of a chapter 11 plan of
reorganization or an offering of securities, each Consenting Party acknowledges, agrees, and
represents to the other Parties that it (i) is an “accredited investor” as such term is defined in Rule
501(a) of the Securities Act of 1933, (ii) understands that any securities to be acquired by it
pursuant to the Plan have not been registered under the Securities Act and that such securities are,
to the extent not acquired pursuant to section 1145 of the Bankruptcy Code, being offered and
sold pursuant to an exemption from registration contained in the Securities Act, based in part
upon such Consenting Party’s representations contained in this Agreement and cannot be sold
unless subsequently registered under the Securities Act or an exemption from registration is
available, and (iii) has such knowledge and experience in financial and business matters that such
Consenting Party is capable of evaluating the merits and risks of the securities to be acquired by
it pursuant to the Plan and understands and is able to bear any economic risks with such
investment.

               26.     Conflicts.

        In the event of any conflict among the terms and provisions of the RSA and of the Term
Sheet, the terms and provisions of the Term Sheet shall control.

               27.     Payment of Fees and Expenses.

        The Company shall pay or reimburse all reasonable and documented fees and out-of-pocket
expenses (expenses when due (including travel costs and expenses) of the attorneys, accountants,
other professionals, advisors, and consultants of the Ad Hoc Groups (whether incurred directly or
on their behalf and regardless of whether such fees and expenses are incurred before or after the
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Petition Date), including the fees and expenses of (a) the following advisors to the First Lien Ad
Hoc Group: (i) Akin Gump Strauss Hauer & Feld, LLP as counsel; (ii) Ashby & Geddes, as local
counsel; and (iii) Evercore Group, L.L.C., as financial advisor; (b) the following advisors to the
1.5 Lien Ad Hoc Group: (i) Jones Day, as counsel; (ii) Young Conaway Stargatt & Taylor LLP,
as local counsel; and (iii) Perella Weinberg Partners, as financial advisor; and (c) the following
advisors to the Crossholder Ad Hoc Group (i) Milbank LLP, as counsel (ii) Morris, Nichols, Arsht
& Tunnell LLP, as local counsel; and (iii) Houlihan Lokey Capital, Inc., as financial advisor; in
each case, including all amounts payable or reimbursable under applicable fee or engagement
letters with the Company (which agreements shall not be terminated by the Company before the
termination of this Agreement); provided, further, that to the extent that the Company terminates
this Agreement under Section 7(b), the Company’s reimbursement obligations under this Section
27 shall survive with respect to any and all fees and expenses incurred on or prior to the date of
termination and such termination shall not automatically terminate any applicable fee or
engagement letters. Each of the RSA Order, the BCA Approval Order and the Debt Backstop
Order shall contain language approving the payment of all such fees and expenses by the Company,
including any back-end, transaction, success or similar fees provided for under the applicable fee
or engagement letters with the Company.

               IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be
executed and delivered by their respective duly authorized officers, solely in their respective
capacity as officers of the undersigned and not in any other capacity, as of the date first set forth
above.


                                     [Signature pages follow.]




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                      EXHIBIT A

                      Term Sheet
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                                                                        EXECUTION VERSION

THIS TERM SHEET IS NOT AN OFFER WITH RESPECT TO ANY SECURITIES OR A
SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE
MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE SECURITIES LAWS
AND/OR PROVISIONS OF THE BANKRUPTCY CODE. NOTHING CONTAINED IN
THIS TERM SHEET SHALL BE AN ADMISSION OF FACT OR LIABILITY OR, UNTIL
THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE ON THE TERMS
DESCRIBED HEREIN AND IN THE RESTRUCTURING SUPPORT AGREEMENT,
DEEMED BINDING ON ANY OF THE PARTIES HERETO.

                               Hexion Restructuring Term Sheet

        This Term Sheet, which is Exhibit A to a Restructuring Support Agreement dated
April 1, 2019, by and among the Debtors, the Consenting Noteholders, and the Consenting
Sponsors (the “Restructuring Support Agreement”), describes the proposed terms of the Debtors’
restructuring (the “Restructuring”). The Debtors will implement the Restructuring through a plan
of reorganization under chapter 11 of the Bankruptcy Code, which shall be consistent with the
terms of this Term Sheet and the Restructuring Support Agreement (as it may be amended or
supplemented from time to time in accordance with the terms of the Restructuring Support
Agreement, the “Plan”), in voluntary chapter 11 cases (the “Chapter 11 Cases”) to be commenced
in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). This
Term Sheet incorporates the rules of construction set forth in section 102 of the Bankruptcy Code.
Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
Restructuring Support Agreement.

        This Term Sheet does not include a description of all of the terms, conditions, and other
provisions that are to be contained in the Definitive Documents, which remain subject to discussion
and negotiation in accordance with the Restructuring Support Agreement. Consummation of the
transactions contemplated by this Term Sheet are subject to (1) the negotiation and execution of
definitive documents evidencing and related to the Restructuring contemplated herein, (2)
satisfaction of all of the conditions in any definitive documentation evidencing the transactions
comprising the Restructuring, and (3) entry of a Final Order of the Bankruptcy Court confirming
the Plan and the satisfaction of any conditions to the effectiveness thereof. The Definitive
Documents will contain terms and conditions that are dependent on each other, including those
described in this Term Sheet.
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                   OVERVIEW OF THE RESTRUCTURING

Summary              Subject in all respects to and as provided by the other terms of this
                     Term Sheet and to the Restructuring Support Agreement, Hexion Inc.
                     and certain of its affiliates (collectively, the “Debtors”) will
                     restructure their funded debt obligations with the proceeds of a new,
                     $1.641 billion Exit Facility and a $300 million common equity
                     Rights Offering available to holders of Notes Claims, in each case
                     backstopped by certain holders of Notes Claims that have executed
                     the Restructuring Support Agreement, as well as with a new Exit
                     ABL Facility and through the issuance of new common equity in
                     exchange for all outstanding Notes Claims, in each case as set forth
                     in this Term Sheet, the Restructuring Support Agreement and the
                     exhibits and schedules annexed thereto. The Debtors’ creditors and
                     equityholders will receive the following treatment:
                             holders of the Debtors’ 1L Notes will receive $1.45 billion in
                              cash (less adequate protection payments reflecting interest on
                              the 1L Notes paid during the Chapter 11 Cases), 72.5% of the
                              New Hexion Common Shares (subject to dilution for the
                              Rights Offering Shares, the equity issued pursuant to the MIP
                              and any equity issued pursuant to the Equity Backstop
                              Premium and the Debt Backstop Premium (collectively, the
                              “Agreed Dilution”)), and 72.5% of the Rights in the Rights
                              Offering;
                             holders of the Debtors’ 1.5L Notes, 2L Notes, and Unsecured
                              Notes will receive 27.5% of the New Hexion Common
                              Shares (subject to the Agreed Dilution) and 27.5% of the
                              Rights in the Rights Offering;
                             general unsecured creditors will be paid in full; and
                             holders of the Debtors’ outstanding common equity will
                              receive no recovery on account of such common equity
                              interests.
                     The Restructuring will be supported through the Debtors’ borrowing
                     under a new, $350 million DIP term facility and a $350 million DIP
                     ABL facility.

Implementation       The Debtors will effectuate the Restructuring through the Chapter 11
                     Cases and Confirmation of the Plan, which shall be consistent with
                     this Term Sheet and subject to the terms and conditions set forth in
                     the Restructuring Support Agreement.

Rights Offering      The Plan will provide for a rights offering (the “Rights Offering”)
                     that will provide Holders of allowed Notes Claims with rights to



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                                   purchase for cash (the “Rights”) their pro rata1 share of $300 million
                                   of New Hexion Common Shares issued on the Effective Date (the
                                   “Rights Offering Shares”) at a 35% discount to a stipulated post-new
                                   money plan total equity value of $1.374 billion (such stipulated
                                   value, the “Plan Equity Value”) (based on a total enterprise value of
                                   $3.1 billion) (the “Rights Offering Purchase Price”).2 Participation
                                   in the Rights Offering will be available to Holders of allowed Notes
                                   Claims, in each case who are eligible to participate in the Rights
                                   Offering under applicable securities laws.
                                   New Hexion Common Shares issued pursuant to the Rights Offering
                                   shall be issued in reliance on the exemption from the registration
                                   requirements of the federal securities laws pursuant to section 1145
                                   of the Bankruptcy Code to the maximum extent permitted by law,
                                   and otherwise pursuant to Section 4(a)(2) and/or Regulation S of the
                                   Securities Act of 1933 (the “Securities Act”), or another available
                                   exemption from registration, as applicable.

    Equity Backstop                The Rights Offering will be backstopped on a several, and not joint
    Obligations                    and several, basis by certain parties to the Restructuring Support
                                   Agreement (the “Equity Backstop Parties”) pursuant to, and in the
                                   amounts set forth in, the schedule attached as Schedule 1 to the
                                   Restructuring Support Agreement (the “Equity Backstop Allocation
                                   Schedule”) subject to negotiation and execution of Definitive
                                   Documentation following receipt of all necessary internal approvals.
                                   Schedule 1 shall be redacted in the Restructuring Support
                                   Agreement, including in any filing with the Bankruptcy Court,
                                   provided that, to the extent required as evidentiary support, it will be
                                   filed under seal with the Bankruptcy Court.
                                   The Rights Offering will be conducted on the terms and conditions
                                   to be set forth in the Equity Backstop Agreement to be entered into
                                   after the date of the Restructuring Support Agreement and an order
                                   of the Bankruptcy Court approving the Debtors’ entry into the Equity
                                   Backstop Agreement (the “BCA Approval Order”).



1
      The Rights shall be allocated on a pro rata basis on the same basis as the allocation of the primary equity among
      holders of allowed 1L Notes Claims and holders of Junior Notes Claims (i.e., 72.5% of the Rights shall be made
      available to holders of allowed 1L Notes Claims and 27.5% to holders of allowed Junior Notes Claims ratably
      based on Claim amounts within the respective classes).
2
      On the closing date of the Rights Offering, each Equity Backstop Party that is a registered investment company
      under the Investment Company Act of 1940, as amended (each an “Investment Company”) shall deliver and pay
      its respective Funding Amount by wire transfer of immediately available funds in U.S. dollars to a segregated
      bank account of the subscription agent for the Rights Offering (the “Rights Offering Subscription Agent”)
      designated by the Rights Offering Subscription Agent in a funding notice delivered to Equity Backstop Parties,
      or make other arrangements that are acceptable to the applicable Investment Company and the Debtors, in
      satisfaction of such Equity Backstop Party’s Rights Offering backstop obligation and its obligations to fully
      exercise its subscription rights in accordance with the Equity Backstop Agreement.


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                      As consideration for the Put Option and the obligations of the Equity
                      Backstop Parties and whether or not the Put Option is exercised,
                      under the terms of the Equity Backstop Agreement, each Equity
                      Backstop Party will receive, based on its Equity Backstop
                      Obligations, its pro rata share of a premium (the “Equity Backstop
                      Premium”), which shall equal 8% of the aggregate Equity Backstop
                      Obligations and which shall be fully earned and nonrefundable upon
                      entry of the BCA Approval Order, payable free and clear of and
                      without withholding on account of any taxes, treated as an
                      administrative expense of each of the Debtor’s Estates, and paid in
                      cash (or, at the option of each Equity Backstop Party, in New Hexion
                      Common Shares at the Plan Equity Value) upon closing of the Rights
                      Offering or in such other circumstances as may be agreed by the
                      parties in the Equity Backstop Agreement.
                      New Hexion Common Shares purchased pursuant to the Equity
                      Backstop Agreement shall be issued in reliance on the exemption
                      from the registration requirements of the federal securities laws
                      pursuant to section 1145 of the Bankruptcy Code to the maximum
                      extent permitted by law, and otherwise in reliance on the exemption
                      from the registration requirements of the federal securities laws
                      pursuant to Section 4(a)(2) and/or Regulation S of the Securities Act,
                      or another available exemption from registration.
                      The Debtors and Reorganized Debtors shall use commercially
                      reasonable efforts to 1) obtain “restricted” and “unrestricted” CUSIP
                      identifiers for the New Hexion Common Shares (as necessary), 2)
                      make the New Hexion Common Shares (including “restricted” and
                      “unrestricted” securities) eligible for clearance and settlement
                      through the Depository Trust Company, and 3) make the New
                      Hexion Common Shares eligible for transfer pursuant to Rule 144A
                      of the Securities Act, including commercially reasonable efforts to
                      comply with the requirements of Rule 144(A)(d)(4). Other than
                      restrictions imposed by state “blue sky” laws and federal securities
                      law and regulations, the New Hexion Common Shares shall not be
                      subject to any transfer restrictions, including, without limitation, any
                      rights of first offer, rights of first refusal, or rights of last offer
                      provisions, other than customary provisions relating to the protection
                      of net operating losses, if any, to be agreed upon by the Required
                      Consenting Noteholders.
Exit Facility         Pursuant to a competitive bidding process among third party
                      financing sources in consultation with the Required Consenting
                      Noteholders, the Debtors shall obtain an exit facility in an amount of
                      not more than $1.641 billion (the “Exit Facility”). Certain
                      Consenting Noteholders (the “Debt Backstop Parties,” and together
                      with the Equity Backstop Parties, the “Backstop Parties”) will
                      backstop the Exit Facility on a several basis in the amounts set forth


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          in, the schedule attached as Schedule 2 to the Restructuring Support
          Agreement (the “Debt Backstop Allocation Schedule”), subject to
          negotiation and execution of Definitive Documents following receipt
          of all necessary internal approvals, and on the following terms, such
          other terms as are on Schedule 4 to the Restructuring Support
          Agreement and on such other terms to be agreed upon by the Debt
          Backstop Parties. Schedules 2 and 4 shall be redacted in the
          Restructuring Support Agreement, including in any filing with the
          Bankruptcy Court, provided that, to the extent required as
          evidentiary support, it will be filed under seal with the Bankruptcy
          Court:
                  Security: First Lien on all US assets (with carve out for ABL
                   collateral), including Principal Properties, if any, plus 100%
                   of foreign sub stock
                  Commitment Length: until December 31, 2019
          As consideration for the obligations of the Debt Backstop Parties,
          and whether or not the Debt Backstop Parties provide the Exit
          Facility, under the terms of the Debt Backstop Agreement to be
          entered into after the date of the Restructuring Support Agreement,
          each Debt Backstop Party will receive, based on its Debt Backstop
          Obligations, its pro rata share of a premium (the “Debt Backstop
          Premium”), which shall consist of a premium equal to 3.375% of the
          aggregate amount of Debt Backstop Obligations, which shall be fully
          earned and nonrefundable upon entry of the DCA Approval Order,
          payable free and clear of and without withholding on account of any
          taxes, treated as an administrative expense of each of the Debtor’s
          Estates, and payable in cash (or, at the option of each Debt Backstop
          Party, in New Hexion Common Shares at the Plan Equity Value)
          upon the closing of the Exit Facility or in such other circumstances
          as may be agreed by the parties in the Debt Backstop Agreement.
          The obligations of the Debt Backstop Parties as set forth above shall
          be referred to as the “Debt Backstop Obligations.”
          In addition, the parties listed on Schedule 3 to the Restructuring
          Support Agreement (the “Additional Put Option Premium
          Schedule”) shall receive as additional consideration for providing the
          Debt Backstop Obligation, their pro rata share of 1.5% of the
          aggregate amount of Debt Backstop Obligation (the “Additional Put
          Option Premium”), which shall be fully earned and nonrefundable
          upon entry of the DCA Approval Order, payable free and clear of and
          without withholding on account of any taxes, treated as an
          administrative expense of each of the Debtor’s Estates, and payable
          in cash upon the closing of the Exit Facility in connection with the
          Restructuring or in such other circumstances as may be agreed by the
          parties in the Debt Backstop Agreement. Schedule 3 shall be


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                        redacted in the Restructuring Support Agreement, including in any
                        filing with the Bankruptcy Court, provided that, to the extent
                        required as evidentiary support, it will be filed under seal with the
                        Bankruptcy Court.

Exit ABL Facility       The Debtors will enter into an undrawn new asset-based revolving
                        loan facility on the Effective Date.

         TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

    Type of Claim                           Treatment                          Impairment
                                                                                 / Voting
DIP Facility Claims     In full satisfaction of each allowed DIP Facility N/A
                        Claim, each Holder thereof will be repaid in full in
                        cash.

Administrative Claims   Except to the extent that a Holder of an allowed N/A
                        Administrative Claim and the Debtor against which
                        such allowed Administrative Claim is asserted agree
                        to less favorable treatment for such Holder, each
                        Holder of an allowed Administrative Claim shall
                        receive, in full satisfaction of its Claim, payment in
                        full in cash.

Priority Tax Claims     In full satisfaction of the allowed Priority Tax N/A
                        Claims, each Holder of an allowed Priority Tax
                        Claim will be paid in full in cash or otherwise
                        receive treatment consistent with the provisions of
                        section 1129(a)(9) of the Bankruptcy Code.

Other Secured Claims    In full satisfaction of each allowed Other Secured Unimpaired;
                        Claim, each Holder thereof will receive (a) payment deemed to
                        in full in cash, (b) delivery of the collateral securing accept
                        any such Claim and payment of any interest required
                        under section 506(b) of the Bankruptcy Code,
                        (c) Reinstatement of such Claim, or (d) other
                        treatment rendering such Claim Unimpaired.

Other Priority Claims   Except to the extent that a Holder of an allowed Unimpaired;
                        Other Priority Claim and the Debtor against which deemed to
                        such allowed Other Priority Claim is asserted agree accept
                        to less favorable treatment for such Holder, in full
                        satisfaction of each allowed Other Priority Claim
                        against the Debtors, each Holder thereof shall
                        receive payment in full in cash or other treatment



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                      rendering such Claim Unimpaired.

1L Notes Claims       In full satisfaction of each allowed 1L Notes Claim, Impaired;
                      each Holder thereof will receive its pro rata share of entitled to
                      (a) cash in the amount of $1,450,000,000 (but less vote
                      the sum of adequate protection payments reflecting
                      interest on the 1L Notes paid during the Chapter 11
                      Cases), (b) 72.5% of New Hexion Common Shares,
                      subject to the Agreed Dilution, and (c) 72.5% of the
                      Rights.

Junior Notes Claims   In full satisfaction of each allowed Junior Notes Impaired;
                      Claim, each Holder thereof will receive its pro rata entitled to
                      share of (a) 27.5% of New Hexion Common Shares, vote
                      subject to the Agreed Dilution; and (b) 27.5% of the
                      Rights.

General Unsecured     Except to the extent that a Holder of an allowed Unimpaired;
Claims                General Unsecured Claim and the Debtor against deemed to
                      which such allowed General Unsecured Claim is accept
                      asserted agree to less favorable treatment for such
                      Holder (including, without limitation, with respect
                      to the Consenting Sponsor Claim Settlement), in full
                      satisfaction of each allowed General Unsecured
                      Claim against the Debtors, each Holder thereof shall
                      receive payment in cash in an amount equal to such
                      allowed General Unsecured Claim in the ordinary
                      course of business in accordance with the terms and
                      conditions of the particular transaction giving rise to
                      such Claim.

Subordinated          No recovery                                              Imparied;
Securities Claims                                                              deemed to
                                                                               reject

Intercompany Claims   No property will be distributed to the Holders of        Unimpaired;
                      allowed Intercompany Claims. Unless otherwise            deemed to
                      provided for under the Plan, each Intercompany           accept; or
                      Claim will either be Reinstated or canceled and          Impaired
                      released at the option of the Debtors with the consent   deemed to
                      of the Required Consenting Noteholders.                  reject

Intercompany          Intercompany Interests shall receive no recovery or      Unimpaired;
Interests             distribution and be Reinstated solely to the extent      deemed to
                      necessary to maintain the Debtors’ corporate             accept; or
                      structure.                                               Impaired;
                                                                               deemed to


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                                                                              reject

Existing Equity        Each Holder of Existing Equity Interests shall Impaired;
Interests              receive no distribution on account of such Existing deemed to
                       Equity Interests.                                   reject.

                   OTHER TERMS OF THE RESTRUCTURING

Executory Contracts    Except as otherwise provided in this Term Sheet or the Restructuring
and Unexpired Leases   Support Agreement, the Debtors shall assume all executory contracts
                       and unexpired leases other than those to be identified on a schedule
                       of rejected contracts included in the Plan Supplement, which shall be
                       consistent with the Restructuring Support Agreement and this Term
                       Sheet, including as specified in “Employee Matters” and
                       “Indemnification of Prepetition Directors, Officers, Managers, et al.”
                       The schedule of rejected contracts included in the Plan Supplement
                       shall be acceptable to the Debtors and reasonably acceptable to the
                       Required Consenting Noteholders.

Charter; Bylaws;     Corporate governance for the Reorganized Debtors, including
Corporate Governance charters, bylaws, a shareholder rights agreement, operating
                     agreements, or other organization or formation documents, as
                     applicable, shall be consistent with section 1123(a)(6) of the
                     Bankruptcy Code, as applicable.
                       The Reorganized Hexion Board shall consist of seven (7) members,
                       which shall be comprised of Craig Rogerson, in his capacity as Chief
                       Executive Officer of the Reorganized Debtors, and six (6) other
                       directors, which shall be selected by a committee consisting of
                       representatives from the following six (6) institutions: Cyrus Capital
                       Partners, L.P.; Monarch Alternative Capital LP; GoldenTree Asset
                       Management; GSO Capital Partners; Brigade Capital Management;
                       and Davidson Kempner Capital Management LP (collectively, the
                       “Board Committee”) in consultation with Craig Rogerson, in his
                       capacity as Chief Executive Officer of the Reorganized Debtors;
                       provided, that, (x) if a holder represented on the Board Committee
                       determines to give up its seat the next largest pro forma holder
                       willing to serve will replace such resigning holder and (y) if any
                       holder represented on the Board Committee sells claims and, after
                       such sale, such holder is not then one of the six (6) largest holders,
                       on a pro forma basis (without giving effect to the Agreed Dilution),
                       the other members of the Board Committee shall determine whether
                       to request such selling member resign from the Board Committee
                       and be replaced by the next largest pro forma holder willing to serve;
                       provided, further, that if the Reorganized Hexion Board is not fully
                       selected by the Effective Date then the Reorganized Board shall
                       select the remaining members in consultation with the Board


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                         Committee.

Employee Matters         Substantially all employees of the Debtors to be retained by the
                         Reorganized Debtors. The Reorganized Debtors shall assume any
                         employment, confidentiality, and non-competition agreements,
                         bonus, gainshare and incentive programs (other than awards of stock
                         options, restricted stock, restricted stock units, and other equity
                         awards), vacation, holiday pay, severance, retirement, supplemental
                         retirement, executive retirement, pension, deferred compensation,
                         medical, dental, vision, life and disability insurance, flexible
                         spending account, and other health and welfare benefit plans,
                         programs and arrangements, and all other wage, compensation,
                         employee expense reimbursement, and other benefit obligations of
                         the Debtors, in each case, so long as current or future liabilities
                         associated with such programs have previously been provided or
                         made available to the First Lien Advisors, the 1.5L Advisors, and the
                         Crossover Advisors; provided, however, that neither the
                         Restructuring nor the transactions contemplated by the Plan will
                         constitute a change of control or other acceleration event for
                         purposes of any of the foregoing.

Consenting Sponsor       Subject to and upon the occurrence of the Effective Date, the
Claim Settlement         Consenting Sponsors shall receive the Settlement Note, in full
                         satisfaction, compromise, and discharge of any General Unsecured
                         Claims held by such Consenting Sponsors as of the Effective Date
                         other than any Claims arising under or related to the Debtors’
                         indemnification provisions or director and officer insurance policies
                         (the “Consenting Sponsor Claim Settlement”).

Indemnification of       The Plan shall provide that, consistent with applicable law all
Prepetition Directors,   indemnification provisions currently in place (whether in the by-
Officers, Managers, et   laws, certificates of incorporation or formation, limited liability
al.                      company agreements, other organizational documents, board
                         resolutions, indemnification agreements, employment contracts or
                         otherwise) for the current and former direct and indirect sponsors,
                         directors, officers, managers, employees, attorneys, accountants,
                         investment bankers, and other professionals of the Debtors, as
                         applicable, shall be reinstated and remain intact and irrevocable and
                         shall survive effectiveness of the Restructuring.

MIP                      Up to 10% of the fully diluted New Hexion Common Shares issued
                         on the Effective Date shall be issuable in connection with a
                         management incentive plan, the details and allocation of which shall
                         be determined by the Reorganized Hexion Board (including with
                         respect to form, structure and vesting) (the “MIP”)




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    Tax Issues                    The Debtors and the Consenting Noteholders shall cooperate in good
                                  faith to structure the Restructuring and related transactions in a tax-
                                  efficient manner; provided that such structure shall be reasonably
                                  acceptable to the Debtors and the Required Consenting Noteholders.

    Company Status Upon           The Debtors and, following the Effective Date, Reorganized Hexion
    Emergence                     will use best efforts to attempt to obtain a listing of the New Hexion
                                  Common Shares on the NYSE or NASDAQ on the Effective Date,
                                  or, if such a listing is not reasonably possible, on the OTCQX
                                  Premier (if the OTCQX Premier is not possible, the OTCQX, and if
                                  the OTCQX is not possible, the OTCQB) and will use best efforts to
                                  obtain a NYSE or NASDAQ listing as soon as possible following the
                                  Effective Date; provided, however, the foregoing covenant shall not
                                  apply to the extent (i) the Board of Directors of Hexion Holdings
                                  LLC, or Reorganized Hexion (on or after the Effective Date)
                                  determines that such listing is not in the best interests of the
                                  Company, (ii) the holders of 73%, on a pro forma basis, of the New
                                  Hexion Common Shares (without giving effect to the Agreed
                                  Dilution), determine otherwise3 or (iii) such covenant shall cause a
                                  potential termination event under the RSA to be reasonably likely to
                                  occur.

    Registration Rights           Registration rights (including piggyback registration rights) will be
                                  provided to the Equity Backstop Parties to the extent they receive
                                  any “restricted” or “control” New Hexion Common Shares (but shall
                                  be provided with respect to all New Hexion Common Shares such
                                  Equity Backstop Parties receive) under the Securities Act, on terms
                                  (including time periods, “cut back” provisions, lockup agreements)
                                  and conditions determined as set forth in the Equity Backstop
                                  Agreement.

    Cancellation of Notes,        On the Effective Date, except to the extent otherwise provided in the
    Instruments,                  Plan, all notes, instruments, certificates, and other documents
    Certificates, and Other       evidencing Claims or Interests, including credit agreements and
    Documents                     indentures, shall be canceled and the obligations of the Debtors
                                  thereunder or in any way related thereto shall be deemed satisfied in
                                  full and discharged.

    Issuance of New               On the Effective Date, the Debtors or Reorganized Debtors, as
    Securities; Execution         applicable, shall issue all securities, notes, instruments, certificates,
    of the Plan                   and other documents required to be issued pursuant to the
    Restructuring                 Restructuring.
    Documents


3
      Mechanic for determination to be discussed.


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Fees and Expenses       The Debtors shall pay (a) the reasonable and documented fees and
                        expenses of all of the First Lien Advisors, the 1.5 Lien Advisors, and
                        the Crossover Advisors, (b) any applicable filing or other similar fees
                        required to be paid by such parties in all applicable jurisdictions, in
                        each case, (i) subject to entry of the BCA Approval Order and the
                        DCA Approval Order (as applicable), and (ii) in accordance with the
                        terms and conditions of the existing fee letters between the Debtors
                        and the applicable advisors and the BCA Approval Order and DCA
                        Approval Order (as applicable), and (c) the reasonable and
                        documented fees and expenses, including the fees and expenses of
                        one counsel and one local counsel each, of (w) the trustee under the
                        1L Notes Indentures, (x) the trustee under the 1.5L Notes Indenture,
                        and (y) the trustee under the 2L Notes Indenture or (z) the trustee
                        under the Unsecured Notes Indenture.

Retention of            The Plan will provide for the retention of jurisdiction by the
Jurisdiction            Bankruptcy Court for usual and customary matters.

Releases                The exculpation provisions, Debtor releases, and third-party releases
                        to be included in the Plan will be consistent with Exhibit 1 attached
                        hereto in all material respects, to the fullest extent permissible under
                        applicable law.

Consent Rights          All consent rights not otherwise set forth herein shall be set forth in
                        the Restructuring Support Agreement.

Conditions Precedent    The Plan shall contain customary conditions precedent to occurrence
to the Effective Date   of the Effective Date, including the following:
                           1) the Equity Backstop Agreement and the Debt Backstop
                              Agreement shall remain in full force and effect and shall not
                              have been terminated, and the parties thereto shall be in
                              compliance therewith;
                           2) the Bankruptcy Court shall have entered the DCA Approval
                              Order and the BCA Approval Order;
                           3) the Restructuring Support Agreement shall remain in full
                              force and effect and shall not have been terminated, and the
                              parties thereto shall be in compliance therewith;
                           4) all conditions precedent to the effectiveness of the Exit
                              Facility and the Exit ABL Facility shall have been satisfied
                              or duly waived;
                           5) the Bankruptcy Court shall have entered the Confirmation
                              Order in form and substance consistent with the
                              Restructuring Support Agreement and such order shall be a
                              final order;
                           6) the Debtors shall have obtained all authorizations, consents,
                              regulatory approvals, rulings, or documents that are


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                 necessary to implement and effectuate the Plan and each of
                 the other transactions contemplated by the Restructuring;
             7) the final version of the Plan, Plan Supplement, and all of the
                 schedules, documents, and exhibits contained therein, and all
                 other schedules, documents, supplements, and exhibits to the
                 Plan, shall be consistent with the Restructuring Support
                 Agreement;
             8) the Consenting Sponsors, on behalf of them and their
                 affiliates, shall have permanently waived any and all
                 management, monitoring or like fees or expenses owed by
                 any Company entity and any agreements providing for the
                 same shall have been terminated with no liability of the
                 Company other than in connection with the Consenting
                 Sponsor Claim Settlement; provided, however, that the
                 foregoing shall not limit, reduce, modify or impair the
                 Debtors’ or the Reorganized Debtors’ indemnification
                 obligations of the Consenting Sponsors and their affiliates,
                 which shall be assumed and unimpaired;
             9) all fees, expenses, and other amounts payable to the
                 Consenting Noteholders pursuant to the Restructuring
                 Support Agreement, the Equity Backstop Agreement , and the
                 Debt Backstop Agreement, shall have been paid in full; and
             10) the Restructuring to be implemented on the Effective Date
                 shall be consistent with the Plan and the Restructuring
                 Support Agreement.




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                                     ANNEX 1

                                  DEFINITIONS

1L Notes Claims        Any claim arising under, derived from, or based on the 1L Notes
                       Indentures.

1L Notes Indentures    Those certain: (i) Indenture, dated as of March 14, 2012, among
                       Hexion Inc., as Issuer, the Guarantors party thereto, and Wilmington
                       Trust, National Association, as trustee, pursuant to which Hexion
                       Inc. issued 6.625% First-Priority Senior Secured Notes due 2020;
                       (ii) Indenture, dated as of April 15, 2015, among Hexion Inc., as
                       Issuer, the Guarantors party thereto, and Wilmington Trust, National
                       Association, as trustee, pursuant to which Hexion Inc. issued
                       10.00% First-Priority Senior Secured Notes due 2020; and
                       (iii) Indenture, dated as of February 8, 2017, among Hexion Inc., as
                       Issuer, the Guarantors party thereto, and Wilmington Trust, National
                       Association, as trustee, pursuant to which Hexion Inc. issued
                       10.375% First-Priority Senior Secured Notes due 2022.

1.5L Advisors          Means (i) Jones Day, as counsel; (ii) Young Conaway Stargatt &
                       Taylor LLP, as local counsel; and (iii) Perella Weinberg Partners, as
                       financial advisor.

1.5L Notes Claims      Any claim arising under, derived from, or based on the 1.5L Notes
                       Indenture.

1.5L Notes Indenture   That certain Indenture, dated as of February 8, 2017, among Hexion
                       Inc., as Issuer, the Guarantors party thereto, and Wilmington Trust,
                       National Association, as trustee, pursuant to which Hexion Inc.
                       issued 13.75% Senior Secured Notes due 2022.

2L Notes Claims        Any claim arising under, derived from, or based on the 2L Notes
                       Indenture.

2L Notes Indenture     That certain Indenture, dated as of November 5, 2010, among
                       Hexion Inc. and Hexion Nova Scotia Finance, ULC as Issuers, the
                       Guarantors party thereto, and Wilmington Trust Company, as
                       trustee, pursuant to which Hexion Inc. issued 9.00% Second-
                       Priority Senior Secured Notes due 2020.

ABL Agent              JPMorgan Chase Bank, N.A., as administrative agent under the
                       ABL Agreement.

ABL Agreement          That certain Amended and Restated Asset-Based Revolving Credit
                       Agreement, dated as of December 21, 2016, as amended, restated,
                       supplemented or otherwise modified from time to time, by and


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                       among Hexion Inc., as U.S. borrower, certain subsidiaries of Hexion
                       Inc. from time to time party thereto, as co-borrowers, the lenders
                       party thereto from time to time, the ABL Agent, and the other parties
                       thereto.

Administrative Claim   A Claim incurred by the Debtors on or after the Petition Date and
                       before the Effective Date for a cost or expense of administration of
                       the Chapter 11 Cases entitled to priority under sections 503(b),
                       507(a)(2), or 507(b) of the Bankruptcy Code.

Affiliate              With respect to any Person, all Persons that would fall within the
                       definition assigned to such term in section 101(2) of the Bankruptcy
                       Code, if such Person was a debtor in a case under the Bankruptcy
                       Code.

Avoidance Actions      Means any and all avoidance, recovery, subordination, or other
                       claims, actions, or remedies that may be brought by or on behalf of
                       the Debtors or their Estates or other authorized parties in interest
                       under the Bankruptcy Code or applicable non-bankruptcy law,
                       including actions or remedies under sections 502, 510, 542, 544,
                       545, and 547 through and including 553 of the Bankruptcy Code.

Bankruptcy Rules       Means the Federal Rules of Bankruptcy Procedure as promulgated
                       by the United States Supreme Court under section 2075 of title 28
                       of the United States Code, 28 U.S.C. § 2075, as applicable to the
                       Chapter 11 Cases and the general, local, and chambers rules of the
                       Bankruptcy Court.

Causes of Action       Means any and all claims, actions, causes of action, choses in action,
                       suits, debts, damages, dues, sums of money, accounts, reckonings,
                       bonds, bills, specialties, covenants, contracts, controversies,
                       agreements, promises, variances, trespasses, judgments, remedies,
                       rights of set-off, third-party claims, subrogation claims, contribution
                       claims, reimbursement claims, indemnity claims, counterclaims,
                       and crossclaims (including all claims and any avoidance, recovery,
                       subordination, or other actions against insiders and/or any other
                       Entities under the Bankruptcy Code), whether known or unknown,
                       liquidated or unliquidated, fixed or contingent, matured or
                       unmatured, disputed or undisputed, that are or may be pending on
                       the Effective Date against any Entity, based in law or equity,
                       including under the Bankruptcy Code, whether direct, indirect,
                       derivative, or otherwise and whether asserted or unasserted as of the
                       date of entry of the Confirmation Order.

Claim                  As defined in section 101(5) of the Bankruptcy Code against a
                       Debtor.



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Class                    Each class of Holders of Claims or Interests established under the
                         Plan pursuant to section 1122(a) of the Bankruptcy Code.

Confirmation             Entry of the Confirmation Order on the docket of the Chapter 11
                         Cases, subject to the conditions set forth in the Plan.

Confirmation Order       The order of the Bankruptcy Court confirming the Plan pursuant to
                         section 1129 of the Bankruptcy Code.

Consenting Noteholders The Holders of 1L Notes Claims, 1.5L Notes Claims, 2L Notes
                       Claims, and/or Unsecured Notes Claims who agree to support the
                       Restructuring set forth in this Term Sheet and are parties to the
                       Restructuring Support Agreement.

Consenting Sponsors      AIF Hexion Holdings, LP, AP Momentive Holdings, LLC, AIF
                         Hexion Holdings II, L.P., and Apollo Investment Fund VI, L.P., in
                         their respective capacities as holders of outstanding common equity
                         of Hexion Holdings LLC.

Consummation             Means the occurrence of the Effective Date.

Crossover Advisors       (i) Milbank LLP, as co-counsel, (ii) Morris, Nichols, Arsht and
                         Tunnel LLP, as co-counsel, and (iii) Houlihan Lokey Capital, Inc.,
                         as financial advisor.

Debt Backstop            That certain Debt Backstop Agreement, to be executed among the
Agreement                Debtors and the Debt Backstop Parties (including all exhibits,
                         schedules, attachments and/or addendum thereto), pursuant to
                         which the Debt Backstop Parties will agree to backstop the Exit
                         Facility.

Debt Backstop            With respect to any Debt Backstop Party, such Debt Backstop
Percentage               Party’s percentage of the Debt Backstop Obligations as set forth
                         opposite such Debt Backstop Party’s name under the column titled
                         “Debt Backstop Percentage” on the Debt Backstop Allocation
                         Schedule; provided, that nothing herein shall prohibit the
                         consensual reallocation of such obligations among the Debt
                         Backstop Parties.

DIP Agent                Means the administrative agent(s) under the DIP Facility, solely in
                         its capacity as such.




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DIP Credit Agreement   Means that certain senior secured debtor-in-possession credit
                       agreement, dated as of April 1, 2019, as amended, restated,
                       modified, supplemented, or replaced from time to time in
                       accordance with its terms, by and among the Debtors, the DIP
                       Lenders, and the DIP Agent.

DIP Facility           Means (i) a debtor-in-possession term loan financing facility in the
                       amount of $350 million to be provided by certain lenders, with
                       JPMorgan Chase Bank, N.A., as administrative and collateral agent,
                       and (ii) a debtor-in-possession ABL facility in the amount of $350
                       million to be provided by certain lenders, with JPMorgan Chase
                       Bank, N.A. as administrative and collateral agent. The proceeds of
                       the DIP Facility shall be used for general corporate purposes and to
                       provide adequate protection payments to Holders of 1L Notes
                       Claims on the terms agreed in the orders approving the DIP Facility.

DIP Facility Claims    Any claim arising under, derived from, or based on the DIP Facility.

DIP Lenders            Means each of the lenders and their Affiliates under the DIP Facility,
                       solely in their capacities as such.

Disclosure Statement   The disclosure statement in respect of the Plan.

Disclosure Statement   The order entered by the Bankruptcy Court approving the
Order                  Disclosure Statement and Solicitation Materials as containing,
                       among other things, “adequate information” as required by
                       section 1125 of the Bankruptcy Code.

Effective Date         The first date upon which all of the conditions precedent to the
                       effectiveness of the Plan have been satisfied or waived in
                       accordance with the terms of the Plan.

Entity                 As defined in section 101(15) of the Bankruptcy Code.

Equity Backstop        That certain Equity Backstop Agreement, to be executed among the
Agreement              Debtors and the Equity Backstop Parties (including all exhibits,
                       schedules, attachments and/or addendum thereto), pursuant to
                       which the Equity Backstop Parties will agree to backstop the Rights
                       Offering on the terms set forth in this Term Sheet.

Equity Backstop        With respect to any Equity Backstop Party, such Equity Backstop
Percentage             Party’s percentage of the Equity Backstop Obligations as set forth
                       opposite such Equity Backstop Party’s name under the column titled
                       “Equity Backstop Percentage” on the Equity Backstop Allocation
                       Schedule; provided, that nothing herein shall prohibit the
                       consensual reallocation of such obligations among the Equity



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                      Backstop Parties.

Estate                As to each Debtor, the estate created for the Debtor in its Chapter 11
                      Case pursuant to section 541 of the Bankruptcy Code.

Exculpated Parties    Collectively, and in each case in its capacity as such: (a) the
                      Debtors; (b) the Reorganized Debtors; (c) the Consenting
                      Noteholders; (d) the Equity Backstop Parties; (e) the Debt Backstop
                      Parties; (f) the DIP Lenders; (g) the DIP Agent; (h) the Consenting
                      Sponsors; and (i) with respect to each of the foregoing Entities in
                      clauses (a) through (h), each such Entities’ predecessors, successors
                      and assigns, subsidiaries, Affiliates, managed accounts or funds,
                      current and former officers, directors, managers, principals,
                      shareholders, members, partners, employees, agents, advisory board
                      members, financial advisors, attorneys, accountants, investment
                      bankers, consultants, representatives, management companies, fund
                      advisors and other professionals, and such Entities’ respective heirs,
                      executors, Estate, servants, and nominees.

Existing Equity       Shares of common stock in Hexion Holdings LLC, as well as
Interests             Claims subject to subordination under section 510(b) of the
                      Bankruptcy Code.

Exit ABL Agreement    That certain asset-based revolving credit agreement, which shall be
                      on terms substantially consistent with those of the ABL Agreement.

Exit ABL Facility     A new asset-backed facility governed by the Exit ABL Agreement.

Final Order           An order entered by the Bankruptcy Court or other court of
                      competent jurisdiction: (a) that has not been reversed, stayed,
                      modified, amended, or revoked, and as to which (i) any right to
                      appeal or seek leave to appeal, certiorari, review, reargument, stay,
                      or rehearing has been waived or (ii) the time to appeal or seek leave
                      to appeal, certiorari, review, reargument, stay, or rehearing has
                      expired and no appeal, motion for leave to appeal, or petition for
                      certiorari, review, reargument, stay, or rehearing is pending or (b) as
                      to which an appeal has been taken, a motion for leave to appeal, or
                      petition for certiorari, review, reargument, stay, or rehearing has
                      been filed and (i) such appeal, motion for leave to appeal or petition
                      for certiorari, review, reargument, stay, or rehearing has been
                      resolved by the highest court to which the order or judgment was
                      appealed or from which leave to appeal, certiorari, review,
                      reargument, stay, or rehearing was sought and (ii) the time to appeal
                      (in the event leave is granted) further or seek leave to appeal,
                      certiorari, further review, reargument, stay, or rehearing has expired
                      and no such appeal, motion for leave to appeal, or petition for
                      certiorari, further review, reargument, stay, or rehearing is pending.


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First Lien Advisors     (i) Akin Gump Strauss Hauer & Feld, LLP as counsel; (ii) Ashby &
                        Geddes, as local counsel; and (iii) Evercore Group, L.L.C., as
                        financial advisor.

General Unsecured       Any Claim, other than an ABL Claim, a 1L Notes Claim, a
Claim                   1.5L Notes Claim, a 2L Notes Claim, an Administrative Claim, a
                        Professional Fee Claim, a Secured Tax Claim, an Other Secured
                        Claim, a Priority Tax Claim, a Litigation Claim, an Intercompany
                        Claim, any Claim subject to subordination under section 510(b) of
                        the Bankruptcy Code, or an Other Priority Claim.

Holder                  An Entity holding a Claim or Interest, as applicable.

Impaired                With respect to any Class of Claims or Interests, a Class of Claims
                        or Interests that is impaired within the meaning of section 1124 of
                        the Bankruptcy Code.

Intercompany Claim      A prepetition Claim held by a Debtor against a Debtor.

Intercompany Interest   An Interest in any Debtor other than Hexion Holdings LLC.

Interest                Any equity security (as defined in section 101(16) of the
                        Bankruptcy Code) in any Debtor.

Junior Notes Claims     All 1.5L Notes Claims, 2L Notes Claims, and Unsecured Notes
                        Claims.

New Hexion Common       Common equity interests in Reorganized Hexion.
Shares

Notes Claims            Any Claim that is a 1L Notes Claim, 1.5L Notes Claims, 2L Notes
                        Claim, or Unsecured Notes Claim.

Other Priority Claim    Any Claim, other than an Administrative Claim or a Priority Tax
                        Claim, entitled to priority in right of payment under section 507(a)
                        of the Bankruptcy Code.

Other Secured Claim     Any Secured Claim against any of the Debtors, other than an ABL
                        Claim, a 1L Notes Secured Claim, a 1.5L Notes Secured Claim, or
                        a 2L Notes Secured Claim.

Person                  An individual, corporation, partnership, limited liability company,
                        joint venture, trust, estate, unincorporated association,
                        governmental entity, or political subdivision thereof, or any other
                        entity.

Petition Date           The date on which the Debtors commence the Chapter 11 Cases.


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Plan Supplement           All documents that are contained in any supplements filed in
                          connection with the Plan.

Priority Tax Claims       Claims of governmental units of the type described in
                          section 507(a)(8) of the Bankruptcy Code.

Professional              An entity employed pursuant to a Bankruptcy Court order in
                          accordance with sections 327 or 1103 of the Bankruptcy Code and
                          to be compensated for services rendered before or on the date of
                          Confirmation, pursuant to sections 327, 328, 329, 330, or 331 of the
                          Bankruptcy Code.

Professional Fee Claims All Administrative Claims for the compensation of Professionals
                        and the reimbursement of expenses incurred by such Professionals
                        through and including the Effective Date to the extent such fees and
                        expenses have not been previously paid.

Put Option                On and subject to the terms and conditions of the Equity Backstop
                          Agreement, including entry of the BCA Approval Order, each
                          Equity Backstop Party shall grant to Hexion Inc. an option to require
                          such Equity Backstop Party to purchase unsubscribed shares in the
                          Rights Offering subject to the terms and conditions of the Equity
                          Backstop Agreement. Upon the exercise of the Put Option, each
                          Equity Backstop Party agrees, severally and not jointly, to purchase,
                          and Hexion Inc. agrees to sell to such Equity Backstop Party at a
                          price equal to the Rights Offering Purchase Price, the number of
                          unsubscribed shares equal to (a) such Equity Backstop Party’s
                          Equity Backstop Percentage multiplied by (b) the aggregate number
                          of unsubscribed shares, rounded among the Equity Backstop Parties
                          solely to avoid fractional shares as the Equity Backstop Parties may
                          reasonably determine. The obligations of the Equity Backstop
                          Parties as set forth above shall be referred to as the “Equity
                          Backstop Obligations.”

Reinstated                With respect to Claims and Interests, that the Claim or Interest shall
                          be rendered Unimpaired in accordance with section 1124 of the
                          Bankruptcy Code.

Released Parties          Collectively, and in each case in its capacity as such: (a) the
                          Debtors; (b) the Reorganized Debtors; (c) the Consenting
                          Noteholders; (d) the Equity Backstop Parties; (e) the Debt Backstop
                          Parties; (f) the DIP Lenders; (g) the DIP Agent; (h) the Consenting
                          Sponsors; and (i) with respect to each of the foregoing Entities in
                          clauses (a) through (h), each such Entities’ predecessors, successors
                          and assigns, subsidiaries, Affiliates, managed accounts or funds,
                          current and former officers, directors, managers, principals,


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                      shareholders, members, partners, employees, agents, advisory board
                      members, financial advisors, attorneys, accountants, investment
                      bankers, consultants, representatives, management companies, fund
                      advisors and other professionals, and such Entities’ respective heirs,
                      executors, Estate, servants, and nominees; provided, that, with
                      respect to the Equity Backstop Parties, the Debt Backstop Parties,
                      and the Consenting Noteholders, the entities listed in clause “m”
                      shall only be Releasing Parties to the extent such entities are
                      managed or controlled by such Equity Backstop Parties, Debt
                      Backstop Parties, or Consenting Noteholders.

Releasing Parties     Collectively, and in each case in its capacity as such: (a) the
                      Debtors; (b) the Reorganized Debtors; (c) the Consenting
                      Noteholders; (d) the Equity Backstop Parties; (e) the Debt
                      Backstop Parties; (f) the DIP Lenders; (g) the DIP Agent; (h) the
                      Consenting Sponsors; (i) each Holder of a Claim or Interest who
                      votes to accept the Plan; (j) each Holder of a Claim or Interest who
                      is Unimpaired; (k) each Holder of a Claim or Interest who abstains
                      from voting; (l) each Holder of a Claim or Interest who votes to
                      reject the Plan but does not opt out of the releases provided in the
                      Plan; and (m) with respect to each of the foregoing Entities in
                      clauses (a) through (l), each such Entities’ predecessors, successors
                      and assigns, subsidiaries, Affiliates, managed accounts or funds,
                      current and former officers, directors, managers, principals,
                      shareholders, members, partners, employees, agents, advisory board
                      members, financial advisors, attorneys, accountants, investment
                      bankers, consultants, representatives, management companies, fund
                      advisors and other professionals, and such Entities’ respective heirs,
                      executors, Estate, servants, and nominees; provided, that, with
                      respect to the Equity Backstop Parties, the Debt Backstop Parties,
                      and the Consenting Noteholders, the entities listed in clause “m”
                      shall only be Releasing Parties to the extent such entities are
                      managed or controlled by such Equity Backstop Parties, Debt
                      Backstop Parties, or Consenting Noteholders.

Reorganized Debtors   The Debtors, as reorganized pursuant to and under the Plan or any
                      successor thereto.

Reorganized Hexion    Hexion LLC, as reorganized pursuant to and under the Plan or any
                      successor thereto, or such other entity type as determined by the
                      Debtors and the Required Consenting Creditors.

Reorganized Hexion    The initial board of directors of Reorganized Hexion.
Board

Rights                The rights to participate in the Rights Offerings on the terms set



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                         forth in the rights offering procedures.

Secured                  When referring to a Claim: (a) secured by a lien on property in
                         which any of Debtors has an interest, which lien is valid, perfected,
                         and enforceable pursuant to applicable law or by reason of a
                         Bankruptcy Court order, or that is subject to setoff pursuant to
                         section 553 of the Bankruptcy Code, to the extent of the value of the
                         creditor’s interest in the Debtors’ interest in such property or to the
                         extent of the amount subject to setoff, as applicable, as determined
                         pursuant to section 506(a) of the Bankruptcy Code; or (b) allowed
                         pursuant to the Plan, or separate order of the Bankruptcy Court, as
                         a secured claim.

Settlement Note          The $2.5 million senior unsecured note issued by Reorganized
                         Hexion on the Effective Date, which shall (i) mature on March 31,
                         2020, (ii) be payable upon any public offering or listing of New
                         Hexion Common Shares (or any other equity interests of the
                         Reorganized Debtors) on The Nasdaq Global Select Market, The
                         New York Stock Exchange, or any successor national securities
                         exchanges, on or after the Effective Date, (iii) be freely transferrable
                         by the holder, and (iv) contain other terms and conditions
                         reasonably acceptable to the Required Consenting Parties.

Solicitation Materials   The solicitation materials in respect of the Plan.

Unimpaired               With respect to a Class of Claims or Interests, a Class of Claims or
                         Interests that is not Impaired.

Unsecured Notes          Any claim arising under, derived from, or based on the Unsecured
Claims                   Notes Indenture.

Unsecured Notes          That certain Indenture, dated as of December 15, 1987, between
Indenture                Hexion Inc. and the Bank of New York, as trustee, pursuant to which
                         Hexion Inc. issued 9.200% debentures due 2021 and
                         7.875% debentures due 2023.




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                     Exhibit 1 to Term Sheet

   Release and Exculpation Provisions to be Included in the Plan




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Releases by the Debtors

Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, for good and valuable consideration, on and after the Effective Date, each
Released Party is deemed released and discharged by the Debtors, the Reorganized Debtors, and
their Estates from any and all Claims and Causes of Action, whether known or unknown, including
any derivative claims, asserted on behalf of the Debtors, that the Debtors, the Reorganized Debtors,
or their Estates would have been legally entitled to assert in their own right (whether individually
or collectively) or on behalf of the holder of any Claim or Interest, based on or relating to, or in
any manner arising from, in whole or in part, the Debtors (including the management, ownership
or operation thereof), the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions
(but excluding Avoidance Action brought as counterclaims or defenses to Claims asserted against
the Debtors), the formulation, preparation, dissemination, negotiation, or filing of the
Restructuring Support Agreement, or any transaction contemplated by the Restructuring, or any
contract, instrument, release, or other agreement or document (including providing any legal
opinion requested by any Entity regarding any transaction, contract, instrument, document, or
other agreement contemplated by the Plan or the reliance by any Released Party on the Plan or the
Confirmation Order in lieu of such legal opinion) created or entered into in connection with the
Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan Supplement, the
Rights Offering, the DIP Facility, the DIP Credit Agreement, the Debt Backstop Agreement, the
Equity Backstop Agreement, the Exit Facility, the Exit ABL Facility, the Chapter 11 Cases, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of securities
pursuant to the Plan, or the distribution of property under the Plan, or upon any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the Effective
Date related or relating to the foregoing. Notwithstanding anything to the contrary in the
foregoing, the releases set forth above do not release (a) any post-Effective Date obligations of
any party or Entity under the Plan, any post-Effective Date transaction contemplated by the
Restructuring, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan or (b) any individual from any claim related to an act
or omission that is determined in a Final Order by a court competent jurisdiction to have constituted
actual fraud or willful misconduct.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related
provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy
Court’s finding that the Debtor Release is: (1) in exchange for the good and valuable consideration
provided by the Released Parties; (2) a good faith settlement and compromise of the Claims
released by the Debtor Release; (3) in the best interests of the Debtors and all Holders of Claims
and Interests; (4) fair, equitable, and reasonable; (5) given and made after due notice and
opportunity for hearing; and (6) a bar to any of the Debtors, the Reorganized Debtors, or the
Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the Debtor Release.




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Releases by Holders of Claims and Interests

Notwithstanding anything contained in the Plan to the contrary, as of the Effective Date, each
Releasing Party is deemed to have released and discharged each Debtor, Reorganized Debtor, and
Released Party from any and all Claims and Causes of Action, whether known or unknown,
including any derivative claims, asserted on behalf of the Debtors, that such Entity would have
been legally entitled to assert (whether individually or collectively), based on or relating to, or in
any manner arising from, in whole or in part, the Debtors (including the management, ownership,
or operation thereof), the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions,
the formulation, preparation, dissemination, negotiation, or filing of the Restructuring Support
Agreement, or any transaction contemplated by Restructuring, or any contract, instrument, release,
or other agreement or document (including providing any legal opinion requested by any Entity
regarding any transaction, contract, instrument, document, or other agreement contemplated by the
Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of such
legal opinion) created or entered into in connection with the Restructuring Support Agreement, the
Disclosure Statement, the Plan, the Plan Supplement, the Rights Offering, the DIP Facility, the
Debt Backstop Agreement, the Equity Backstop Agreement, the Exit Facility, the Exit ABL
Facility, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
pursuit of Consummation, the administration and implementation of the Plan, including the
issuance or distribution of securities pursuant to the Plan, or the distribution of property under the
Plan, or upon any other act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date related or relating to the foregoing. Notwithstanding anything
to the contrary in the foregoing, the releases set forth above do not release (a) any post-Effective
Date obligations of any party or Entity under the Plan, any post-Effective Date transaction
contemplated by the Restructuring, or any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement the Plan or (b) any individual from any
claim related to an act or omission that is determined in a Final Order by a court competent
jurisdiction to have constituted actual fraud or willful misconduct.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of this third-party release, which includes by reference each of the related
provisions and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s
finding that this third party release is: (1) consensual; (2) essential to the confirmation of the Plan;
(3) given in exchange for the good and valuable consideration provided by the Released Parties;
(4) a good-faith settlement and compromise of the Claims released by the third-party release; (5)
in the best interests of the Debtors and their Estates; (6) fair, equitable, and reasonable; (7) given
and made after due notice and opportunity for hearing; and (8) a bar to any of the Releasing Parties
asserting any claim or Cause of Action released pursuant to this third party release.

Exculpation

Notwithstanding anything contained herein to the contrary, no Exculpated Party shall have or incur
liability for, and each Exculpated Party is hereby released and exculpated from, any Cause of
Action for any claim related to any act or omission in connection with, relating to, or arising out
of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing of the
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement,



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the Plan, the Plan Supplement, or any transaction contemplated by Restructuring, or any contract,
instrument, release or other agreement or document (including providing any legal opinion
requested by any Entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the
Confirmation Order in lieu of such legal opinion) created or entered into in connection with the
Disclosure Statement, the Plan, the Plan Supplement, the Restructuring Support Agreement, the
Rights Offering, the DIP Facility, the DIP Credit Agreement, the Debt Backstop Agreement, the
Equity Backstop Agreement, the Exit Facility, the Exit ABL Facility, the Filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance of securities pursuant to the Plan, or the
distribution of property under the Plan, except for claims related to any act or omission that is
determined in a Final Order by a court of competent jurisdiction to have constituted actual fraud
or willful misconduct, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan. The
Exculpated Parties have, and upon completion of the Plan shall be deemed to have, participated in
good faith and in compliance with the applicable laws with regard to the solicitation of, and
distribution of, consideration pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan.




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                                                  Exhibit B

                                       Form of Joinder Agreement

        The undersigned hereby acknowledges that it has reviewed and understands the
Restructuring Support Agreement (as amended, supplemented, or otherwise modified from time
to time in accordance with the terms thereof, the “Agreement”) dated as of April 1, 2019 by and
among (i) Hexion Holdings LLC (“Hexion”), Hexion LLC, Hexion Inc., Borden Holdings, LLC,
Lawter International Inc., Hexion CI Holding Company (China) LLC, Hexion Nimbus Inc.,
Hexion Nimbus Asset Holdings LLC, Hexion Deer Park LLC, Hexion VAD LLC, Hexion 2 U.S.
Finance Corp., Hexion HSM Holdings LLC, Hexion Investments Inc., Hexion International Inc.,
North American Sugar Industries Incorporated, Cuban-American Mercantile Corporation, The
West India Company, NL Coop Holdings LLC, and Hexion Nova Scotia Finance ULC, (each,
together with Hexion, a “Company Entity,” and collectively, and together with Hexion, the
“Company”), (ii) certain beneficial holders (or investment managers, advisors, or subadvisors to
certain beneficial holders) of those certain 1L Notes, 1.5L Notes, 2L Notes and Unsecured Notes
(collectively, the “Consenting Creditors”), and (iii) certain holders of common equity of Hexion
(the “Consenting Sponsors,” and, collectively with the Consenting Creditors, the “Consenting
Parties”) and agrees to be bound as a Consenting Party by the terms and conditions thereof binding
on the Consenting Parties with respect to all Claims/Interests held by the undersigned.1

        The undersigned hereby makes the representations and warranties of the Consenting Parties
set forth in the Agreement to each other Party, effective as of the date hereof.

        This joinder agreement shall be governed by the governing law set forth in the Agreement.

        Date: _________________, 2019

                                                             [CONSENTING PARTY]


                                                             By:_________________________________
                                                             Name:
                                                             Title:
                                                             Address:


Claims/Interests under the [________]:                                       $                  _________

Other Claims/Interests:                                                      $                  _________




1
    Defined terms used but not otherwise defined herein shall have the meanings ascribed to them in the Agreement.
